Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 1 of 94 Page ID #:1

                                                                                          F~1L~D

   1   Jane Doe
                                                                                 ~~?!~ Ji 27 l~,~ 9~ 22
   2   1 1151 Valley Blvd #4886,
                                                                                                        ,. .
   3   EI Monte, CA 91734

   4   626-208-9665                                                                            ---_ ;
   5   Plaintiff in Pro Se

   6

   7

   8                                      UNITED STATES DISTRICT COURT

   9                                 CENTRAL DISTRICT OF CALIFORNIA

  10

  11   JANE DOE,                                        No.

  12                         Plaintiff,
  13          v.                                        COMPLAINT FOR DAMAGES AND
                                                        DECLARATORY AND INJUNCTIVE
  14   CITY OF EL MONTE;COUNTY OF LOS                   RELIEF
       ANGELES; DAVID REYNOSO;
  15   MARTHA TATS; MICHAEL
       BUCKHANNON; ALEX VILLANUEVA;
  16   LILIANA JARA; RICHARD RUIZ;
       JACKIE LACEY;PETER CAGNEY;
  17   KAREN THORP; JUNE CHUNG; and
       DOES 1 - I0, inclusive,
  18
                             Defendants.
  19                                                    JURY TRIAL IS HEREBY DEMANDED

  20

  21          Plaintiff Jane Doe ("Plaintiff') alleges and complains the following, on information and

 22    belief except for information identified as being based on personal knowledge, which allegations

  23   are likely to have evidentiary support after a reasonable opportunity for further discovery.

 24

 25                                              INTRODUCTION

 26            1.     This is a civil rights complaint for damages and declaratory and injunctive relief

 27    arising from Defendants' violations of Plaintiff's fundamental rights to be free from

  28   discrimination and unreasonable searches and seizures, among others guaranteed by the United
                                                        1
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUCTNE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 2 of 94 Page ID #:2




  1   States Constitution, California Constitution, and California laws. Defendants violated these rights
  2   when they conspired and practiced discriminatory under-policing and selective under-
  3   enforcement against rape victims, including Plaintiff.
  4           2.      This action stems from law enforcement personnel's response to a heinous crime -

  5   rape. This action is about the discriminatory practice and ill will of law enforcement personnel,

  6   their betrayal of public trust, and failure to protect residents from victimization by rapists. Our

  7   law enforcement's response to rapes sends a catastrophic message to the whole ofour society. To
  8   rape victims: bringing a complaint is useless. To rapists: you're allowed to rape as many women
  9   as you want and there will be no consequence!
 10           3.      Without the ability to hold law enforcement accountable for its responses, rape
 11   victims, including Plaintiff, will be far too likely to face hostility, disinterest, and concrete harms

 12   as a result of their interactions with law enforcement. The people who mishandle rape cases are
 13   just as bad as the perpetrators themselves because they are perpetuating rape.

 14          4.      Plaintiff has been injured by Defendants' willful refusal to provide the
 15   accommodations, advantages, privileges, and facilities of an unbiased and adequate sexual assault
 16   investigation, and effective prosecution. Plaintiff has endured multiple traumas; first, the criminal

 17   assault itself; second, a discriminatory, unconstitutional, unfair, and unequal treatment by the

 18   people sworn to protect the public -the government officials and actors who have instead
 19   discredited, dismissed, and denigrated Plaintiff as a rape victim; and finally, the additional trauma
 20   of watching her case and hope for justice languish and ultimately vanish, due to the sabotage,
 21   inaction and refusal to act by the law enforcement personnel. Plaintiff's attacker will not see a day

 22   of consequence for his violent assault against her.

 23          5.      As described in more detail below, Defendants'(a) actions,(b) patterns of

 24   behavior,(c) history ofdecision-making, and (d) departures from normal procedures in the course

 25   of their response to sexual assaults, demonstrate ongoing, intentional discrimination against rape

 26   victims, including Plaintiff. Specifically, Defendants have committed constitutional violations by

 27   implementing, promoting, or maintaining policies, practices, and/or customs that:
 28                  a. Refuse to investigate officer misconduct properly, misconduct is widespread
                                                        2
                   COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 3 of 94 Page ID #:3




  1                       without ramification or discipline;

  2                   b. Refuse to implement and/or ignore proper training and supervision of

  3                       government employees handling sexual assault cases;

  4                   c. Allocate more resources to other violent crimes than to sexual assaults;

  5                   d. Credit suspects' account over victims' version of story;

  6                   e. Fail to arrest and charge known perpetrators of sexual assault;

  7                  f. Disproportionately refuse to thoroughly investigate sexual assault cases;

  8                   g. Disproportionately refuse to prosecute perpetrators of sexual assault;

  9                   h. Traumatize Plaintiff in the course of her interactions with Defendants by,

 10                      among other things, refusing to treat her testimony as adequate evidence

 11                      regarding lack ofconsent;

 12                   i. Subject Plaintiff and other rape victims to future assaults by known

 13                      perpetrators by failing to act on, investigate, and prosecute prior sexual

 14                      assaults;

 IS                  j. Treat sexual assault cases with less urgency and importance than is afforded to

 16                      other types of violent crimes;

 17                  k. Treat victims of sexual assault, including Plaintiff, with less respect and devote

 18                      less attention to their cases than to cases of other crimes (collectively referred

 19                      to herein as the "Policies").

 20          6.      Defendants' unconstitutional and discriminatory conduct subjects Plaintiff and

 21   other victims of sexual assault to continued risk at the hands of perpetrators who are never held

 22   accountable.

 23          7.      Defendants' violations did not stop there. Despite Plaintiffls plain and actual

 24   authority was to download her particular message conversations on her smartphone Defendants

 25   transformed it into a complete search and seizure. As a result, in addition to violating Plaintift's

 26   right to be free from unreasonable searches and seizures Defendants violated Plaintiff's privacy.

 27

 28                                                PARTIES
                                                         3
                  COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 4 of 94 Page ID #:4




  1            8.      Plaintiff, Jane Doe ("Plaintiff'), at all times herein mentioned, was a resident of

  2    the County of Los Angeles, State of California.

  3           9.       Defendant, City of El Monte ("the City"), is a public entity and municipal

  4    corporation duly organized and existing under and by virtue ofthe laws ofthe State of California.

  5    EI Monte Police Department("EMPD") is an operating department ofthe City. The City is

  6    responsible for the training, policies, procedures, and actions of EMPD and its employees. The

  7    City has direct supervisory authority over EMPD and its officers, and EMPD policies are City

  8    policies for purposes of municipal liability.

  9            10.     Defendant, County of Los ,Angeles ("the County"), is an incorporated municipality

 10    organized and existing under the laws of the State of California and wholly located within the

 11    State of California. Los Angeles County Sheriffs Department("LASD")and Los Angeles

 12    County District Attorney's Office("LADA")are operating departments ofthe County. The

 13    County is responsible for the training, policies, procedures, and actions of LASD and LADA,and

 14    their employees. The County has direct supervisory authority over LASD, LADA,and their

 l5    personnel, and LASD and LADA policies are County policies for purposes of municipal liability.

 16           1 1.     Defendant EMPD Officers: At all times herein mentioned, Plaintiff is informed

 17   and believe, and thereon alleges that individual Defendants Chief of Police David Reynoso

 18   ("Reynoso"), Ofticer Martha Tate, ID 578 ("Tate"), and Lieutenant Michael Buckhannon, ID 571

 19   ("Buckhannon"), were residents of the County of Los Angeles and were civilian employees,

 20   agents and/or representatives of EMPD. At all times relevant hereto, said Defendants were acting

 21    within the course and scope of their employment as officers, lieutenants, detectives, and/or

 22   civilian employees of EMPD,a department and subdivision of Defendant City of EI Monte. At

 23   all times relevant herein, said Defendants were acting under color of law, under the color of

 24   statutes, ordinances, regulations, policies, customs, practices and usages ofthe City, EMPD,

 25   and/or the State of California. At all times relevant hereto, Plaintiff alleges Reynoso served as the

 26   highest official for EMPD and made the City and EMPD policy for that office. As Chief of

 27   Police, Reynoso holds the command and policy making position with regards to EMPD. Reynoso

 28   has caused, created, authorized, condoned, ratified, approved or knowingly acquiesced in the
                                                         4
                     COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 5 of 94 Page ID #:5




        unconstitutional actions, policies, customs and practices as described fully below. Reynoso has,

   2    wholly or in part, directly and proximately caused and, in the absence ofthe injunctive relief

   3    which Plaintiff seeks in this Complaint, will continue in the future to proximately cause, the

   4    injuries and violations of rights set forth fully below.

   5            12.     Defendant LASD Officers: At all times herein mentioned, Plaintiff is informed and

   6    believe, and thereon alleges that individual Defendants Sheriff Alex Villanueva ("Villanueva") is

   7    an elected public official. Individual Defendants Detective Liliana Jara ("Jara") and Lieutenant

   8    Richard Ruiz("Ruiz"), were residents ofthe County of Los Angeles and were civilian employees,

   9    agents and/or representatives of LASD. At all times relevant hereto, said Defendants were acting

  10    within the course and scope oftheir employment as officers, lieutenants, detectives, and/or

  11    civilian employees ofLASD, a department and subdivision ofthe County. At all times relevant

  12    herein, said Defendants were acting under color of law, under the color of statutes, ordinances,

  13    regulations, policies, customs, practices and usages ofthe County, its Sheriff's department, and/or

  14    the State of California. At all times relevant hereto, Plaintiff alleges Villanueva served as the

  15    highest official for LASD and made the County and LASD policy for that office. As Sheriff of

  16    the County, Villanueva holds the command and policy making position with regards to LASD.

  17    Villanueva has caused, created, authorized, condoned, ratified, approved or knowingly acquiesced

  18    in the unconstitutional actions, policies, customs and practices as described fully below.

  19    Villanueva has, wholly or in part, directly and proximately caused and, in the absence ofthe

  20    injunctive relief which Plaintiff seeks in this Complaint, will continue in the future to proximately

  21   cause, the injuries and violations of rights set forth fully below.

 22            13.      Defendant LADA Officials: At all times herein mentioned, Plaintiff is informed

 23     and' believe, and thereon alleges that individual Defendant District Attorney Jackie Lacey

 24    ("Lacey") is an elected public official. Individual Defendants Head Deputy Peter Cagney

 25    ("Cagney"), Assistant Head Deputy Karen Thorp ("Thorp"), and Deputy June Chung ("Chung"),

 26     were residents ofthe County of Los Angeles and were civilian employees, agents and/or

 27    representatives of LADA. At all times relevant hereto, said Defendants were acting within the

 28    course and scope of their employment as civilian employees of LADA,a department and
                                                          5
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 6 of 94 Page ID #:6




   1   subdivision of Defendant Los Angeles County. At all times relevant herein, said Defendants were

   2   acting under color of law, under the color of statutes, ordinances, regulations,.policies, customs,

   3   practices and usages ofthe County, its department, and/or the State of California. At all times

   4   relevant hereto, Plaintiff alleges Lacey served as the highest official for LADA and made the

   5   County and LADA policy for that office. LADA Officials are not immune to this suit.

   6   "Prosecutorial immunity only protects the defendants from [§] 1983 damage claims; it does not

   7   protect them from suits for injunctive relief." Gobel, 867 F.2d at 1203 n.6. To determine whether

   8   particular actions warrant absolute immunity, courts apply a "functional approach." Buckley v.

   9   Fitzsimmons, 509 U.S. 259, 269(1993). This approach "looks to `the nature of the function

  10   performed, not the identity of the actor who performed it[.]"' Id.(quoting Forrester v. White,

  11   484 U.S. 219, 229(1988)). "Absolute immunity `is an extreme remedy, and it is justified only

  12   where any lesser degree of immunity could impair the judicial process itself."' Garmon v. Cty. of

  13   Los Angeles, 828 F.3d 837, 843(9th Cir. 2016)(quoting Lacey v. Maricopa Cty., 693 F.3d 896,

  14   912(9th Cu. 2012)(en banc)). See also Brooks v. Clark Cty., 828 F.3d 910, 915-16(9th Cir.

  15   2016)(discussing absolute immunity). "[T]he official seeking absolute immunity bears the

  16   burden ofshowing that such immunity is justified for the function in question." Burns, 500 U.S.

  17   at 486."The presumption is that qualified rather than absolute immunity is sufficient to protect

  18   government officials in the exercise of their duties." Id. At 486-87. The purpose of absolute

  19   immunity is to eliminate susceptibility to legal actions that would inhibit prosecutors from

  20   aggressively prosecuting cases. When prosecutors fail to perform their duties, provide favoritism

  21   to suspects, and reluctantly prosecute cases that they should have prosecuted this Court should

  22   reject their absolute immunity. The following actions by LADA Officials are neither prosecutorial

  23   in nature nor decisions ofjudgment but deplorable intentional antithesis ofexercise ofjudgment:

  24              a. As the largest local prosecutorial office in the nation, no written policies relating to

  25                  prosecution of rape exists which suggests deliberate indifference to rape victims

  26                  safety and a general disinterest in prosecuting sexual assaults due to bias (Lacey

  27                  has publicly been criticized for inaction in the case of four women who report

  28                  having been raped by actor Danny Masterson.);
                                                        6
                   COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 7 of 94 Page ID #:7




   1           b. When asked to adopt "offender-focused approach" and "expert witness strategy"

   2               that are recommended by National District Attorneys Association("NDAA")

   3               LADA Officials maliciously refused, giving a purported reason that the case

   4               cannot be proved beyond a reasonable doubt. Bias against rape victims could not

   5               be clearer; Ex. 1 (Prosecuting Alcohol-Facilitated Sexual Assault), Ex. 2(Cold

   6               Case Alcohol- and Drug-Facilitated Sexual Assault), Ex. 3(Understanding the

   7               non-stranger rapist), Ex. 4(Plaintiffls email to HD Peter Cagney)

   8           c. Willfully refuse to perform their duties pursuant to professional standards;

   9           d. Intentionally discredit Plaintiff's account of allegation because she is a rape

  10               victim;

  11           e. Callously disregard victim and community safety by using absolute immunity as a

  12               badge and shield for their discriminatory practice with no showing ofa valid state

  13               interest;

  14           f. Deter Plaintiff from pursuing justice by falsely telling her that there was not

  15              enough evidence and creating purported reasons to justify their discriminatory and

  16               unconstitutional treatment to Plaintiff because she is a rape victim;

  17           g. Falsely told Plaintiff there was no corroboration, despite corroboration is not

  18              required by law for conviction; Ex. 5(Model Response to Sexual Violence for

  19              Prosecutors)

 20            h. Made multiple untrue statements to Plaintiff that were far departure from

 21               professional standards,jury instruction, and prosecution guidelines which is a

 22               strong indicator that discriminatory intent was a motivating factor for LADA

 23               Officials to exercise their discretion;

 24            i. Intentionally enforce a "non-law", falsely requiring corroboration and. evidence of

 25               force to establish rape, a requirement that is not required by law or jury instruction;

 26              (Lacey openly said acquaintance cases are particularly difficult to prove, unless the

 27               accused admits what happened, makes incriminating statements, or the victim's

 28               account can be corroborated with independent evidence, reflecting higher criteria
                                                     7
               COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 8 of 94 Page ID #:8




   1                compared to other crimes with no showing of valid state interest but solely aiming

  2                 at conviction rate for prosecutor's own personal interest.

  3                 https•//www nbclosangeles com/news/IocaUformer-socal-police-officer-will-not-

  4                 face-rake-char~e/2227236/)

   5           j.   Maliciously ignore the fact that a victim's testimony alone is legally sufficient

  6                 evidence for filing charges but falsely told Plaintiff that the law requires more than

   7                that and it's the way the law is, reflecting rape cases are less "worthy" of

   8                prosecution than other crime cases;

  9            k. Willfully provide favoritism and leniency towards rapists, including Suarez who

  10                attacked Plaintiff;

  11           I.   Intentionally use their control and influence to shut Plaintiff out of criminal justice

  12                system and reduce the number of perpetrators held accountable for sexual assaults;

  13           m. Employ disparate unwritten policy to rape cases compared to other type of crimes;

  14                (According to prosecution data obtained by NBC4's I-Team, in LA County, in

  15                2018 police presented 815 forcible rape investigations to prosecutors. Charges

   6                were filed in 188 reflecting an extremely low prosecution rate of23%. This

  17                compares to a higher rate at every stage for non-rape crimes, reflecting the lowest

  1g                priority of LADA's efforts.)

  19           n. Act in their own personal interest to avoid losing at trial simply because rape cases

  20                are hard to win and they want their personal conviction rates look good;

  21           0. Consciously manipulate prosecution for political purposes;

  22                (https•//variety com/2020/politic~/new~/weinstein-rape-char~:es-los-an~eles-

  23                1203461860/)

  24           p. Use "insufficient evidence" as a disguise to deprive Plaintiff of her constitutional

  2$                rights;

  26           q. Employ unconstitutional and discriminatory practice against sexual assault

  2'7               victims, including Plaintiff; and

  28           r. Misuse their power to undermine the quality ofjustice.
                                                 8
                COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 9 of 94 Page ID #:9




   1           14.     Defendant DOES 1 through 50 are not known or identified at this time. On

   2   information and belief, Plaintiff alleges that each Doe is in some manner responsible for the

   3   wrongs alleged herein, and that each such Defendant advised, encouraged, participated in,

   4   ratified, directed, or conspired to do, the wrongful acts alleged herein. When the true names and

   5   capacities of said Defendants become known, Plaintiff will seek relief to amend this complaint to

   6   show their true identities in place oftheir fictitious names as DOES 1 through 50. Defendants,

   7   DOES 1 through 50, and each of them, were the agents, employees and servants ofthe City or the

   8   County. Defendants DOES 1 through 50 acted in the course and scope of said agency, service

   9   and employment at all relevant times.

  10           15.     Plaintiff is informed and believes and thereon alleges that each ofthe Defendants

  11   designated as a DOE is intentionally and negligently responsible in some manner for the events

  12   and happenings herein referred to, and thereby proximately caused injuries and damages as herein

  13   alleged.

  14           16.     Defendants, and each ofthem, did the acts and omissions hereinafter alleged in

   5   bad faith and with knowledge that their conduct violated well established and settled law.

  16          17.      All Defendants are sued in their official capacities for declaratory and injunctive

  17   relief as to all claims. All Defendants are also sued for damages arising from violations of42

  18   U.S.C. §§ 1983 and 1985, and for violations of state law and the California Constitution.

  19          18.      Defendants EMPD and LASD Officers, LADA Officials, and DOES 1 through 50

  20   are also sued in their individual capacities for their violations of Plaintiff's constitutional and

  21   statutory rights.

  22
  23                                     JURISDICTION AND VENUE

  24           19.     The Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, and 1367(a) because

  25   this action arises under the Fourth and Fourteenth Amendments to the United States Constitution

  26   and 42 U.S.C. §§ 1983 and 1985.

  27           20.     The Court may award damages and grant declaratory and injunctive relief for

  28   constitutional violations pursuant to 42 U.S.C. § 1983, 28 U.S.C. § 2201, and/or Federal Rules of
                                                          9
                     COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 10 of 94 Page ID #:10




    1   Civil Procedure 57 and 65.

    2            21.     Venue is proper in this district under 28 U.S.C. § 1391(b) because the events that

    3   give rise to this action occurred within this district and the Defendants reside in this district and

    4   state.

    5

    6                                EMPD POLICIES AND PROCEDURES

    7            22.     At all relevant times, all EMPD members were required to be apprised of the First,

    8   Fourth, and Fourteenth Amendment of the United States Constitution, and were required, at all

    9   times, to follow the United States Constitution, the laws of California and also to comply with

   10   EMPD Policies and Procedures("EMPD P&Ps"). EMPD P&Ps are written orders which apply to

   11   all EMPD members such as Defendant EMPD Officers. Each member of EMPD, including

   12   Defendant EMPD Officers, are required to be familiar with the EMPD P&Ps and must adhere to

   l3   its directives. Ex.6(EMPD Policies and Procedures).

   14            23.     EMPD P&Ps 319.2 POLICY states that "The continued employment or

   15   appointment ofevery member of the El Monte Police Department shall be based on conduct that

   16   reasonably conforms to the guidelines set forth herein. Failure to meet the guidelines set forth in

   17   this policy, whether on- or off-duty, may be cause for disciplinary action.

   18            24.     EMPD P&Ps 319.3.2 SUPERVISOR RESPONSIBILITIES states that

   19   "Supervisors and managers are required to follow all policies and procedures and may be subject

   20   to discipline for:(a) Failure to be reasonably aware ofthe performance of their subordinates or to

   21   provide appropriate guidance and control.(b) Failure to promptly and fully report any known

   22   misconduct of a member to his/her immediate supervisor or to document such misconduct

   23   appropriately or as required by policy.

   24            25.     EMPD P&Ps 319.5 pertains to CAUSES FOR DISCIPLINE. 319.5.3

   25   DISCRIMINATION, OPPRESSION OR FAVORITISM states that "Discriminating against,

   26   oppressing or providing favoritism to any person because of age, race, color, creed, religion, sex,

   27   sexual orientation, gender identity or expression, national origin, ancestry, marital status, physical

   28   or mental disability, medical condition or other classification protected by law, or intentionally
                                                          10
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 11 of 94 Page ID #:11




     1     denying or impeding another in the exercise or enjoyment of any right, privilege, power or

    2      immunity, knowing the conduct is unlawful.

    3             26.     EMPD P&Ps 319.5 elaborates CAUSES FOR DISCIPLINE. 319.5.8

    4      PERFORMANCE includes "(a) Failure to disclose or misrepresenting material facts, or making

    5      any false or misleading statement on any application, examination form, or other official

    6      document, report or form, or during the course of any work-related investigation.(b) The

    7      falsification of any work-related records, making misleading entries or statements with the intent

    8      to deceive or the willful and unauthorized removal, alteration, destruction and/or mutilation of

    9      any department record, public record, book, paper or document.(c) Failure to participate in, or

   10      giving false or misleading statements, or misrepresenting or omitting material information to a

   11      supervisor or other person in a position of authority, in connection with any investigation or in the

   12      reporting of any department-related business.

   13             27.     EMPD P&Ps 601 details the requirements for sexual assault investigations. EMPD

   14      P&Ps 601.5 TRAINING states that "Subject to available resources, periodic training will be

   15      provided to:

   16            (a) Members who are first responders. Training should include:

   17              1. Initial response to sexual assaults.

   18             2. Legal issues.

   19             3. Victim advocacy.

   20             4. Victim's response to trauma."

   21             28.     EMPD P&Ps 601.7 VICTIM INTERVIEWS states that "Whenever possible, a

   22      member of SART should be included in the initial victim interviews. No opinion of whether the

   23      case is unfounded shall be included in the report. Victims should be apprised of applicable

   24      victim's rights provisions, as outlined in the Victim and Witness Assistance Policy.

   25             29.     EMPD P&Ps 60l.7.1 VICTIM RIGHTS states that "Whenever there is an alleged

   26      sexual assault, the assigned officer shall accomplish the following:

   27            (a) Advise the victim in writing ofthe right to have a victim advocate and a support

   28 '~          person of the victim's choosing present at any interview or contact by law enforcement,
                                                             11
                        COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 12 of 94 Page ID #:12




    1           any other rights of a sexual assault victim pursuant to Penal Code § 680.2 and the right to

    2           have a person ofthe same or opposite gender present in the room during any interview

    3           with a law enforcement official unless no such person is reasonably available (Penal Code

    4           § 679.04).

    5

    6                                        LASD CODE OF ETHICS

    7           30.      At all relevant times, all LASD members were required to be apprised ofthe First,

    8 ~ Fourth, and Fourteenth Amendment ofthe United States Constitution, and were required, at all

    9   times, to follow the United States Constitution, the laws of California and also to comply with

   10   LASD Code of Ethics("LASD COEs"). LASD COEs are written statements which apply to all

   11   LASD members such as Defendant LASD Officers. Each member of LASD, including Defendant

   12   LASD Officers, are required to be familiar with the LASD COEs and must adhere to its

   13   directives. Ex. 7(LASD Code of Ethics).

   14           31.      LASD COEs states that "I will never act officiously or permit personal feelings,

   15    prejudices, animosities, or friendships to influence my decisions. With no compromise for crime

   16   and with relentless prosecution ofcriminals, I will enforce the law courteously and appropriately

   17    without fear or favor, malice or ill will, pever employing unnecessary force or violence and never

   18    accepting gratuities."

   19

   20                                       CRIMINAL PROSECUTION

   21           32.      As the United States Supreme Court has explained, the prosecutor represents "a

   22    sovereignty whose obligation to govern impartially is as compelling as its obligation to govern at

   23    all; and whose interest, therefore, in a criminal prosecution is not that it shall win a case, but that

   24   justice shall be done." A prosecutor is held. to a standard higher than that imposed on other

   25    attorneys because of the unique function he or she performs in representing the interests, and in

   26    exercising the sovereign power, ofthe state.

   27            33.     American Bar Association Criminal Justice Standards for the Prosecution

   28    Function: Standard 3-1.2 Functions and Duties of the Prosecutor (b) The primary duty ofthe
                                                       12
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 13 of 94 Page ID #:13




    1 ~ prosecutor is to seek justice within the bounds ofthe law, not merely to convict. Standard 3-4.4

    2 ~ Discretion in Filing, Declining, Maintaining, and Dismissing Criminal Charges (c) A prosecutor

    3   may file and maintain charges even ifjuries in the jurisdiction have tended to acquit persons

   4    accused ofthe particular kind of criminal act in question.

    5           34.     In cases which involve a serious threat to the community, the prosecutor should

    6   not be deterred from prosecution by the fact that in the jurisdiction juries have tended to acquit

    7    persons accused ofthe particular kind ofcriminal act in question because prosecutors have an

    8   ethical obligation to pursue difficult cases for public safety reasons.

    9           35.      According to NDAA,cape cases rarely have physical evidence that conclusively

   10    proves that a rape occurred. The evidence need not conclusively prove that a rape occurred;

   11    rather, it must give the jury a sufficient context in which to evaluate the victim's credibility. Ex.

   12    1 (Prosecuting Alcohol-Facilitated Sexual Assault).

   13           36.      Los Angeles County District Attorney("LADA")declares that their office's top

   14    priority is the prosecution of violent and dangerous criminals —murders, rapists, gang members,

   15    child abusers and robbers among them.(ht~://da.lacountX.,~ov/about./office-overview)

   16           37.      AEquitas is a national technical assistance provider that specializes in the

   17    prosecution of gender-based violence and human trafficking crimes. AEquitas is a nonprofit

   18    organization that brings decades of prosecution experience and collaborative approach to offer

   19    law enforcement advice and resources across disciplines at no cost.(htt~s://aequitasresource.or~/)

   20

   21                                      RELEVANT LEGISLATION

   22            38.     In 2014 Gov. Jerry Brown has signed a bill into law that makes California the first

   23    in the nation to have a clear definition of when people agree to sex. "Lack of protest or resistance

   24    does not mean consent," the law states, "nor does silence mean consent. Affirmative consent must ~

   25    be ongoing throughout a sexual activity and can be revoked at any time."

   26

   27                         FACTS COMMON TO ALL CLAIMS FOR RELIEF

   28            39.     On or about April 1, 2019 Carlos Suarez(aka Charlie Suarez, hereinafter
                                                         13
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 14 of 94 Page ID #:14




        "Suarez") friended Plaintiff via a mobile app "Wechat". After a few days of chatting, on or about

    2   April 5, 2019, Suarez invited Plaintiff out for a dinner date. Plaintiff went home after atwo-hour

    3   dinner with Suarez but later Suarez brought over Japanese whiskey and Spanish wine. Plaintiff

    4   and Suarez had been drinking in Suarez's car for about three hours. Plaintiff eventually lost

    5   consciousness after consuming a lot of alcohol.

    6          40.      On or about April 6, 2019 at around 8:00 am Plaintiff woke up in an unfamiliar

    7   place, naked with a sore vagina. Suarez was also naked lying in bed next to Plaintiff. Plaintiff was

    8   still drunk and confused about what had happened. Suarez inserted his penis into Plaintiffs

    9   vagina but she didn't know what to say or what to do. Plaintiff was completely lost and everything

   10   was way beyond her comprehension. She didn't resist because she's afraid of any confrontation

   11   and escalated situation. She remained silent and went along with what the offender wanted

   12   because she reasonably believed that Suarez would commit violence against her ifthe situation

   13   was escalated. Plaintiff never gave her consent to sexual contact with Suarez while she was

   14   awake not to mention when she was unconscious.

   15          41.      On or about May 3, 2019 Plaintiff lured Suarez to a hotel and stood him up which

   16   was the last time Plaintiff saw Suarez. Between April 7, 2019 and May 3, 2019 Plaintiff not only

   17   had no sexual contact with Suarez but also declined his sexual advances.

   18          42.      Plaintiff finally gathered her courage to come forward on June 7, 2019. At the time

   19   she believed that coming forward would be her first step to heal and it was her obligation to

   20   report it to stop it. However, it turned out she was completely wrong and her life has been turned

   21   upside down.

   22          43.      On June 7, 2019 plaintiff was interviewed by Tate at EMPD. During the interview

   23   no victim services personnel was present and Plaintiff was not informed that she had the right to

   24   request a victim advocate. However, EMPD P&Ps 601.7 VICTIM INTERVIEWS states that

   25   "Whenever possible, a member of SART should be included in the initial victim interviews."

   26           44.     The first session of the interview was not recorded and during that session Plaintiff

   27   told Tate she was afraid to upset Suarez when she woke up in an unfamiliar place in the morning

   28   of Apr 6, 2019. When Tate told Plaintiff to retell the story for recording purposes Plaintiff was
                                                         14
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 15 of 94 Page ID #:15




    1   very frustrated. Plaintiff was re-traumatized by recounting the incident twice. Throughout the

    2   interview Plaintiff noticed Tate's fake smile and the way Tate looked at her with skepticism.

    3          45.     Despite the crime was facilitated by alcohol Tate asked Plaintiff"Did he force

    4   you?" Nobody needs force to rape an unconscious woman. Nobody needs force to rape a woman I

    5   who's in shock and fear. Alcohol is a weapon ofchoice by perpetrators. Regardless of silence is

    6   not consent, by asking irrelevant questions Tate focused on physical force instead ofthe absence

    7   of consent. From the very outset Tate had no intention to uncover the truth that there was no word

    8   or conduct indicating Plaintiffs freely given agreement to sexual contact. Ex. 8(Jury instruction

    9   for criminal sex offense).

   10          46.     At the end ofthe interview, without any investigation, Tate willfully smirked and

   11   announced to Plaintiff that it was not a rape. Tate's statement was like a bombshell that caused

   12   Plaintiffto raise her voice and yell "he admitted it." Tate didn't care and showed Plaintiff out.

   13   Tate's comment suggests that she believed this was just a drunken night rather than a crime. It is

   14   not a policy of EMPD to tell victims of burglaries or attempted murder that their allegations are

   15   NOT a crime. The power of Tate's announcement was no different than a bullet shot in Plaintiff's

   16   head. Ex. 9 (Plaintiff's email to EMPD).

   17          47.     After the initial interview Tate falsified her incident report by fabricating Plaintiff

   18   gave consent and willingly had sexual intercourse with Suarez because Plaintiff wanted to do so.

   19   This action reflects Tate's discriminatory intent to dismiss Plaintiffs allegation. Ex. 10(Incident

   20   report prepared by Officer Martha Tate).

   21          48.     Plaintiff, after waking up naked in an unfamiliar place with a sore vagina, told her

   22   simple and plain narrative to Tate: she didn't know what to do and she was afraid to upset the

   23   attacker which implies she's afraid ofthe consequence ofconfrontation and escalated situation.

   24   Tate twisted the story, bypassing the appropriate context and substituting instead the more

   25   familiar account of a sexual encounter. Having preempted Plaintiffs story with one of her own,

   26   Tate's falsified report made sense given the premises of her announcement. In other words, before

   27   any investigation, Tate had drawn her own conclusion: this was not a rape. Tate's willful denial of

   28   what Plaintiff had experienced was the result of stereotyped assumption about the truth of a
                                                         15
                     COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 16 of 94 Page ID #:16




    1   reported sexual assault, that women are likely to report "regretted sex" as rape.

    2           49.    Plaintiff told her narrative to Tate on tape: she didn't say no, she didn't say yes

    3   when Suarez had sex with her after she woke up. Having sex was not what she wanted. Tate

    4   distorted the story with her discriminatory mind, again replacing Plaintiffs story with one of her

    5   own, Tate wrote in her report that Plaintiff gave consent and willingly had sexual intercourse with

    6   Suarez because she wanted to do so.

    7           50.     Plaintiff told her narrative to Tate: Suarez told Plaintiff to book a hotel. Plaintiff

    8   didn't do so because she didn't want to have sex with Suarez in the first place, but she went out for

    9   dinner with Suarez. Plaintiff went home straight after dinner with Suarez. Tate distorted the story,

   10   again replacing Plaintiffs story with one of her own, Tate wrote in her report that Plaintiffwas

   11   supposed to meet Suarez in a motel but she changed her mind.

   12           51.     Plaintiff showed Tate Suarez's indirect confession stating that "I felt like you were

   13   a virgin and 1 was stretching you out." However, Tate maliciously omitted this most important

   14   text message in her report.

   15           52.     Tate's willful refusal to take Plaintiff at her words -that she had been raped -and

   16    Tate's malicious conclusion are symptomatic ofa widely recognized stereotype: law

   17    enforcement's deep-seated distrust of rape victims.

   18           53.     After the second time Plaintiff recounted her story, Tate's question "What brings

   19    you here today?" reflects her doubt about Plaintiff's allegation and explains Tate's initial motive

   20    to falsify her report. A victim of other types ofcrime would not be asked the same question.

   21           54.     Tate asked Plaintiff what made her think she was a victim ofrape based on Tate's

   22 i assumption about sexual assault victims are lying. Victims of other type of crimes would not be

   23 ~ asked the same question. Such humiliating and degrading question strongly suggests her

   24    discriminatory animus towards rape victims.

   25           55.     Tate's incident report is a summary of her version ofevents from her

   26    discriminatory perspective instead of Plaintiff's.

   27           56.     Tate did not inform Plaintiff of victims' rights. At that time, and at all relevant

   28    times, Tate was aware of her duties as an EMPD police officer, specifically adherence to EMPD
                                                       16
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJiJNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 17 of 94 Page ID #:17




    1   P&Ps 601 Sexual Assault Investigations. Tate has remained on her job without any discipline.

    2          57.        On or about June 13, 2019, days after Plaintiff's encounter with Tate, while

    3   struggling immensely with Tate's announcement, Plaintiff ended up in urgent care for severe

    4   sleep disorder.

    5          58.        On or about July 2, 2019 Plaintiff met with Jara at LASD's city ofIndustry station.

    6   Jara asked Plaintiff to recount her story but not long after she started Jara assumed that Plaintiff

    7   didn't remember giving consent. Jara ignored Plaintiff telling her it was not the case. Jara refused

    8   to take Plaintiffs answer and grilled Plaintiff"you ever had this situation that your friend told

    9   you that you danced last night when you were drunk and you don't remember?" Plaintiff had to

   10   raise her voice and respond "NEVER". It came across Jara was so intimidating and bullying. It

   11   also demonstrates how Jara coerced Plaintiff to recant her allegation of rape, reflecting her

   12   malicious and discriminatory intent.

   13          59.        Jara's question - "What do you want here?" -indicates that she believed that

   14   Plaintiff was making a false allegation to gain something else. Jara's humiliating and degrading

   IS   question was nowhere to be found in LASD's standard operating procedures or investigation

   16   guide. Her question is simply a good starting point to devalue Plaintiffs credibility. "What do you

   17   want here?" is the main theme of Jara's investigation right from the outset. Victims of other type

   18   of crimes would not be asked the same question. Jara's question caused Plaintiffto raise her voice

   19   in shock and answer "I want JUSTICE."

   20          60.        When Jara was reading Plaintiffs conversations with Suarez she stated "It doesn't

   21   look like you were raped." Jara's stereotyped remarks reveal her stereotypical distrust towards

   22   rape victims. Such stereotype about how victims should behave violates the Equal Protection

   23   Clause, United States v. Virginia, 518 U.S. 515, 517(1996), and interferes with the ability of

   24   investigators to find the truth. Then Jara questioned Plaintiff again "Why did you say `I can make

   25   you lose your job'?" Jara never missed a chance to challenge Plaintiffs every word and action.

   26          61.        Jara announced the need to download from Plaintiffs cell phone the conversations

   27   between Plaintiff and Suarez. Plaintiff asked Jara how long it would take and Jara replied it would

   28   take about two weeks. Jara didn't inform Plaintiffthat she would do something else on the cell
                                                        17
                     COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 18 of 94 Page ID #:18




    1   phone. However, regardless of repeated requests for her phone's return, Plaintiff did not get her

   2    phone back until four months later. Plaintiff would not have given her phone to Jara if she had

    3   known that an illegal search and seizure would be conducted.

   4            62.     Plaintiff insisted that Suarez confessed he was stretching her out. Jara further

    5   intimidated Plaintiff"That's not a confession. Did he say he raped you?" Jara expected that there

   6    was only one form ofconfession.

    7           63.     Jara also argued that a woman's vagina would not be loosened when they are

    8   aroused. Then Plaintiff asked her how a woman would give birth. After Plaintiff got home she

   9    had to send Jara a medical article describing how a woman's vagina changes under different

   10   circumstances to enrich her knowledge about a woman's body part.

   11           64.     Jara questioned Plaintiffls intent to come forward. She concluded that Plaintiff

   12   came forward because she found out Suarez was cheating and she was mad. Again, Plaintiff had

   13   to raise her voice to deny Jara's accusation.

   14           65.     Jara said founding out his cheating could be Suarez's defense. Plaintiff flat out

   15   said "that's not a valid defense" but in response she said "yes it is". The entire time Jara was

   16   trying to discourage Plaintiff following through her allegation rather than discover the truth.

   17           66.     Text messages showed that Suarez put words in Plaintiffs mouth and invited

   18   himself over but Jara concluded that Plaintiff invited him over. Jara kept challenging Plaintiff

   19   why she did this/that as ifshe was a criminal. Jara said Plaintiff's text messages after April 6

  20    looked like she was ok with having sex in the motel by ignoring how Plaintiff processed trauma.

  21            67.     Plaintiff showed Jara some articles that finally made her come forward but Jara,

  22    attacked Plaintiff that she printed them out after the police report was filed despite the fact that

  23    nowadays most people read on screen instead of paper, reflecting Jara's dismissive attitude. The

  24    entire time Jara put Plaintiff into a defense mode that Plaintiff had to defend herself although she

   25   was a crime victim.

  26            68.     Jara's assumptions made Plaintiff reach the point that she had to yell multiple

   27 ~ times "I date him does not mean I want to have sex with him. How come I did not have sex with

   28    him after April 6?" Jara put Plaintiff in a position that she was extremely frustrated to the level
                                                          18
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 19 of 94 Page ID #:19




       1    that she couldn't express herself and wanted the "interview" to end as quickly as possible because

       2 ~ the entire "interview" was conducted in a very accusatory manner, very threatening.

       3            69.       Jara kept saying this case was going nowhere, this case had a lot of problems. She

    4       also said "if all you want is to arrest this guy it is not gonna happen. I will not make an arrest."

    5       Jara's announcement reflects her discriminatory intent to invalidate Plaintiff's allegation.

    6              70.        It is not a policy of LASD to constantly tell victims of burglaries or attempted

    7       murder that their allegations are problematic and impossible to prove beyond a reasonable doubt.

    8              71.        At the end ofthe interrogation Jara told Plaintiff"I will get his phone and see if

   9       there's more messages." Her statement again reflects her presumption that Plaintiff was lying or

   10       hiding something else.

   11              72.       Plaintiff suffered a sexual attack while she was unconscious after drinking.

   12      Against this backdrop, Jara's demeaning and accusatory tone of questioning was suspect and

   13      suggestive ofdiscrimination. Jara's discriminatory attitude explained why she assumed that

   l4      Plaintiff did not remember giving consent and stated that "It doesn't look like you were raped."

  IS       Jara's conduct reflects she discredited Plaintiffs statements because Plaintiff consumed alcohol.

  16               73.       No useful information was extracted during Plaintiffs encounter with Jara. No
  17       question regarding the crime element was asked. Instead, the only ►votive of this "interview" was

  18       to challenge Plaintiffs every word and reaction. The only intent of this "interview" was to

  19       invalidate and dismiss Plaintiff's allegation. Rather than work with the victim and gather

  20       evidence according to each element of the crime Jara repeatedly declared that this type of case

  21       was problematic which could not be proven beyond a reasonable doubt. The "interview"

  22       conducted by Jara was meaningless with respect to proving a crime.

  23               74.       Jara did not inform Plaintiff of victims' rights as set forth in California

  24       constitution. At that time, and at a(I relevant times, Jara had full knowledge of LASD COEs and

  25       awareness of proper investigation protocol.

  26              75.        Again and again, Plaintiff has not been treated like the victim in this case. The

  27       trauma Plaintiff has experienced at the hands of Defendants prevented her from having any kind

  28       of normal life.
                                                               19
                         COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 20 of 94 Page ID #:20




                 76.       On or about July 3, 2019 Plaintiff was really concerned by Jara's attitude and she

    2 ~ believed that Jara was not able to appropriately manage her case. Plaintiff reached out Ruiz and

    3    requested another detective to work on her case but her attempt was not successful. Jara remained

    4    on Plaintiff's case.

    5           77.        On or about July 14, 2019 Plaintiff filed a complaint against Jara and Special

    6    Victims Bureau with Inspector General. Jara has remained on her job without any discipline.

    7           78.        On or about July 22, 2019, while Jara was on vacation, Plaintiff reached out Ruiz

    8   to get her phone back. Over the phone while discussing the case Plaintiff was challenged by Ruiz

    9   "How did you not know you were violated?" His question left Plaintiff feeling coming forward

   ]0   was a punishment to herself and she should not have reported the incident to the police at all.

   11   Such victim blaming does not occur with other types ofcrimes.

   12           79.      On Aug 8, 2019 Plaintiff was framed and charged with misdemeanor. Plaintiff

   13   never worried about that because she believed she would not be convicted for something she

   14   didn't da

   15           80.     Despite pretext phonecall is a commonly used technique to obtain confession from

   16   the offender Jara opt not to use it but on or about Aug 14, 2019 she told Plaintiff she had done        ~
   17   everything she could. Plaintiff was never notified after law enforcement contact with the suspect

   18   reflecting a serious disregard for Plaintiff's safety.

   19           81.     On or about Aug 14, 2019 Plaintiff phoned Ruiz to inquire the investigation but in

  20    an intimidating manner Plaintiff was challenged by Ruiz about her gofundme page which was her

  21    private business and had nothing to do with the crime in question. It reveals that LASD Officers'

  22    true motive was to spend more energy and time on proving Plaintiff was filing a false claim rather

  23    than prove there was a crime occurred. It demonstrates how LASD Officers misused state

  24    resources.

  25           82.      At that time, and at all relevant times, Ruiz was aware of LASD COEs and his role

  26    as a supervisor.

  27           83.      The language and attitude of Jara and Ruiz suggests that LASD Officers made
  28    minimal or maybe no effort to interrogate or investigate the suspect in Plaintiffs case.
                                                  20
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 21 of 94 Page ID #:21




                 84.     On or about Aug 16, 2019 Plaintiff ended up in ER for dysfunctional menstrual

    2    bleeding. In Plaintiff's entire life it was her very first time to visit ER.

    3           85.      On or about Aug 23, 2019 LADA declined to file charges against Suarez.

    4           86.      On Aug 23, 2019 Chung had a phone conversation with Plaintiff. It is prosecutor's

    5    duty to educate juries that just because a woman has an open crime case it doesn't mean that she

    6    is not a victim of sexual assault. Despite simply filing a motion to limine can keep out irrelevant

    7    or prejudicial evidence Chung falsely told Plaintiff that the open case in Orange County against

    8   Plaintiff affected her credibility and made the filing charges against Suarez impossible which was

    9    a clear deprivation of Plaintiff's rights secured to her under Fourteenth Amendment. At the time

   10   Plaintiff was not convicted and was charged with misdemeanor. The choice of misdemeanor over

   11   felony is a callous disregard for victim and community safety, reflecting Chung's dismissive

   12    attitude. Having an open crime case does not justify the deprivation ofa victim's rights.

   13            87.     A victim of attempted murder or other crime would not be told his/her open

   14    criminal case would affect his/her credibility.

   15            88.     Regardless of corroboration the purported reason for non-prosecution given by

   16    Chung was that Plaintiff's case was a "he said she said" case. Given the fact that the suspect

   17    admitted he tore apart Plaintiff's vagina this is obviously an untrue statement.

   18            89.     The American Bar Association standard related to Prosecution Function says that

   19    the duty ofthe prosecutor is to seek justice, not merely to convict. Giving false statement to a

   20    victim is not prosecutorial in nature. Instead, Chung was afraid to lose the case and affect her

   21    personal performance. In another words Chung acted in her own interest and personal capacity

   22    during the employment as a prosecutor.

   23            90.     Despite alcohol is a weapon ofchoice another purported reason for non-

   24    prosecutiongiven by Chung was "You also voluntarily consumed alcohol, correct?" which

   25    suggests a strong purposeful animus towards Plaintiff. A burglary allegation would not be

   26    dismissed because the victim forgot to lock the door or close the window.

   27            91.     At that time, and at all relevant times, Chung was aware ofLADA's mission and

   28 ~ her role as a prosecutor.
                                                            21
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJi1NCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 22 of 94 Page ID #:22




        1            92.      On Aug 23, 2019 Thorp called Plaintiff and during the phone call Thorp was
       2     reading Tate's falsified report. Thorp's statement - "We can't prove it in court to
                                                                                                 a jury that a jury
       3     is not likely to convict." — is a far departure from professional standards. "If
                                                                                              someone thinks
       4     they were raped and then they have consensual sex with someone, then they have a relations
                                                                                                                  hip
       S I and they only go to the police after the breakup." Thorp's stereotype about how victims
                                                                                                          should
    6        behave constitutes purposeful unlawful discrimination.

       7            93.       When there's no issue about who the assailant is DNA doesn't really contribute
    8        anything. Despite the suspect is known and admitted having sex with Plaintiff, despite what
                                                                                                         says
    9        on jury instruction, Thorp falsely told Plaintiff that in order to prove a case "We need a
                                                                                                          forensic
   10        medical exam. We need his semen. We need evidence of force."

   11               94.      By intentionally ignoring all the circumstantial evidence Thorp made an untrue

   12       statement "We need something more than the victim alone saying that this happene
                                                                                             d.""But
   13       it's the way the law is."

   14               95.      Despite most sexual assault victims either delay reporting or never report the crime
   IS       Thorp made a statement "If you're raped you go to the police right away." Thorp's stereotyp
                                                                                                        e
   16       about how victims should behave constitutes unlawful discrimination.

   17               96.      When Plaintiff pointed out Suarez's predatory behavior to ply her with alcohol
  18        Thorp's statement - "It doesn't matter. You drank it." — suggests a strong animus towards
                                                                                                      rape
  19        victims because a victim of burglary would not be told "It doesn't matter. You didn't lock
                                                                                                       your
  20        door." Thorp's language also reflects her discriminatory intent to discard Plaintiff's allegatio
                                                                                                             n.
  21               97.       At that time, and at all relevant times, Thorp was aware of LADA's mission and
  22        her role as a prosecutor. At all times Plaintiff have been wondering what a victim means
                                                                                                     to
  23        LADA Officials.

  24               98.       Plaintiff finally experienced the despair and emotional distress of living with the
  25        knowledge that her rapist would never be held accountable for his act, and nothing was stopping

  26        him from assaulting others. Plaintiffs rapist was well protected by law enforcement while she

  27        was not and he walks free with the confidence that he can rape other women with no

  28        repercussions.
                                                              22
                          COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 23 of 94 Page ID #:23




                 99.     On or about Aug 30, 2019, as a direct result of injustice and unlawful

    2    discrimination after sexual assault Plaintiff felt hopeless and worthless, therefore she was

    3 ~~ transported to the hospital and put on suicidal watch for five days.

    4            100.    On or about Sep 15, 2019 Plaintiff moved out to a new home for fear of her safety.

    5            101.    On or about Sep 27, 2019, Plaintiff obtained a copy of the incident report prepared

   6     by Tate from Special Victims Bureau. Plaintiff was dumbfounded when reading that Tate wrote

    7    in her report "She gave consent and willingly had sexual intercourse with him because she wanted

    8    to do so."

   9             102.    Immediately Plaintiff went to EMPD and the watch commander on duty was

  ]0     Buckhannon at the time. Buckliannon agreed to replay the interview type in front of Plaintiff and

   11   two victim advocates from Peace over Violence. During Plaintiffs interview with Buckhannon,

   12    by repeating Tate's pattern (telling the victim it was not a rape before any investigation), before

   13   listening to the entire interview tape, Buckhannon started applying double standard and defending

   14   Tate, and told Plaintiff it was not fair to Tate to make an allegation against Iter. Buckhannon also

   15   justified a falsified police report by telling Plaintiff that Tate would need just a little bit training.

   16           103.     In the waiting room, looking at the falsified police report, Plaintiff asked her

  17    victim advocate Anne "Can you imagine how many victims didn't get the justice they deserved?"

  18            104.     Out of the blue, Buckhannon asked Plaintiff"Were you married?" Plaintiff

  19    answered "No" with confusion. Then Buckhannon declared that he had been married for twenty

  20    years and he did not ask for consent each time he had sex with his wife:(which implies "1 have

  21    been raping my wife for twenty years but she didn't file a complaint so you shouldn't have filed

  22    this complaint.") Such remarks strongly suggest an intention to treat sexual assault cases less

  23    seriously than other assaults, as well as an animus against rape victims. Buckhannon's pro-

  24    defendant attitude is capable of several interpretations: perhaps he believed that women cry rape,

  25    that men are always entitled to sex in a relationship, that Plaintiff was not entirely blameless

  26    because she was dating the attacker, that such assault was less severe and traumatic because she

  27    knew this suspect, or that state officials should not intrude upon non-stranger sexual assaults.

  28    Whatever the reason, Buckhannon's language reflects an outdated misconception concerning
                                                           23
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 24 of 94 Page ID #:24




         sexual assaults that cannot be used as a source of differential treatment. Buckhannon's statement

    2 II also demonstrates his discriminatory intent to devalue Plaintiff's allegation.

    3            105.   After Plaintiff stepped out of Buckhannon's office she immediately realized that

    4    she forgot her document on his desk. Therefore, Plaintiff returned and retrieved her document on

    5    Buckhannon's desk. Despite the document belonged to Plaintiff Buckhannon told her it was

   6     disrespectful to take something from his desk without asking. However, Buckhannon thinks it is

    7   fine for a man to put his penis in Plaintiff's vagina without asking for consent. It demonstrates

    8    how Buckhannon devalues Plaintiff's bodily integrity.

   9             106.   At that time, and at all relevant times, Buckhannon was aware of his duties as a

  ]0    EMPD member and leis role as a supervisor.

   11            107.   On or about Oct 4, 2019 Plaintiff filed a police misconduct complaint against Tate

   12    but Plaintiff never received any acknowledge from EMPD that they have received her complaint.

   13            108.   In October and November 2019 Plaintiff repeatedly requested the investigation

   14   report prepared by Jara but her requests were denied by Lieutenant Michael Burse with Special

   IS   Victims Bureau and she was told she would need a subpoena and attorney for the said purposes.

   16           109.    On or about Nov 28, 2019 Plaintiff attempted suicide by trying to overdose

  17    sleeping aid. The life-long devastating harm caused by sexual assault is profound and exacerbated

  18    by Defendants' deprivation of Plaintiff's fundamental rights secured to her by laws.

  19            1 10.   The depth oftrauma inflicted upon Plaintiff has a significant impact not only on

  20    the victim, but on the entire community because ofthe scope and lasting effect ofthe harm, and

  21    the fact that unpunished perpetrators are encouraged to repeat their crimes.

  22            1 11.   The depth of Defendants' discriminatory treatment of sexual assault victims is all

  23    the more troubling given the recent expansion ofsocietal awareness of and sensitivity to sexual

  24    assault. The discriminatory treatment, deprivation ofequal protection ofthe laws, and invasion of

  25    privacy by Defendants caused significant emotional injury to Plaintiff separate and apart from the

  26    harm she suffered as a sexual assault victim.

  27            1 12.   Upon information and belief, critical decision-making regarding the distribution of

  28    resources and staffing, training of officers, detectives, and other personnel, treatment of victims
                                                         24
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 25 of 94 Page ID #:25




    1    who come forward, and other policies and/or practices that led to the discriminatory denial and/or

    2    hostile provision of services to Plaintiff were made by Defendants Reynoso, Villanueva, Lacey,

    3    and/or among others.

    4            1 13.    Failure of EMPD, LASD, and LADA to adhere to written policy, COEs, mission

    5    statement, and training, permits and facilitates the unlawful conduct described above.

    6    Accountability systems of EMPD, LASD, and LADA, do not sufficiently detect or prevent

    7    unlawful conduct, EMPD,LASD, and LADA did not properly consider and resolve complaints

    8    from Plaintiff. Early warning system of EMPD, LASD, and LADA does not adequately identify

    9 ~ or effectively respond to a need for intervention to prevent future violations of constitutional

   10    rights of sexual assault victims.

   11            1 14.    Plaintiffs complaints were not formally investigated. EMPD, LASD, and LADA

   12    minimized the seriousness of Plaintiffs complaints by failing to investigate as a serious complaint

   13    that could potentially result indiscipline.

   14            1 15.    Plaintiffs complaint was resolved at the unit level by LASD through "service

   15    reviews" rather than as formal administrative investigations. By official policy, service reviews

   16    may not result in formal discipline unless elevated to an administrative investigation. Only

   17    official administrative investigations, which are primarily conducted by LASD's Internal Affairs

   18    Bureau (IAB), may result in formal discipline.

   19            1 16.     Practice of handling complaints of misconduct as service reviews allows deputies

   20    to evade investigation and discipline, which fundamentally undermines meaningful

   21    accountability. Such willful failure to conduct proper investigation has remained as unofficial

   22    policy for decades.

   23            l 17.     LASD's system for conducting service reviews perpetuates patterns of unlawful
                                                                                           prohibiting
   24    community interactions and provides disincentives with regards to LASD's policies
                                                                                                   by
   25    bias. This has the effect of diminishing and devaluing allegations of discrimination made
                                                                                                        ely
   26    civilians. When assessed within the totality ofthe circumstances, LASD's failure to appropriat
                                                                                                           to
   27    handle discrimination complaints provides evidence of an equal protection violation, adding

   28    the statistical evidence of bias.
                                                           25
                                                                              RELIEF
                         COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 26 of 94 Page ID #:26




    1          1 l 8.    At its core, the current organizational structure of EMPD,LASD, and LADA is

    2   not capable of adequately addressing the victimization and lifetime damage inflicted on sexual

    3   assault victims or to stop repeat perpetrators, particularly those who sexually assault women they

   4    know or who use drugs/alcohol to commit their sexual assaults.

    5           1 19.    On Jan 7, 2020 Plaintiff received a phone call from Cagney. Despite Plaintiff

    6   never gave her consent to Suarez the purported reason for non-prosecution given by Cagney was

    7   "You had sex with him. You had contact with him." Despite most rape victims either delay

    8   reporting or never report the crime, especially the perpetrator is non-stranger, Cagney falsely told

    9   Plaintiff the case was not able to prove beyond a reasonable doubt because "You delayed

   10   reporting.", reflecting LADA Officials' dismissive attitude. The insufficient evidence although

   11   purporting to be reasonable but in fact was a disguise and pretext for intentional discriminatory

   12   under-enforcement against rape victims. Ex. 11 (Educating Juries in Sexual Assault Cases)

   13           120.      At that time, and at all relevant times, Cagney was aware of LADA's mission and

   l4   his role as a prosecutor.

   15           121.      On or about Jan 9, 2020 Plaintiff requested LADA's Sexual Assault Policy and

   16   Procedure Manual but she was told by Gina Satriano (LADA's Director of Bureau of Branch and

   17   Area Operation Region II) that LADA had no such thing even though LADA is the largest local

   18   prosecutorial office in the nation.

   19           122.      Not having any written policy and procedure for prosecution ofa heinous crime —

   20   sexual assault, suggests that LADA disregard the known or obvious consequence and it is a

   21   conscious choice even though they claim that their top priority is the prosecution of rapists.

   22

   23                                         FIRST CAUSE OF ACTION

   24                                    Equal Protection (42 U.S.C.§ 1983)

   25                                            Against all Defendants

   26           123.      Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   27    the paragraphs above.

   28           124.      The Fourteenth Amendment prohibits the states from denying to all persons within
                                                       26
                        COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 27 of 94 Page ID #:27




    1   its jurisdiction the equal protection ofthe laws. Denying includes inaction as well as action, and

    2   denying the equal protection of the laws includes the omission to protect.

    3             125.   "The purpose ofthe equal protection clause ofthe Fourteenth Amendment is to

    4   secure every person within the State's jurisdiction against intentional and arbitrary discrimination,

    5   whether occasioned by express terms of a statute or by its improper execution through duly

   6    constituted agents." Sioux City Bridge Co. v. Dakota Cty., 260 U.S. 441,445 (1923)(quoting

    7   Sunday Lake Iron Co. v. Wakefield Twp., 247 U.S. 350, 352(1918)). Discriminatory policing

    8   occurs when police officers and departments selectively enforce the law - or fail to enforce the

    9   law -based on arbitrary factors.

   10             126.   Equal protection rights are violated when(1) a person is a member of an

   11   identifiable class;(2)that person is intentionally treated differently from others similarly situated;

   12   and (3)there is no rational basis for the difference in treatment. Discriminatory intent implies

   13   more than intent as volition or intent as awareness ofconsequences. It implies that the decision

   14   maker selected or reaffirmed a particular course of action at least in part because of —not merely

   15   in spite of—its adverse effects upon an identifiable group.

   16             127.   Plaintiff is a member of an identifiable group. As pled above, she is a rape victim

   17   who has been treated differently based upon illegitimate stereotypes and archaic notions of sexual

   18   assault. She further alleges that Defendants acted with discriminatory intent in discounting,

   19   invalidating, and dismissing her allegation.

   20              128. Telling Plaintiff it was not a rape before any investigation, falsifying incident

   21   report, interrogating Plaintiff, unreasonably searching and seizing Plaintiff's private data, and

   22   blaming Plaintiff, when analyzed as a whole using a contextualist approach, permit the inference

   23   that Plaintiffs individual case was treated differently without a rational basis and showcase

   24   Defendants' custom and practice of intentional discriminatory under-policing. Defendants

   25   intentionally provide unequal protection to sexual assault victims in the form of failing to respond

   26   with equal effort to sexual assault victims the same as Defendants do with victims of other

   27   crimes.

   28             129.   There was no reason for the misconducts and ill treatments other than animus
                                                          27
                     COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 28 of 94 Page ID #:28




    1   toward victims of sexual assault. Such conducts are not at all related to any governmental purpose

    2   and they are a far deviation from commonly accepted procedures. It's not a single word, not a

    3   single act, but a series ofconducts that demonstrate Defendants' pattern of deliberate indifference

    4   and unconstitutional practice to discourage the vigorous prosecution of violent crimes against

    5   sexual assault victims.

    6           130.     An individual who alleges that a state actor intentionally treated her differently

    7   than other similarly-situated individuals and alleges that there was no rational basis for the

    8   difference in treatment, states a viable Fourteenth Amendment Equal Protection Claim.

    9           131.     Plaintiff has been deprived of her rights ofequal protection under the law —and as

   10   ofthe date of this filing, continues to be deprived of these rights — on account of sexual assault, in

   11   violation of the Fourteenth Amendment to the United States Constitution, in that she has been

   12   afforded less favorable terms and conditions than victims of other assaults/crimes, and continues

   13   to be afforded less favorable terms and conditions. As a consequence, Plaintiff, as a victim of

   14   sexual assault, obtained less protective resources ofthe state compared with victims of other

   15   assaults/crimes. The devaluation of sexual assaults burdens a particular set of victims. The laws

   16   against violence were not and will not be uniformly enforced. Because the vast majority of

   17   victims of sexual assault are women, discriminatory practice has an unjustified disparate impact

   18   on women.

   19           132.     The acts of Defendants were unnecessary, objectively unreasonable and malicious.

   20           133.     As a proximate and foreseeable result of Defendants' violations of Plaintiffls

   21   Fourteenth Amendment rights, Plaintiff has suffered, is suffering, and will continue to suffer

   22   injuries, including but not limited to continued trauma, humiliation, emotional distress, anxiety,

   23   depression, stigma, and embarrassment.

   24

   25                                     SECOND CAUSE OF ACTION

   26                          Unreasonable Search and Seizure(42 U.S.C. § 1983)

   27                   Against the County, LASD Officers, LADA Officials, and Does 1-50

   28           1 34.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in
                                                           28
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 29 of 94 Page ID #:29




    1 1 the paragraphs above.

   2            135.    The Fourth Amendment protection from unreasonable search and seizure has been

    3   extended to protect individuals with a "reasonable expectation of privacy." Katz v. United States,

   4    389 U.S. 347(1967).

    5           136.    The modern reality ofsmartphones is people carry their entire lives on their cell

   6    phones. The smartphone has everything as if it was a mobile home. All information on cell phone

    7   is private.

    8           137.    Plaintiff showed Jara nothing else but her particular. conversations with Suarez.

    9   Plaintiffs actual consent should be limited to her conversations with Suarez. She had reasonable

   10   expectation of privacy for everything on her cell phone except for her conversations with Suarez.

   11   Plaintiff handed over her cell phone solely for Jara to download her conversations with Suarez

   12   and Jara was aware ofthat. Jara didn't inform Plaintiff that she would do something else on

   13   Plaintiffs cell phone.

   14           138.     When officers receive consent to search for narcotics and then also search for and

   15   seize currency and exchange receipts, insurance policies, loan receipts, and certificates oftitle to

   16   real estate, the officers have misused the limited consent as a license to conduct a general

   17   exploratory search. Such unlawful action by government officers or agents raises the issue ofthe

   18   overall voluntariness ofthe actual consent. United States v. Dichiarinte, 445 F.2d 126 (7th Cir.

   19    1971). A consent search is reasonable only if kept within the bounds ofthe actual consent. Honig

   20    v. United States, 208 F.2d 916, 919(8th Cir. 1953).

   21           139.     A person giving consent to a search of her cell phone for the sole and express

   22    purpose of downloading particular conversations restricts the officers' search to only those

   23    conversations. There was no indication that Jara desired to look for anything else other than

   24    Plaintiffs conversations with Suarez.

   25            140.    The 9th Circuit Court of Appeals stated "We think it is clearly improper for a

   26    government agent to gain access to records which would otherwise be unavailable to him by

   27    invoking the private individual's trust in his government, only to betray that trust." If Plaintiff had

   28    known her entire life would be searched she wouldn't have handed over her cell phone. She
                                                        29
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 30 of 94 Page ID #:30




        handed over her cell phone based on her trust in her government but later she found out she was

    2   betrayed and her cell phone was strip searched even though her private data was irrelevant to the

    3   crime in question.

    4          141.     By unlawfully abusing Plaintiffs actual consent, and/or by failing to intercede to

    5   prevent such unlawful conduct, Defendants violated Plaintiffs Fourth Amendment right to be

    6   secure in her person against unreasonable searches and seizures.

    7          142.     As a proximate and foreseeable result of Defendants' unconstitutional acts or

    8   omissions, Plaintiff's private information was subjected to analysis by LASD personnel without a

    9   warrant, valid consent, or exigent circumstances, in violation of her Fourth Amendment rights.

   10          143.     As a proximate and foreseeable result of Defendants' violations of Plaintiff's

   11   Fourth Amendment rights, although Plaintiff's private data is irrelevant to the crime in question,

   12   it has been, and continue to be, in the possession of government agencies including but not

   13   necessarily limited to LASD and LADA, resulting in a continuing violation of her Fourth

   14   Amendment rights.

   15          144.     As a proximate and foreseeable result of Defendants' violations of Plaintiff s

   16   Fourth Amendment rights, Plaintiff has suffered, is suffering, and will continue to suffer injuries,

   17   including but not limited to continued invasion of privacy, humiliation, emotional distress,

   18   anxiety, depression, stigma, and embarrassment.

   19           145.    The acts of Defendants were unnecessary, objectively unreasonable and malicious.

   20

   21                                     THIRD CAUSE OF ACTION

   22                                  Civil Conspiracy(42 U.S.C.§ 1985)

   23                                         Against all Defendants

   24           146.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   25   the paragraphs above.

   26           147.    Starting on June 7, 2019 Defendants, in whole or part, conspired among

   27   themselves and with others for the purpose of depriving, directly or indirectly, Plaintiff of equal

   28   protection under the law with the intent to deny her right to be treated fairly and equally.
                                                          30
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 31 of 94 Page ID #:31




    1           148.    Defendants engaged in a conspiracy among themselves and with others based on

    2   discriminatory animus for the purpose of depriving, directly or indirectly, Plaintiff's right to equal

    3   protection under the law in violation of42 U.S.C. § 1985, with the object of that conspiracy being

   4    to conceal the fact that the complaints ofcrime made by sexual assault victims, including

    5   Plaintiff, are less important to EMPD,LASD,and LADA than complaints made by victims of

   6    other assaults/crimes.

   7            149.    Defendants conspired among themselves and with others to deprive Plaintiff of

    S   equal protection of the laws as alleged in this Complaint based on animosity toward Plaintiff as a

   9    person of sexual assault victim.

   10           150.   Furthermore, EMPD Officers conspired among themselves and with others in

   11   order to minimize, specifically, Tate's police misconduct occurring on June 7, 2019, which

   12   reflects her hostility towards Plaintiff, and the fact that she breached her most basic police duties

   13   when she fabricated material facts, and wantonly left Plaintiff's vulnerable to even greater danger

   14   and harm.

   15           151.   LASD Officers conspired among themselves and with others in order to coerce

   16   Plaintiffto recant her allegation, specifically, Jara's police misconduct occurring on July 2, 2019,

   17   which reflected her hostility towards Plaintiff, and the fact that she breached her most basic duties

   18   when she acted on stereotypes about how a victim of sexual assault should behave, and wantonly

   19   left Plaintiff's vulnerable to even greater danger and harm.

  20            152.   Failing to supervise and discipline, defending Tate's wrong doings, tolerating

  21    Jara's bad acts, when analyzed as a whole using a contextualist approach, permit the inference

  22    that Defendants have a meeting ofthe minds to violate Plaintiff's constitutional rights.

  23            153.   Between August 2019 and January 2020 LADA Officials made multiple untrue

  24    statements that were far departure from professional standards,jury instruction, and prosecution

  25    guidelines by employing their discriminatory policy towards rape victims, in order to prevent

  26    Plaintiff from exercising her constitutional rights.

  27            154.   Defendants, in part or whole, directly or indirectly, have used their control and

  28    influence to reduce the number of perpetrators held accountable for rapes.
                                                         31
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTNE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 32 of 94 Page ID #:32




    1           155.     As a result of said conspiracy Plaintiff has suffered, is suffering, and will continue

    2   to suffer injuries, including but not limited to continued trauma, humiliation, emotional distress,

    3   anxiety, depression, stigma, and embarrassment.

    4           156.     The acts of Defendants were unnecessary, objectively unreasonable and malicious.

    5

    6                                     FOURTH CAUSE OF ACTION

    7   Municipal Liability for Unconstitutional Policies, Customs, and Practices(42 U.S.C. § 1983)

    8                                           Against all Defendants

    9           157.     Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   10   the paragraphs above.

   11           158.     On and for some time prior to June 7, 2019(and continuing to the present date)

   12   Defendants deprived Plaintiff ofthe rights secured to her by the Fourth and Fourteenth

   13   Amendments to the United States Constitution, in that said Defendants and their supervising and

   14   managerial employees, agents, and representatives, acting with gross negligence and with

   15   reckless and deliberate indifference to the rights ofthe public in general, and of Plaintiff, and of

   16   persons in her class, situation and comparable position in particular, knowingly maintained,

   17   enforced and applied officially recognized policies, practices or customs of:

   18         (a) Employing and retaining law enforcement personnel, including MARTHA TATE,

   19          MICHAEL BUCKHANNON,LILIANA JARA, RICHARD RUIZ,PETER CAGNEY,

   20          KAREN THORP, JUNE CHUNG,and DOES 1-50, who had dangerous propensities for

   21          discriminating against rape victims and conducting illegal searches and seizures by failing

   22          to follow written EMPD P&Ps, LASD COEs, LADA's mission, and/or well established

   23          laws;

   24         (b) Inadequately supervising, training, controlling, assigning, and disciplining officers,

   25          detectives, and other personnel, who the City and County knew or in the exercise of

   26          reasonable care should have known had the aforementioned propensities and character

   27          traits;

   28         (c) Failing or refusing to competently and impartially investigate allegations of
                                                          32
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 33 of 94 Page ID #:33




                misconducts, failing or refusing to enforce established administrative procedures, to

    2           ensure victims and community safety, despite Defendants' knowledge of abuse and

    3           misconduct;

    4         (d) Having and maintaining an unconstitutional custom of discriminatory under-policing,

    5           selective under-enforcement, favoritism toward rapists, and/or hostile provision of

    6           services to Plaintiff, which also is demonstrated by inadequate training regarding these

    7           subjects, and Defendants have no valid justification for such policies, customs, and

    8           practice. The practices of Defendants, were done with a deliberate indifference to

    9           individuals' safety and rights; and

   10         (e) Fostering and encouraging an atmosphere of lawlessness, abuse and unconstitutional

   11           misconduct, as to encourage their personnel to believe that discriminatory under-policing,

   12          selective under-enforcement, and illegal searches and seizures would be tolerated, and to

   13           believe that unlawful acts would be overlooked without discipline or other official

   14          ramifications.

   15           159.   Defendants have demonstrated their deliberate indifference to widespread law

   16   enforcement abuses by failing and refusing to impartially investigate personnel complaints,

   17   failing to discipline or prosecute personnel who commit acts of dishonesty and misconduct.

   18           160.   By reason ofthe aforementioned custom and practices of Defendants, Plaintiff was

   19   severely injured and subjected to lifetime pain and suffering.

   20           161.   Defendants, together with various other personnel, whether named or unnamed,

   21   had either actual or constructive knowledge ofthe deficient policies, practices and customs

   22   alleged in the paragraphs above. Despite having knowledge as stated above these Defendants

   23   condoned, tolerated and through actions and inactions thereby ratified such policies. Said

   24   Defendants also acted with deliberate indifference to the foreseeable effects and consequences of

   25   these practice with respect to the constitutional rights ofPlaintiff, and other individuals similarly

   26   situated.

   27           162.   By perpetrating, tolerating and ratifying the outrageous conduct and other

   28   wrongful acts, Defendants acted with an intentional, reckless, and callous disregard for Plaintiff's
                                                         33
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 34 of 94 Page ID #:34




    1    constitutional rights. Defendants, each of their actions were willful, wanton, oppressive,

    2    malicious, fraudulent, and extremely offensive and unconscionable to any person of normal

    3    sensibilities.

    4              163.     Furthermore, the practice implemented and maintained and still tolerated by

    5 'I Defendants, were affirmatively linked to and were a significantly influential force behind the

    6    injuries of Plaintiff. Such unconstitutional custom is and will be a threat to justice and community

    7    safety.

    8

    9                                          FIFTH CAUSE OF ACTION

   10               Municipal Liability —Failure to Train and/or Supervise(42 U.S.C.§ 1983)

   11                                              Against all Defendants

   12              164.     Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   13    the paragraphs above.

   14              165.     On information and belief, the overwhelming majority of law enforcement

   15    personnel who handle sexual assaults remain woefully untrained, and fundamentally biased

   16    against sexual assault victims, making assumptions about why and when sexual assault victims

   17    behave in certain ways and excusing perpetrator conduct as acceptable and/or "normal" behavior.

   18              166.     While acting under the color of state law and within the course and scope oftheir

   19    employment, MARTHA TATE, MICHAEL BUCKHANNON,LILIANA JARA, RICHARD

   20    RUIZ, PETER CAGNEY,KAREN THORP,JUNE CHLING, and DOES 1-50's unconstitutional

   21    practice, deprived Plaintiff's rights secured to her by the Fourth and Fourteenth Amendments,

   22    including her right to be free from discrimination and unreasonable search and seizure.

   23              167.     The training policies of EMPD,LASD,and LADA were not adequate to train their

   24    personnel, including but not limited to, MARTHA TATE, MICHAEL BUCKHANNON,

   25    LILIANA JARA, RICHARD RUIZ, PETER CAGNEY, KAREN THORP,JUNE CHUNG,and

   26    DOES 1-50, with regards to understanding crime elements, employing investigative tools,

   27    conducting reasonable searches and seizures, prosecuting sexual assaults, selecting unbiased jury,

   28    and treating victims equally and fairly. As a direct result, EMPD,LASD and LADA personnel,
                                                          34
                          COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTNE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 35 of 94 Page ID #:35




    1   including MARTHA TATE, MICHAEL BUCKHANNON,LILIANA JARA, RICHARD RUIZ,

    2   PETER CAGNEY,KAREN THORP, Ji1NE CHiJNG, and DOES 1-50, are not able to handle the

    3   usual and recurring situations with which they must deal, including treating every crime victim

    4   fairly and respectfully. These inadequate training policies existed prior to the date ofthis incident

    5   and continue to this day.

    6           168.     Defendants were deliberately indifferent to the known or obvious consequences of

    7   their failure to train and/or supervise their personnel, including MARTHA TATE, MICHAEL

    8   BUCKHANNON,LILIANA JARA, RICHARD RUIZ,PETER CAGNEY,KAREN THORP,

    9   JiJNE CHLJNG, and DOES 1-50, adequately with regards to understanding crime elements,

   10   employing investigative tools, conducting reasonable searches and seizures, prosecuting sexual

        assaults, selecting unbiased jury, and treating victims equally and fairly. This inadequate training

   12   includes failing to teach personnel to properly handle sexual assault investigation and

   13   prosecution.

   14           169.     Defendants were aware.that failure to implement some sort of training and/or

   15   supervision with regards to their discriminatory and unlawful practice would result in continuing

   16   to have numerous unreasonable officers involved violation of sexual assault victims'

   17   constitutional rights annually.

   l8           170.     The failure of Defendants to provide adequate training and/or supervision with

   19   regards to understanding crime elements, employing investigative tools, conducting reasonable

   20   searches and seizures, prosecuting sexual assaults, selecting unbiased jury, and treating victims

   21   equally and fairly, caused the deprivation ofthe Plaintiffs rights by MARTHA TATE,

   22   MICHAEL BUCKHANNON,LILIANA JARA, RICHARD RUIZ, PETER CAGNEY, KAREN

   23   THORP,JUNE CHUNG,and DOES 1-50. In other words, Defendants' failure to train and/or

   24   supervise is so closely related to the deprivation of the Plaintiffs rights as to be the moving force

   25   that caused the ultimate injury.

   26           171.     By failing to achieve adequate training and/or supervision, MARTHA TATE,

   27   MICHAEL BUCKHANNON,LILIANA JARA, RICHARD RUIZ,PETER CAGNEY, KAREN

   28   THORP, JUNE CHLING, and DOES 1-50, acted with an intentional, reckless, and callous
                                               35
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 36 of 94 Page ID #:36




    1   disregard for Plaintiff's constitutional rights. MARTHA TATS, MICHAEL BUCKHANNON,

    2   LILIANA JARA, RICHARD RUIZ, PETER CAGNEY, KAREN THORP,JUNE CHUNG,and

    3   DOES 1-50, each of their actions was willful, wanton, oppressive, malicious, fraudulent, and

    4   extremely offensive and unconscionable to any person of normal sensibilities.

    5

    6                                     SIXTH CAUSE OF ACTION

    7                           Violation of Safe Streets Act — 42 U.S.C.§ 3789d

    8                                          Against all Defendants

    9           172.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   10   the paragraphs above.

   11           173.    Defendants' handling of sexual assault cases has an unnecessary disparate impact

   12   on sexual assault victims, it violates the Safe Streets Act and its implementing regulations, even

   13   where the discrimination is not intentional, not to mention Defendants' conducts were intentional.

   14

   15                                   SEVENTH CAUSE OF ACTION

   16                         Violation of Cal. Const. Art. I,§ 7 —Equal Protection

   17                                          Against all Defendants

   18           174.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   19   the paragraphs above.

   20           175.    Laxity in enforcement is not sufficient to amount to a denial ofequal protection.

   21           176.    Defendants violated Plaintiffs civil rights by having a widespread practice and/or

   22   custom of discriminatory under-policing and selective under-enforcement, when enforced, caused

   23   a constitutional deprivation to Plaintiff, although not authorized by written law or express

   24   municipal policy, was so permanent and well settled as to constitute a custom or usage with the

   25   force of law.

   26           177.    Defendants' custom was intentional and, when enforced, had a discriminatory

   27   impact on sexual assault victims. Plaintiff's case was not isolated incident. Plaintiff received

   28   disparate treatment relative to victims of other violent crimes. Defendants set out to make
                                                          36
                    COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 37 of 94 Page ID #:37




       1    reporting and pursuing investigation of rapes as unpleasant and difficult as possible.
   2                1 78.     The constitutional injury inflicted by Defendants was caused by the persons with
   3       final policymaking authority at the City, the County, EMPD, LASD,and LADA.

   4               1 79.     Defendants knew about the above-described conducts and facilitated them,

   5       approved them, condoned them, and/or turned a blind eye to the conducts and systematic failure.

   6               180.      The above-described conducts of Defendants constitute a violation of Article 1, § 7
   7       ofthe California Constitution.

   8

   9                                           EIGHTH CAUSE OF ACTION
   10                  Violation of Cal. Const. Art. I,§ 13 —Unreasonable Search and Seizure
  11                        Against the County, LASD Officers, LADA Officials, and Does 1-50

  12               1 81.     Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

  13       the paragraphs above.

  14               182.      By a complete search of Plaintiff's smartphone and unlawfully analyzing

  15       Plaintiff's smartphone without a warrant, valid consent, or exigent circumstances, and/or by

  16       failing to intercede to prevent such unlawful search, Defendants violated Plaintiff's right under

  17       Art. I, § 13 to be secure in her person against unreasonable searches and seizures.

  18               1 83.     As a proximate and foreseeable result of Defendants' violations of Plaintiffs

  19       rights under Art. I, § 13, Plaintiff's private electronic data has been, and continue to be, in the

  20       possession of Defendants, resulting in an ongoing violation ofthose rights.

  21

  22                                            NINTH CAUSE OF ACTION

  23                               Violation of Cal. Const. Art. I,§ 1 —Right of Privacy

  24                         Against the County, LASD Officers, LADA Officials, Does 1-50

  25               1 84.     Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

  26       the paragraphs above.

  27               185.      As a California resident, Plaintiff has a legally protected privacy interest in her

  28       electronic information, which is recognized as an inalienable right under the California
                                                               37
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 38 of 94 Page ID #:38



       1    Constitution, Article I, § 1.

       2             1 86.    Plaintiff has a reasonable expectation of privacy in her electronic information, as

       3   contained in her smartphone. Plaintiff has a reasonable expectation of privacy not to have her

    4      electronic data searched and seized unreasonably.

    5                187.     By unlawfully obtaining Plaintiff's private data without a warrant, valid consent,

    6      or exigent circumstances, while she was victim ofsexual assault, Defendants committed a serious

    7      invasion of her privacy interests.

    8                188.     As a proximate and foreseeable result of Defendants' violations of Plaintift's

    9      privacy rights under Art. I, § 1, Plaintiff's private data has been, and continues to be, in the

   10      possession of government agencies including but not limited to LASD and LADA.

   11 I              189.    None ofthe foregoing serious invasions of privacy was justified.

   12

   13                                           TENTH CAUSE OF ACTION

   14                         Violation of Cal. Const. Art. I,§ 28(b)—Victims' Bill of Rights

   IS                                               Against all Defendants
   16                190.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

   17      the paragraphs above.

  18                 191.    California's Constitution protects the rights ofcrime victims. Defendants have

  19       violated the rights of Plaintiff to be treated with fairness, respect, and dignity, by among other

  20       things:

  21                         a. Subjecting Plaintiff to re-traumatization, demeaning and humiliating

  22                             interrogation tactics, including inappropriately questioning her reactions

  23                             without presence of victim advocate;

  24                         b. Routinely and inappropriately impugning the credibility of sexual assault

  25                             victims, including Plaintiff;

  26                         c. Conducting illegal searches and seizures, with no reasonable cause;

  27                         d. Telling Plaintiff that the crime perpetrated against her was not actually

  28                            criminal;
                                                                 38
                        COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 39 of 94 Page ID #:39




        1                    e. Treating Plaintiff like suspect, rather than victim;
       2                     f. Willfully failing to inform Plaintiff of her rights as a crime victim; and
       3                     g. Maliciously using coercion and purported reasons to deter Plaintiff from
       4                        exercising her constitutional rights.
       5             192.    Defendants' conducts violated Plaintiff's rights that set forth in California
    6        Constitution she was entitled (a) to be treated with fairness-and respect for her privacy and

    7        dignity, and to be free from intimidation, harassment, and abuse, throughout the criminal justice
    8        process.(b)to be informed ofthe rights enumerated in California Constitution Art. I, § 28(b).

   9
   10                                       ELEVENTH CAUSE OF ACTION
   11                                   Intentional Infliction of Emotional Distress
   12                                              Against all Defendants
   13               1 93.   Plaintiff re-alleges and herein incorporates by reference the allegations set forth in
   14       the paragraphs above.
  IS                194.    Except for homicide, rape is the most serious violation ofa person's body because
  16        it deprives the victim of both physical and emotional privacy and autonomy. As a rape victim,

  17        Plaintiff was particularly susceptible to emotional distress at that time but Defendants willfully

  18        engaged in acts and omissions alleged herein with a discriminatory intent or a reckless disregard

  19        for the probability of aggravating the emotional distress that Plaintiff was already suffering. Such
  20        ill treatment is not what Plaintiff came forward for. Law enforcement personnel's response to

  21        sexual assault has made Plaintiff feel like being murdered would be better than being raped.

  22                195.    After Plaintiff gathered her courage to step forward and identify her assailant she
  23        has been re-traumatized again and again at the Rands of law enforcement personnel.

  24                196.    As a direct and proximate result ofthe Defendants' outrageous and unlawful

  25        conducts as described herein, Plaintiff has suffered and/or continue to suffer loss of trust, comfort,
  26        protection, and support, humiliation, mental anguish, nervous shock, severe emotional distress,
  27        and other special and general damages in amounts according to proof.
  28                197.    Punitive damages should be assessed against Defendants for the purpose ofi
                                                             39
                        COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 40 of 94 Page ID #:40




       1    pw~ishment and for the sake ofexample.
    2

    3                                      TWELFTH CAUSE OF ACTION

    4                                Violation of Bane Act(Cal. Civil Code § 52.1)

    5                                             Against all Defendants
    6              198.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

    7      the paragraphs above.

    8              199.    California Civil Code, Section 52.1 (the Bane Act), prohibits any person from

   9       interfering by threats, intimidation, or coercion with another person's exercise or enjoyment of

   10      his/her constitutional rights secured by the Constitution or laws ofthe United States, or ofthe

   11      rights secured by the Constitution or laws of this state.

  12               200.   Defendants, while working as law enforcement personnel for EMPD, LASD, and
  13       LADA,and acting within the course and scope of their duties, interfered with or attempted to

  14       interfere with the rights of Plaintiff to be free from unreasonable searches and seizures, to equal

  IS       protection ofthe laws, and to be free from state actions that shock the conscience, by threatening

  16       or committing acts involving violence, threats, coercion, or intimidation.

  17

  18                                    THIRTEENTH CAUSE OF ACTION

  19                                        Conversion/Claim and Delivery

  20                         Against LASD Officers, LADA Officials, and DOES 1 - 50

  21

  22              201.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

  23       the paragraphs above.

  24              202.    Plaintiff owns and/or has the right to possess the electronic data unlawfully taken

  25       from her smartphone, as well as any information derived from said phone.

  26              203.    By abusing Plaintiffs actual and valid consent, Defendants unlawfully obtained

  27       electronic data from Plaintiffs smartphone, and Defendants are unlawfully retaining said data and

  28       any information derived from the unlawful analysis of her smartphone.
                                                           40
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 41 of 94 Page ID #:41




       1           204.    Plaintiff has the right to immediate possession ofthe electronic data unlawfully

    2       taken from her, as well as any information derived from the unlawful analysis of her smartphone.

    3

    4                                     DECLARATORY RELIEF SOUGHT

    5              205.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

    6      the paragraphs above.

    7              206.    Plaintiff respectfully prays for a declaratory judgment that Defendants, and each of

    8      them, have engaged in a pattern or practice of conduct that violated Plaintiffs rights under the

    9      Fourth and Fourteenth Amendment to the United States Constitution, Art. I, §§ 1, 7, 13, 28(b) of

   10      the California Constitution, Cal. Civil Code § 52.1; and/or California common law.

   11

   12                                      INJUNCTIVE RELIEF SOUGHT

   13              207.    Plaintiff re-alleges and herein incorporates by reference the allegations set forth in

  14       the paragraphs above.

  IS               208.    Plaintiff prays for a permanent injunction compelling Lacey and/or LADA to file

  16       criminal charges against Suarez.

  17               209.    Plaintiff prays for a permanent injunction disbarring PETER CAGNEY,KAREN

  18       THORP, and JUNE CHUNG.

  19               210.    Defendants' unlawful searches and seizures have resulted and will result in

  20       irreparable injury to Plaintiff. There is no plain, speedy, adequate or complete remedy at law to

  21       address the wrongs described herein.

  22               211.    Plaintiff seeks injunctive relief to prevent continued harm and to protect herself

  23       from Defendants' unlawful seizures.

  24              212.     Wherefore, Plaintiff requests a permanent injunction enjoining Defendants, and

  25       each of them, and their employees, agents, and persons acting with Defendants, from reading,

  26       exploring, storing, retaining, using, copying, transferring, distributing, disclosing, or releasing

  27       Plaintiff's electronic data (including but not limited to photos, videos, app data, messages, emails,

  28       google search content etc.) that Defendants illegally obtained from her smartphone other than her
                                                             41
                       COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 42 of 94 Page ID #:42




    1   message conversations with Carlos Suarez(aka Charlie Suarez).

    2          213.     Plaintiff requests a permanent injunction compelling Defendants, and each of

    3   them, and their employees, agents, and persons acting with Defendants, to destroy and expunge

    4   all data they illegally obtained and kept from Plaintiff's smartphone except for her message

    5   conversations with Suarez.

    6          214.     Plaintiff also prays that the Court issue a permanent injunction against Defendants

    7   ordering them to:

    8                   a. Properly train and supervise government employees handling sexual assault

    9                       cases or evidence;

   10                   b. Stop abusing crime victims' actual consent and conducting illegal searches and

   11                       seizures;

   12                   c. Establish written policy and procedure manual for investigation and

   13                       prosecution of sexual assaults;

   14                   d. Require and enforce trauma-informed approaches to investigation and

   15                       prosecution of sexual assault cases;

   16                   e. Treat sexual assault cases with the same urgency and importance afforded to

   17                       other types of crimes;

   18                   f. Provide adequate resources for investigation and processing of sexual assault

   19                       cases;

   20                   g. Treat victims of sexual assault with the same respect and attention to their

   21                       cases as victims of other crimes; and

   22                   h. Accurately and publicly report data reflecting the number of sexual assaults

   23                       reported, investigated, prosecuted, and processed to conclusion within the

   24                       criminal justice system on a bi-annual basis.

   25

   26                                                PRAYER

   27          WHEREFORE, Plaintiff prays judgment against Defendants and each ofthem, as follows:

   28           AS TO EACH CAUSE OF ACTION AS APPLICABLE
                                            42
                      COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 43 of 94 Page ID #:43




    1        1. . For general damages according to proof;

    2        2.   For special damages according to proof;

    3        3.   For exemplary damages as provided by law, in an amount to be proved against each

    4             individual Defendant;

    5        4.   For interest;

    6        5.   For civil penalties pursuant to Civil Code § 52;

    7        6.   For attorney's fees pursuant to 42 U.S.C. § 1988 and Civil Code §§ 52 and 52.1;

    8        7.   For reasonable costs of this suit;

    9        8.   For treble damages under Civil Code § 52.1;

   10        9.   For such other and further relief as the Court may deem just, proper, and appropriate.

   11

   12                                   JURY TRIAL DEMANDED

   13        Plaintiff hereby demands a trial by jury for all issues so triable.

   14

   15        Dated:      ~ ~~ h   Z~ ~ ~,~~ ~

   16
                                                                         ~ r~"t~
   17

   18                                                                Jane Doe

   19                                                                Plaintiff in Pro Se

   20

   21

   22

   23

   24

   25

   26

   27

   28
                                                       43
                  COMPLAMT FOR DAMAGES AND DECLARATORY AND INJLTICTNE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 44 of 94 Page ID #:44




       1                                EXHIBITS TO COMPLAINT
       2

       3                                  TABLE OF CONTENTS
   4

   5       Exhibit #                            Document                          Pages
   6           l       <Prosecuting Alcohol-Facilitated Sexual Assault> by          46 - 49
   7                   National District Attorneys Association
   8          2        <Cold Case Alcohol- and Drug-Facilitated Sexua( Assault>     51 - 52
   9                   by National Sexual Assault Kit Initiative (SAKI)
  10          3        <Understanding the non-stranger rapist> by NDAA              54 - 56
  11          4        Plaintiff's email to HD Peter Cagney                         58 - 59
  12          5        <Model Response to Sexual Violence for Prosecutors> by         61
  13                   AEquitas
  14          6        EMPD Policies and Procedures                                 63 - 70
  15          7        LASD Code of Ethics                                            '72
  16          8        Jury instruction for criminal sex offense                    74 - 79
  17          9        Plaintiffls email to EMPD                                    g~ _ 82
  18
             10        Incident report prepared by Officer Martha Tate             84 - 85
  19
             I1        <Educating Juries in Sexual Assault Cases> by AEquitas      87 - 89
  20
             12        No action from City of EI Monte after 45 days               91 - 92
  21
             13        Gov claim rejection letter from County of Los Angeles         94
  22

  23

  24

  25

 26

 27

 28
                                                     44
                   COMPLAINT FOR DAMAGES AND DECLARATORY AND INJUNCTIVE RELIEF
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 45 of 94 Page ID #:45




                             X t -I .! [~ .~ j 1




                                  ~~
                          THREE-STEP PROCESS                                              PROSECUTING ALCOHOL-FACILITATED SEXUAL ASSAULT



Analyzing Consent and Distinguishing Rape from Drunken Sex:                           Speech sluxred~ Tlie snore sober he ~+-as, the easier it is to show lie ~v~s
Defendant's Predatory Behavior                                                        a predator, especially if the victun «~a; e~tre~nely intoxicated.
Prosecutors ~~~ili face perhaps their greatest challenge in AFSA case               ■ bYas there any planning or rnanipulation on the part of the defendant?
~ti-here the defendant ~cas drunk a, well. Alcohol cor:sumptio~i b}~ perpe-           VG'e:e there anj~ attempts to deceive the victim? Did the defendant do
tratois ~nd cictiziis tends to co-occur.''The ;-ealiry is ths~t appro~iinately-       anything to control the sihiation and o~~ercoine the victim's ~~~ill? llid
fihy percent u£ all sexual a,s~ulGs are comnutted by a man who has been               he isolate her: Did he lie to her?
drinking.'" "Althou~,h alco~tol contiuinptiori and. Sesu~l assault frequently       ■ Is there any evidence ofAroominR? Did the dc£endant do anything dur-
co-occur, this phenomenon does not prove t~iat alcoho use causes sexua                in~ the time prior to the rape to gain the c~ictini's trust% Dili he do
a;s3ult°'-~ 1Vevertheless. ntiany dE£erdatlGs ~cd11 attempt to use alcohol as 3t.     a:rytf•:ing to snake it easier to rape her' Is there any evidence that he
excuse fur rape.-'The public has a tendency to view saps of a voluntarily             set her u~~ Fur eta~nple, did he talk about iiiakin~ ~ "special punch" to
intoxicated victim as mare of axi oppoituniscic crone tha:i a pxedatocv               get his "target" druizk? Did he Uuy her drinks and encourage her to
crime. When a jury :ie~trs that the defendant teas d~-inkirig, it i eatiy for         drink them in -an attempt to get her drink?
jurun to astune that it ~v~s dnuiken sex as opposed to sestiil assault              ■ Did the defendant prey upon the victim's vulnerabilities? Did }ie cio
unless prosecutors disenchant diem of ttie idea.Jurors may think:"There               anything to ~vea: down. the sicti~n.'s reeistaiice' Is tt,ere an}' evide~ice
but for the ~raee o£ God, go I (or m~- son or my friendj" It is the pcose~~-          that ttie deYenclant selected t}~e victim bec~u,ce lle knew that the would
cutor~s job to keep t:~e locus on tl~e defendant and his Uehavior.                    br an eas}- ta_get?
                                                                                    ■ Has the defendant done it before? Have anyone else seer accused him of
Most :tare; do not recognize volunu~-~- into.tiication ae a defense; hovicecer,       rape or other misconduct? Has an5-ore ever seen ~coirien ]eating his
some do." Even in states that do not rec:u~iize intoxication as a defense, it         room./apartment/home cxyi.ng or distraught%''
relay Ue a bzrrier to prosecution. Prosecutors can overcome the hurdle of           ■ Did glee defendant knav the victim? If so, did he use his kn.o~cledae or
the iutosication defense bj~ looking for the deiendant'.s predatory beh.av-           familiarity with the victim to gain access to het or to isolate 1'~er? Did
ier.Tl~e pio,ecutor niu;t look carefully at all the face; of the tae to deter-        he use hi; knowledge to attempt to silence her?
~nine whether the defendant is a pre~atox or just a dunk ~y ~~~ho did
not iritentionall}- Lape ancorie. Often, a succe,eful predator will mask leis       Con ide:atioiz of the factor; listed above tihould help prosecuw:s analyze
ackions ir_ suckt a way that they ap~:ear opportunistic as opposed to ~red~-        ~~~hether the defendant is a predator and distin3~iish between drunken ;ems
rory.The more preclator}~ the de£endae~t`s behavior, the easier it is to prose      and rape.
that he i; ~ rapist Factors to consider include the follo~n~in~,:
                                                                                    Step 2:Analyzing Credibility and Corroboration
■ Did the defendant useforce or thrcuten the victim? Using fierce or
  threats of force. to accompli;h intercourse i not consistent «zth                 The securd step iii liandlin~ AFSA uses i; deterini~ing ~~-hether the
  crn7sensual ;es.                                                                  allegatioc.s can be pro~-en by analyzing the victim's credibility a; cell a
■ Did the victim say "no?" [f so, w~}}S~ did [hc defendanx disregard her            ary corrob~cation that exists.Ju-ors' negative p~rceptiors of a victim's
 "no?"Why ~~~as the victirn'a "`no" riot food enough for the defendant%             credibility tali be a signi~ic~nt barrier to cuci-essful prosecutiort. 1^ rape
  Incoring a setival partt.er ~~~hen s1:e says "no" is not consistent ~~ith         cages, credibility of the victim and pro~-aUilit4• oY the case ~;re inherently
  consensual sex.                                                                   intertwined. in large part becau.e rape is a cri;lie ofecrecF.There >are
■ Look nt tke defendnnt's Iet~el o~intoxication. What was his capacity to           almost never eyet~~itne.ees to a rape. Moreover, rape cases rarely have
  do other [kings? Could he walk%I~~lk? Play X~~~~~i? Drive a car? Was hi,          physical evidence that cociclusi~ely piove5 that a rape oicucred.
                                                                                                                                                                     Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 46 of 94 Page ID #:46




 N DAA                                                                         1t   ~Z                                 NATIONAL DIST0.ICT ATTORNEYS ASSOCIATION
                          THREE-STEP PROCESS                                                PROSECUTING ALCOHOL-FACILITATED SEXUAL ASSAULT



The defense may attempt to c}rallen~,e the witness's testimony ort the               Existence of Corroborative Evidence
ground; that the witness i; nbt competent; ho~~-ever, it is unlikely that a          The fourth factor that relate, to victim credibilit}' is the prosecution's
court ~-ilt find a witness incoutpetent on t}ii~ basis a. long ae the ~uitne.~       ability to corroborate the victi:u's version, of events. Iri cases where cor-
can testvfy that she vas able to perceive the incident.'° There is a distnic-        :oborative evidence exists, it inay compensate for lack of perception or
tion between attacks on coulpetence end att~lcks nn credibility."'When ~~            memory.There is al~~~ays something more to corroborate the victim. if
wimes~ti is intoxicated at the time of an occurrence about which the ~~~it-          we look hard enough.
ne~s has testified, intoxication is a proper matter for ehe jury to coccsider
as affecting the witness's cxedi~ilit}~.' "If t 1e ~-itrie~s wa; under the influ-    Corroboration is imfiortant becaiue it dives die jury a context in which
ence at the tune o£the e~-tints which [s]he describe; in his[/her] testimo-          to evaluate the victims testimony.The evidence might only corroborate ~t
ny or at the time [s]he testifies, this condition is proe~ble, on cross or by        small piece of die victitn~ version of events, but each piece of corrobora-
extiirisic evi3ence,[o nnpeacti:'''                                                  tiori builds upon the last and enhances a jury's ability to fired the ~~ctim
                                                                                     credible. This princip'.e can be illustrated with the dia~;rain pictured
Ability To liemember                                                                 belo~e-. `'° In the iriajority of rape cases, there are almost never any eyew•it-
The third factor that relates to a victim's inedibility is the victim'; ability      nesses to the rape, rna'_{inn the description of the inomeut o£ the rape "he
to xeinember ~~~liat happened. l:i order to be able to testify about ~~hat           saidislie said:' In order to decide ~vl.o is credible,jurors need a context
happened, tl~e ~-ictiiu iY:ust, of course, b~ ahle to rememb~~ wt~~t hap-            in which to evaluate the victim; credibility. Prosecutors can give jurors u
pened. If she does not remember, there must Ue some other way to prove               contest be giving them. the "circles of credibility."These iriclucie, anion
what happened ~r the case cannot go fi~rw~rd." Although the eii-tim                  other things, medical evidence, eye anti car wime;;e,, and physical e~=i-
mic not renieinber eery detail of ttir assault, she may have other infot-            dertce. in some c~~ses, a prosecutor might be able to corroborate a victiin'c
inatio:i that i crucial to the ca;~.~TVhtn interviewing the victim about             to;tiinony with e~:pert to;tunon5= that expains behavior tn.~t is counterin-
her mzino-~-, explain ti- iy~ ~~ou are asking. F,ncour~~;e tl~e ~-ictiin to spe:~k   tuitivc to juror expectation,.'' In otl;ers, corroboration might consist of
~vitn an advocate £or additional support.                                            the defendants statement o:- ~oi~fe;sion.The e~-ider~ce need :rot conclu-
                                                                                     ~i~-e1y prove that a rape occurred; rather, it must give the jury' a su~cient
Alcohol con,urnptio~ diminishes die ability of the cictiin to re~n.eir;ben           contest in ~chicti to evaluate ttae victiirL's credibility°:
what Happened."As t ie amount v£ alcohol con,umed increases, so doeti
the ma~iitude of the memory iui~airments""' L~xge quantities of alcohol,
particularly if car.sumed rapidl}; inay result in the victiru esperiencin~
either a fragmentary or an err bfncbltckout." Fra~r.entar~ blackouts occur
when people nay recall portions o~the episode aRer fire incident ~v~ec:
cues fi r events are pro~~icied."' En bloc bl~ckoutc have "definitive starting
points, cont~uri anvlesia for all events ~vithii~ a discrete period. erid wit? a
sense of lost tine, a~tcl require n high 61ood al~ol~ol concentration°'' The
eu bioc bl<ukout i not a `"process of forgetting, but rather one of not
remeinberul~."'""ln contrast, tiagii~entar~ blackouts invd_ve a inoxe tran-
tient, perhaps for~etfiil meniury fuss fur which aspects of esperierce are
iecall~d via provision of peitv~ent cues.Thus, niem.ory traces form but
require £~cilitatiari to be accessed °''"
                                                                                                                                                                         Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 47 of 94 Page ID #:47




 N DA A                                                                         15    16                                NATIONAL DISTRICT ATTORNEYS Ai50CIAT10N
                                    THREE-$TEP PROCESS
                                                                                                     PROSECUTING ALCOHOL-FACILITATED SEXUAL ASSAULT


     All ~~ictun, de;ene protecrioi~; prosecutors and rallied professionals ,hould
                                                                                             jury that deferdann generally select their ~-ictuns ~~ith the intention.
     implement strategies for protecting each and e~ ery one. In doing co,                                                                                            of
                                                                                             not getrin~ caught. Show the jury that tl.e aurae ~~as intentional and
     l~o~~-ever, prosecutors must be cognizant of arn~ fla«~; tt:u niay exist either
                                                                                             deliberate. et-en i£ it ~~-as oppurtuuistic.
     ti~ itn the victim or the case in order to ensure. die ~reate;t chance of ~uc-
     cess at c-ia1.
                                                                                             Using aii offender-fucu,ed approach to the ir~-e;ligation and prosecution
                                                                                             of sex trines can overcome a number of con~non challenges icy rape
     Step 3:Trying the Case
                                                                                             cases.`" For esanipie, a prosecutor niay be able to esplaui ho~~ a defen~int
                                                                                            ~~a; able to =aFe a ~~ctun without uiin, a traditional ~teapon.Jurors geizer-
      Offender-Focused Prosecution
                                                                                             ally expect that a rapist will use a ~~eapou. or at least use ;~me form of
      AFSS cases are dihcult to «in at trial.furor; tend to ~-ie~v.SFSA case; as
                                                                                            ekes;i~•e force. Hoy;~z~er, ui ?i)(1~, ~izly~ se~-ec percent of rape, im-o1~°ed tl~e
     crunez of opportunity- -at}ier [nom deliberate, ultentio~i~l cxinies; therefo-e,
                                                                                             use of ~ fiear~ii and three percent in~-olved a knife.`" Nonstranger rapist,
     it i; i:ot unioiii:iur. for them to be Yor~i~~ing of defend_its accused of
                                                                                            generally use only die force nece;;ary to overcome the «cam'; resistance.
     AFSA.The prosecutor ca o~-ercome this terdencv by using an offender-
                                                                                            In mangy- cases, this nom}' eyuate to not~iing snore than h~n~, on top of ~'_Ze
     fiicu,ed approach to the dial. This focus etplau:s to ~~e jury ~~~hy a rapist
                                                                                            ~-ictui_ and pitznin~, leer arms do~ci:. ~onsrran~er rapist; are :il;o far more
     «-ot~d pre~~ upon a person like the ~-ictuu.The char~creristicc that cause
                                                                                            likely to fain cunnol o:t~ieir ~-ictuiie tlirou~;:i p;}~chu u~ical or einotiunal
     the ~-ictiui to seem flared to the jury-and thus unlikeaUle-are the sane
                                                                                            force-diz use of deception, n~.nipularion, plannin„ preru:dit~tion. and
     characteristics that made her an appealin, victim to die rapist.The rapiu
                                                                                            betra~~in~ ~ictuiL;~ tau;t. One oEthe must covu:ion tool: used bv non-
     ;elected her hec~_uee of those ~-ery~ ~haracteri;tic;. C~~m~uuniratir;g this co
                                                                                            ;tran~er rapists i; alcoh~~l." Prosecutors should look _`or e~~dence of all of
     the jury- refocuses the jury-~s :attention on the de`endant~s pre~~tory behac-
o~                                                                                          these tools. Did the defendant lie to the ~-ictiui hy pronusiii~, lien a safe ride
     ior. L'tilizin~ an offender-focused in~-e,ti~ation and proecutiun can slio~~•
                                                                                            house and tree dripu1~ her to a field ~;~?sere hr raped her= I~id he crick lien
     jurors ~~~hv the detcndaat before them i; a predator a; oppo,ed to a nice
                                                                                            b}' asking to coiu~ in;ids l~;r borne to use d:c bathroom: Did he
     guy cau,ht in a bad p_eciica:next through no fzul~ of lei; o~c~n.'' Although                                                                                    buy' her
                                                                                            drink+ or cunvinc: her to keep drin~in~ ~~~hen ;he ti~:~nted to stop
     pro;ecuror, generall~~ focus on tt~e o[~ender ~~•l~en r:_~}~ns any other crinu-
     n~:l cats, thev tend to focus nn the ticti~n and any of t7e victi~t.'s fa~a~e or
                                                                                            Soother clralle~ge tl~:;t can he o~~ercome «pith xn offender-`ocused pro;e-
     vulnerabilities sit rape case;. Ripe c~. es must be tried sit the wine «~ay fiat
                                                                                             cution is de ay~ed reporting b~~ tl~e ~iiti~n. Ranier ti~ui ~•iewing [ne delayed
     other criminal cases are tried-~vitli a T~~cuc on the of}ei~der.
                                                                                            report ~s vulnerabilih; on the part of the \7CCll71, COIi51(~2I \ti'}1ZC::er the
                                                                                            defendant prayed a ro:e i:t delay-ing the report. Did the defnd~nt do sonie-
     I nstead o£vieti~~ing a ~-icti~u3 ~•ulnerahilitie, ae ~~-eaknesse;, espluin ~~~}n~ a
                                                                                            thin~ as pa t of hi; `~eeit ;trate~=~-' to keep tl~e ~icui~t quiets Did he
     predator ~c~ould target a person ~~~ith those vuLierabilities. Tie reality of
                                                                                             threaten her, either ~~'ith force or hlack~i:~il (bti- threatening ro stet :ei~ into
     rape cage; is ti~at the better a target a victim is fog- ait offender, the ~c~or;e
                                                                                            hnuble fig- any bad decisiom the r.~:~de that he took ~d~-antage of}' Did he
     t:ie ~-ictiul generally «i1 b: ~~ie~i~ed a; a ~~itne;s fur the pro;ecurio~.The
                                                                                            make her yuescio~~ her o~~~:jud~V~lent by tzLinrt her ,he had led hu~i oii.
     flG~~s that make the ~-ictiui a tar et for the offnder al~u o$en ma4e the
                                                                                            thereby cautiin~ bun to ripe ,   l:er% If su, eyp!ain the delayed report in tern~c
     ~-ictui: lets credible in a jur~~~ eyes. For esainple, a victim ~~ho goes to a
                                                                                            of the defendant; emit ctrate~~~ and ho~~~ it ~~as z~linotit ucce;c of in keeping
     bar ai:d drinks to the point of ~-oiniti;l~ and unconsciou;ne;s ~~-ill be an
                                                                                            the ~-ictun quiet. I. these ki id; of situations, ~-~e proczcutor could ai~ue,
     ei;~~ ta~gzt for a predaro~.A ~-ictiin ~~=no become; ~rolu-~taiily~ intoxicated
                                                                                            "H: pried to ehanie her u?ro silence:'
     does not du cu «~ith tie e~p~ctatiu~i that ;he «~ili he ce~ually z,saulted.
     ~uluntary intoxication does not equal consent to ;e~u~l acts. Rensnd the
                                                                                            Tire prosecutor car. ;ocus can other dieiiies as well ~ehen prosecuti:i an



     N DAA                                                                            21    ~Z
                                                                                                                                                                                    Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 48 of 94 Page ID #:48




                                                                                                                                NATIONP.~ CISTR~CT ATTORNEYS ASSOCIATION
                              THREE-STEP PROCESS                                              PROSECUTING ALCOHOL-FACILITATED SEXUAL ASSAULT



offznder-focused ArSA case. Sample tlien.es include:"~'hu needs force                   hurt to e~lsure that the judge has this la~v at his or her fiit~ertips.
~~~hen you hive aliohol:" or "The defendant co:miutted the perYect                    ■ Otker bad acts (404(b)).~`'nen postiible, the prosecutor iii}' file a motion
crime°'_' The prosecutor can ai~o argue,"A predator picks lei; prey;" hu«~-             to introduce e~~idence ofthe defen~nts otl~:r bad acts.'' All too often, in
ecer, use caution w•heii labelutg a perpetrator ofAFS:S a "predator' at trial.          nonstcan~~er .ape cases, the im-e Ligation looks only at tl:e cur~en~ ca;z and
A though a pzieott «•ho :apes an inc~.pacit~itzd victim is a predator. the jury         does _^.ot look for prior rape;.~~'hen possible, the prosecutor shoiud ask
inar~ ~ie~~~ the piosecurior, is o~-e~zealous i£juror; are not coii~inced that          police o~ce~ to inten-ie~r die defendants hiznd;, piior ~irliriend,, mid
the defendant i; a predator. Imte~d,show dizt d1e defendant acted irten-                ottierc vrhu iiuht lino~c about prior actt.Althou~l~ these people i~ia~-
tionz~ll~•. deliberatelti: thou~hth l~~. and freel}•, and tl_ac lie ova; in charge.     have a mason to lie, they nu}- also he c~~illin~ to assist. I the cle£endant t:a;
                                                                                        an}~ prior ca,es, re~ic~~- those cases, even if they- were di;nursed. Fortner
Pretrial Motions                                                                        imeeti~arior. uiigl~t h: ~ti~arranted. Do not o~iiy look for completed rapes:
Pro,:cutor; sioud utilize pretrial inotiors to protect the ~zctim's ~:li}sica           also look for e~-idence that can be used to der~atsnate the defeiidai~t's
saTetc and pri~-acy. Tl,
                       :e follo~vin~ dL2 S011.e prer-ial ;notion; the pro;ecu-          p::ttern of beha«or to~carci ~x~omen. Prior bad act; ;toppir_ short o actu-
tor should cumider filing.         y                                                    a cape uia~~ support tl~e ar~*wnent that he decei~-ed t'ne ~-ictim, uianipulat-
                                                                                        ed leer, or plaruied a;~d premeditated the ripe.
■ Bond. File a mocion to revoke bond if tlx: defendant contacts the vio-
  ain (or her friends or faiiuly uieinbers).                                          Working with the Victim
■ Courtroons. File a motion to clew_ the courtroom of indi~z3uals ~~~ho               Pros.Cll[OiS l'dIl (~O alt I~~SC I~]TeZ C}11II~G LO dSS1iL Ct12 \:1CC1111 1:1 LZSCI!Vlll~   lll
  nu ht threaten ur attempt to intimidate the ~-ictini. Request e~t~~a                a co:~ipetent and credible n~anrer:(1) Support. (_') protect; and (3) pre-
  deputies for the courtroom or arrange £or a depunr or police officer to             paie the victim.
  e>cort leer bet~ceen her car and the sou,thou;e.You may not al~va~~s
  succeed, but the ~-ictiin «•ill see that }you are Sghtin, to protect her.           ■ Supyort the ~etim. Support can be pro~•id:d in a number of «'a}-s. For
■ Rapr shield. Oppose de£en,e attempt; to pierce the .ape ;hie d la~u. ` ]f              etian.ple. a mul[idi.ciplirary Se~u~l A;s~ult Response Team (S2~RT)- car,
  the dete_~dant ha; i:ot filed ~ rape shield motion, the pro,ecutoi should              support ai:d comfort the ~-icti:n, especially- ~~~hen d1e team include; ~-ic-
  consider filin,a uiotiun Arse-:ipti~-eh- to pieclude die defense froii~                tun ad~-ocate, ~~-ho can ~~•urk ~~ith prosecutors to ensure that the victim
  piercin the ripe shield laic b~- inreuducing instances of the victim;                  is coii~tortab e on the vritne;s ~tand.A SARI can einpo~cer the ~-ictiu~
  past ;etual beha~-ior.                                                               . and ~i~~e ^er the support she need. to makz it t~rou~h the im-esuRatior~
■ .Motion in (imine ro exclude irreiei~arufacts. A p~uucutor uiig}it also Ue             and trial process Oth.r ~~~avc to cuFport the ~icti:n include: creatir~~ a
  able to file a pretrial motion to esilude reference; to irrele~-ant bad                Sexual Asc~i t vu:.e Evaiivner (St1iVE)~' pro r::ui. ~~-orkiit~ ~citl~ ~ictiu
  beha~~ior, such a; prior conviction; or chu; and alcohol use on other                  advocates, and pro~-iilin~~ a safe and cumfort~ble place for die ~-iitim to
  occasions. If the ~icdm i; aii alcoholic, i; it rcic~-ant to this case                 ~~-ait to tes[iii-. A cictui. cv'1u fez1~ supported is :pore likely- to 'eel coi:i-
  "Sta~idi~g alone, the mere fact of chronic zlcoholi;ui is ordinarily not               foitable un the ~s~it~_e;s stand. nhich will make her a bitter t+-ih:e;;.
  pro~.abie on credibility:'~'
■ I[leSnl defcnscs. ]n state; ~~nere ~~olurtar}~ i~itosicatioii i; not a de[en;e,     ■ Prateu t/te Vctint. A pro;ecutur szould protect the ~-icucn to tie best
  the prosecutor should 71e a :uotiun to preclude its use a; a de£en;z and              of hi; or l;er abilit~c A r-ictint ~chu ieela protected throu~a the p ore;; i;
  include a brief suuiinary of cupportiii~ t~tutzs or case la«-. AlthouL~li             less likely to become defensi~-e or ant*ry oii the ~~ioie;s ctand.tiC~~~en a
  inant• judges are .ui~iliar ~~idi the 'ta~~• precluding„ the use of into~ica-         ~~icti~ii beco:n.; aiigrt' or defensive. jurors .ire like:}- to helie~~e that she
  tion as a defense in the states in ~~~luch it ie not a deLen;e, it cannot             has ;orlet iin, w hidz, rather scan reco~~izi~~ these reactions a; nor-
                                                                                                                                                                                        Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 49 of 94 Page ID #:49




 NDAA                                                                           23    ~~                                      NATIONP.L DISTRICT ATTORNEYS ASSOCIATION
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 50 of 94 Page ID #:50




                               X (~-~ ~ i~ ~ j 2




                                      ~~
 Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 51 of 94 Page ID #:51




forcible assault where the evidence and the law support                  On the other hand, perpetrators who consumed alcohol
such prosecution."                                                       themselves will seek to use the slighfesf irnp~irrnenl on
                                                                         their part as a mean;to avoid responsibility. Instead, they
An unconscious vic.tirn c:annol factually or legally consent to
                                                                         will portray themselves as unsophisticatecJ, I~J~ICSS (~Ut
a sexual act. ~Icohol-induced unconsciousness issometimes
                                                                         basically decent) people who made—at worst—a poor
referred co as"passing out"or a bIdCI(OU[.~~' In such cases,
                                                                         (but understandable and excusable)judgment r_all while
tllP_ ~fOSeCUtIOCI fTIUSt ~)fnVE flldt ~~ SeXUd~ dCt OCCUfI"('(j
                                                                         under the inFluence.t~ Fcxusing on offender conduct is
while the victim was unconscious (i.e., asleep or passed
                                                                         consequently important evidence of signed bar tabs,
out)."' In some j~~risdictions, a victim who drifts in and out
                                                                          interaction with others, or playing g~]I11PS (E.g., pool, darts)
of unconsciousness is considered to be unconscious for
                                                                          may offer proof of minimal imp~~irment Contacting the
purposes of the statute."
                                                                         offender's former associates or colleagues as part of a cold
In some jurisdictions, the prosecution may need to prove                 case investigation can also yield significant information
that the defendant knew (or should have known)that                        about the offender's level of sobriety.
the victim was too intoxicated to consent.''' Many victims
                                                                         At trial, the defense team may chalir_nge the victim's
in such cases have difficulty recalling events or have
                                                                         credibility by c:auestioning his/her reactions to the ~~ssault.
incompletE memories.'° A blackout (e.g., loss of memory
                                                                         Such reactions (inducting emotional difficulties, substance
d ue to intoxication or drugs) differs from uncunsciousness.70
                                                                         abuse, and memory problems) are the direct result of the
Generally speaking, a person experiencing a blackout,
                                                                         assault and are properly attributable to the actions of the
although conscious, may display visible signs of gross
                                                                         offender, who also stands to benefit directly from them.'~~
intoxication and will be drowsy or sic:epy. These visible signs
                                                                         The prosecution should convey to jurors the offender's
can he used as evidence to show not only that the victim
                                                                         responsibility for reactions and behavior attributable to
was too intoxicated to consent, but that the offender knew
                                                                         the assault; this approach helps jurors understand why tl~e
that to be the case. When taking a (resf~ look at tf~ese cases,
                                                                         offender assaulted someone who ~Nas intoxicated, and/or
it is also important to note recent (2016) research conducted
                                                                         how and why the offender sought to cause these behaviors.
by Heather Fiowe, et al. This research found that many
victims retain their memory of the core details of the assault           When analcohol-facilitated sexual assault becomes a cold
 but will have trouble remembering the peripheral details.''             case, an offender i7~ay feel untouchable, having escaped
 Investigators may be able to locate persons who saw the                 responsibility for months or years. Investigators should
victim or offender immediately before or after the assault.              anticipate that the opening or reopening of the case will
 Although corroborating witnesses are undoubtedly helpful,               revive the perpetrator's attempts to paint the victim as
such corroboration generally is not essential to prosecuting              blameworthy and therefore less credible. Those efforts
 and provinq.the case.z~                                                  may include fabricating or er7~bellishinq details that other
                                                                         evidence can disprove. .
~fFender Behavior                                                         Durin~~ ~ cold case investiyalion, witnesses may recall
Perpetrators who know their victims rarely need to use                    additional details not previously di>closed; this newfound
traditional weapons to commit sexual assault. Instead, these              information can refute defense assertions and/or
perpetrators weaponize tactics such as careful planning,                  corroborate the prosea.ilion'S IIIE'OCy Of IIIE CdSE'. TII~ CUI"I"~fll
rnanipul~tion, deceit, and betrayal of the victirYis trust. Most          investigation should include a search for other (possibly
notably, many employ alcohol to commit sexual assault.''                  similar] aii7~es the perpetrator may have committed that
Alcohol is often the weapon of choice because it is easily                may provide a source of ~04(b) evidence to reveal predatory
accessible, culturally normative, and highly portent.'''                  planning."Interviewing people in the offender's social circle
                                                                          may uncover reports of the offender boasting to others
Whether or not sexual assault victims voluntarily consumed                about the assault under investigation or similar crimes
alcohol, perpetrators often try to shift the focus of an                  committed while a victim was intoxicated. In certain cases, a
 i nvestigation or a trial off of their behavior and redirect              pretext phone call may also be an approC.~riate investigatory
attention to the victim's behavior.The victim's use of alcohol                '
                                                                           tool',
 will be portrayed as the height of personal irresponsibility,
  which enables the offender to su'gest that the victim                    Victim Responses
 invited c:~r deserved whatever happened while being
  i ntoxicated. The prosecution must consider whether the                  Sexual assault victims experience individualized ructions
 ofFender coerced the victim to consume alcohol. Whit                      d uring, and in the aftermath of, lr1P dS5c7UIl; CfliS IS lCU2 I10
 appears "voluntary" may be a result of the suspect's repeated             matter the type of sexual dSS~jUIt (P_.(~., alcohol-facilitated,
  urging or even a threat to leave the victim.                             drug-facilitated, no alcohol or drugs involved). During the
                                                                                        Cold <~~:isc ~1h:oliol- and fhuc~-FaciliY~:iti~il '.~r xu,al Assault ~



                                                                   S ~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 52 of 94 Page ID #:52




assault, victims may"freeze"(i.e., not physically resist the                                            evidence of the offender's premeditation and knowledge
offender) as a result of shock, fear, and/or trauma.'' Some                                             of the victim's condition around the time of the assault,
victim responses, such as self-blame for voluntary ingestion                                            and flan for relevant experts to testify on toxicology and
of alcohol or drugs,'" are often more comr7~on in alcohol-                                              victir7~ responses to trauma. 6y following these suggestions
facilitatedassault cases.                                                                               from the SF~KITT~1Team and collaborators, prosecutors
Sexual assault victims frequently do not report crimes."                                                can present an offenderfocused .ase that allows jurors to
Victims ofalcohol- and drug-facilitated rapes are least                                                 engage in informed deliberations to arrive at a just verdict.
likely to report t:he assault to authorit:ies.~°'-The reasons
for not reporting may indudc feelings of shame and                                                       R ,ft=<<.r,r~c
embarrassment, a sense of disbelief, failure to self-identify                                            7. Signifiicai~C~or[~ , ~. <~(ihls~~FEd.=!~re~Ee,~laC,~h:~dfiein~~~ ~ .ti, ss_~~i,V. ,̀~ _';Ih.
as a rape victim,'' self-blame,feelings of guilt about certain                                              E;ro~u i usi :(a '~'~~ iii~~Pea! ~cx~,al ~,~a~~ir A ,~          ~:iv~ °Icle for alil~d
                                                                                                            orcfecsi~.~€                            <.
behavior, concerns about getting tl~e perpetrator "in trouble,"
                                                                                                         z ~A.~ry °,~                                                                             ,~ ~ ..                              i ~ n ~,_~~i~~-
i nability to recall details, the possibility of the victim's future                                       ,~,5~~. ~~. ..                                                                     ~              ~~ ~ ~                          .,F~,~~
contact with the offender, the desire for life to return to
                                                                                                                 ~,.,~,r,                                    „.~r~           ~           ~.                              ~ , ~:~
normal, ar~d fear of being treated poorly by law en(orcerY~ent                                                        < < ,~                                  ~~~,~,.~i~r                                                    ~ ~..        ,
OK1CId~S.34                                                                                                      ,~ . ~d                                       tr .._ r1~.rrr             ..                                                     .._~

If not adequately explained at trial, many of the victim's                                                                       ~ :1 ~u~s vaer:a. n:;:, a[tt;t : trooulrl :                                                  i< I          r;:-r." f~`Li1;a,
                                                                                                                   It ir=
behaviors and reactions maybe i7~isunderstood. As a result,                                                                             n,. ~ f ?drg}Ec,l, n _r;stn~                                                          ~                  ~; airz.
some individuals may view such behaviors and reactions                                                                                                   ?, t t?ri, ar~J ;,bi;~ y. ~                                                           C+~tcl,. E'.
                                                                                                                 ~., :' ~ ,n '..                ~ ~r ~ ,J401;~ticeho(a I                                                                  ,~.i(t:17c~ho
as undermining the victim's credibility or as an indication
that the victim consented.; One strategy is for prosecutors                                              -,. ~, .
to present expert testimony l.o explain the ranee of varying                                              i.     `icy                    P,                    ro5c ~ tor<k~~se-                        ir~,l~t:o'            ~I.~L, ~i                       td
responses victims may have to the trauma of sexual assault.
                                                                                                                 t'r:=tri~v                         ,, ~~itp ~..r-rrv.ndaa.org.~~Jr~l'oxic.o(~~~y_(i~ ~ ,;Lp~{~                               ,,~1`~ ,L
The expert should testify in general terms, without having                                                                                                                                ~.                                       , ~ ~ x,~,~ ~~,
                                                                                                                  r «~ t,~ ,°
met with the victim or reviewed discovery,X*and without                                                          J ~.:~. i ~n                      ~i ~                 ...             itt,r ii.'grpar:~l?
opining about the victim's credibility or whether the victim                                                      r,<1~i~ a.~       ~ ~ ;r       ~ http..~ ,s,e~,r ia~,.orylpdfipub_prosecu[ir~g—
                                                                                                                 alc~~hol.._fr,:_i f~+,;,tecl__;exua(._.assault pd€.
was assaulted.'`' Specific credentials are not necessary; an
                                                                                                         u       .,,~:,   i    ~.i  ~At. ,~lri r. a                                                         ~~I~~~~i,~ri 'lcyn ~~ i  ;ail_„
individual may qualify as an expert based on professional                                                        a             r<r~. .7 :t. ~~~~ Iii ~i.'                                                   °r      ai l    htlp,/pubs.nnaa.
experience working with victims ofalcohol- and druy-                                                             nih.go. „unJira~i~r-si~a10t~tm.       ~                                                     ~oS,.° , c ,; C ~'E
facilitated sexual assault, as well as familiarity with relevant                                                     ,,rnr»,                                  ~ ~i> ~ r-                            c 'jl~..hof t r :o~. ~~ n.                    ;ty <•,nri
studies and literature. Desirable expert qualifications include
clinical experience, direct victim service, education and/                                                        ,~,r.
or training, knowledge of relevant articles,authorship                                                   ~.        rd.
of arti:les, and prior qualification as an expert on vir_tim                                             ~r        ~.~ ri ia ~n >. .'.,1'~, la~~.~a .      ~ u ,f ~           ii         ! a^:s~~ult.
behavior in criminal or civil court.                                                                                        ~ r       ., t i. ~ ,<<                            ~,     ~h
                                                                                                                  f i~,         t~t>F~1ii iii};~_(r,~l;, i                  i     .vl~v)
                                                                                                                  ~I ~ ~ ,~              ~ i i r~ u r~fr;;*nhtt~~s:!/uhs.umich~-~9u%combine.;:
Conclusion                                                                                                        r,                                ,,r,
                                                                                                         IQ                        ~                          rtg~                ~1_ A. iiC i'Ch31' ides a° d F r                            ~cilit<'
Perpetrators ofalcohol- and drug-facilitated sexual assault                                                                    i                                                                  .tiz~
rely on several individuals (including those within the
criminal justice s~~stern, jurors, and even the victim) to Marne                                                                              ~ ~                   ~..;;~       '.~Ir; i ~~~ a~[ilit                  *I <s.,wu,~~ .<a~2~t, `t=<.
                                                                                                          1? ~C:i
the attack on the victim. Cold cases should not discourage                                                           C 71'x.

i nvestigators and prosecutors from pressing forward. A
renev~✓ed investigation ~~Jill likely reveal evidence that was                                                                         ~~. ~                   ~i                    ~                                                             .~Fi
                                                                                                                    r i ~.                              ~i                       _                              cc ~            ,
not understood fully at the time of the initial report or is
ne~vly discovered.                                                                                                                                                                                                                                           <.
                                                                                                                                                                                          ~ ,~ ,,                                                          ~~
Prosecutors must present evidence that focuses nn the farts                                                       •~                                                                                                     ~.:                             ~, .
and contextual information surrounding the crime,show                                                              _~.                              ~                                                 ~~.ti r               ,~ ~~;t;
                                                                                                                                i,            i, ;?tiitp:;iww~nl.acquitasresa~.irtr~sryiAlcnhol-
a'A rirr~~essthaf sia~~*s ai~ t':.ie k~e.t~;nniny of,h~~ c~<,~~ an~i c~~~~ti~u ~_ ~~~; i~~~~f~il ;Y~e              Facilit,.i ~d-Sexu,~l-Assault-,l-survey-of-tl7e-La•,v__SIRl.pdf.
°r r~l. ~t€ri~r~ d~-,coti-ery, the pre<Faii!ni~ mast ~:~ro~•ridr r1 ~ de{r~rda€~t copies o}
e>idrr~re anci inforrn~rbcEn that v~ffl ba, use<.i at uial.


                                                                                                                                              C~. If1 Case;AIcol~t~~l-arid Or~~t~-Fr~<_~lita(eti SPx;~al ~;asai;lt ~ ~3


                                                                                                        ~, c~.
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 53 of 94 Page ID #:53




                            x ~~I!1~ .~ I        ~




                                     ~>
The Nauonal
                                                                                                                           ir~rAo~uc~~ora                                      d isah~~i:~es.~Yni!~ p:ychologis:~                        The 5a pacern su~res2s ;ha: Dr.
Cerer for d+.e
                                                                                                                           ThA nog;:ranger ri?~~: carr+ri-_c                  Co nuc xnow how ;ex~a' revlance
Prosecuca~ ,f                                                                                                                                                                                                                        S mith is seria!iy ;~d professionally
'vIcle.~ce                                                                                                                  SaXJc Cfi'11f5 if1 [hf CO'1Czd2 Oi an             cew_leps, ch=_y do know that                           suc~=s=_fu!. He uses his knowedg= as
P.painsc YJ~Ten                                                                                                             i nccr~crsorei. rea~icoship. Hc- Is               o~end erz rc~n=orce devlznc sources                    an ;nes~eioleg r. w :ncxpaci~ace
                                                                                                           j.....~~        ~hc h~shanc w'ho ^apes hIs w {e:                   o`: a-ousal ;h rough masurta:io~.                       Ms. Roe ~y p-c~ ng on her use of
                                                                                                                            chc docwr •rvno scxual~y assa~lrs                 f3:'1G]5'y. 2lIQ GLh C' CC~12V~OfS.s                  alcohol xn A.ivar. Fie chooses :o
                                                                                                                           a pa:len_ =ur.:ng an c<a:r~, ca ng                      In chc r:~pe:~eu _al ca;e, the                   COIIi'3:. f15 33.J5 3, d ~^JR~f '+V l:h
                                                                                                                            pia :  ~s o= he naked: or chi best                i cS Jv`5 of :~sua~, d"`/:~aflCE 2fC                   t9s. P.oe's em.~ioya•~er, as ~. sec-~nry
                                                                                                                            Giend who cemfors h;; friend's                    exhib :ed n the coc.er's sexual                        w hen spcak!n~ to lav cnforccrti en:
                                                                                                                           girtr end seer a `iyhc. Y^en a>e;:he              :h~icas. ~:zci`:cxly.:„_.omes                           i n e-der cn dis. ed~~ Ms. P,oe.As
                    The foAarng hyFuN~etrn;scenorfo +s used b~ the a~~or to brovAe mnc.Nre examWes a`                      ep?c-iuniry co rxpc nc:. In a non-                dear coat D~. Smi: czrt achere                         desc i~cd abevt,che~e zrc no
                    seuerof bc~n~ merle atw~~t a(frnders tl~rci;pAu!the arid.Prosecutors shcul= rtmember                   s:rxnger sexua: zss.ulc. i[ s nor.:hc             and mzin:ain sexual in:e-es~ ~n are                    mindd_nces: Dr.Sm=; s de`e nsc
                    thrJt wh~e die excmetes given here are sound t5e bias c(eacl; car ere ~nai+dua! and                    crime i:se f. buc the re!a,~onsnio                a-ousz'~~ fo- a woman woo gem sick,                    czcres and ez~'z^a_ons rereal his
                    ur~que,sa ~r~secutors sh~r~ld censu!t w¢f; ofrender expera rrtenew.r~e~wy.Alf nc,°nes                  between :ne •Maim and tiie a(`e~der,              S f'~~liG II <F. Y,1T:'., ~ESIS _t. d'1d h.P.~If15     cn,ratter. He. seiecced :he o:rticuiar
                    h ove beer. ci~or!ge~ grid erry resernbiare tc re;i! cr imag eery j;ures s u~en~n~'.ei                .ha: mz4c< cne oficn~e so hard                     to ~=ry. W_ i; a`~c cc. stay a-oused                   rzcionac~ to xp=~~.n h:s zci~cros cha;
                                                                                                                          .~~ I~cf`L i~Y. ^.'Eil'~.E. 1-:G PfCSE.;;:'.E.     -w~E~ he [~~rzfs hP~ TJu,h d~G~                        ire con:is:enc wit nis cha acte~:
                                                            S C R?s?s~€O                                                   In order co and cr~;anc :he non-                  s vxno~es her. Ai' o* ;hose e!emena                    Dr. Sn~i:h ~vanu cc ~ro ei:;ha. he is
                        Dr. fetiin $r.pith. c :vcaYny,c[mtctive ~hhfi;ci~.~, is chrnged :vrtl: the cope a(jrn? Rce,ivha      ^'anger -apisc. prosecucc~r_ rr:u<:             arc n~ c2:ivy o'      :~erG: Cn, i~:~~~                irresis[~.~.!^_ bec.:u;c o~ h~::ersonai
                   v:,~k os e ~=_serary ;cr ur ,fTeeai~~pF:gin:pai~y:The ^.r~ !ne[ et o sterJdaur~ event                   u nEers:and the c^`encc ~s mocrvar:on             tie nonra o' sr~c~al tcha~ia:                          and profes<:c.na racu~. &.red on
                   at a Dar.SmtS a~raxliri Rce at the 5c, where s!:e had a;read~ ordered a 6rir: ,He                       m come[ h~~,~ cr;n-:er. the role the              expecacieos. xnc zrousai_ -c zes                       his csycn~'oeical ~rofie.` Dr.Smitn
                   oroerad himselfo Erink and ~,~rti~aseA scveml room drink (or Rce arer the roeirse o~the                 Yf'.l:io^~.~17 bC:~v~C'1 ;hC y'''..:iT ::"~~      S U~,p.CSi CM ;DL STI:!1 eng ng<_d in                  w oulC no..choosc [o victn'i!_c
                   n~~t !urer he Pra[estctiws ev=n oFer she td~ is„-n Shat she feh dn~~k]. Smi[I; wd Rae                   often~cr plays .n a s~xu:~ zssaac zne             cw~pose'u h~h.sv;or ce ens~~re :ha: he                 semeoie he pe-ce-res as an `ecua"
                   dmxtd di:wgh_a, die ^girt ar:J chareo several i s.es eo the dance Aoor.                                :he of!Andcr's sk:fs as z cnm~.na cc               weu~E hzv~ z nemconsen:ing parne~                      dS 2'1~:RCS uOC:J! O~'wCd LhV V:Of:lcl
                        Rce re~u:ed Srrirh3 ofj~ers of~ nCe Name, G.x offer ,he pied unsua~s~u!ly m dag                    mar:pu a.e h s vitt m and the ;ury.               through the u<_e o`ico hoi,drug;, a:~~                 cou~C ner 5e I,-,bel9tl OV GC'1E ~S w~ch
                   dcnT a ccb.she f na'~~ accred.i-k as`:ed fhe ccu!d come in m use >ire hodira;rr. R~?                    Only when tie prosecrer vu y                      coerc:on.-ns pug pescfui ~e av~o~ s                    one same"agenda" zs h1o. P,ce These
                   aGewed thrs. EuL a;ly iicJ cne batr~rcorn rn l~e~ hu:se. S!ie vomeeJ in t1~= kif:hen vnk                u nears:z nd; ;ire nature e' the ef'e nsc         I n stark con[ras, co G~.Smi,h's ilcly                 ccme~a and hcixrio•s arc a Cs;~ca
                   vr!:Jc _<miJi w~ in V.e bThr~m.Smitl; ccnr ;,u~ smv tl;at Ace !;aJ wmicd,en0 tu~c' hAr                 ..nom the o4ende^ cap ch= vine                     o pcon o~ e^Eagng ~ a co rsensu~
                   t~ ~:kon up in ;he 6a+hraorn nr;~~ take sarrw Tums.Vvhen Rte refumed. S.~rth asled if                   successfuly 6e cro;er.over.                                                                                  ~ C IS I!1'> O';a!1'.:6 'EYn^y'lin. .l..~
                   he _oWd s?e+~U un Lhr cavch,erd Rae r5~!ctontly egr~eu.Taeq f:~~.a~d for o few min~(es.                                                                   scY~a~'el[ase in another rannc::                      F.~ifl C ~'IC_C v v.. ,_.~. O'iC f1~'!16,
                   ~rJ Hen Roe vrent ink .htr bn-ira;m ebne !a g~ to Jet':.                                                L}f FEtaD E~;                             .       The `acts su3gest coat D-. Sm=ch is                    i.e., sexua: tlev~ance and ~ ha~a~-er
                        F,G~ wLIcE U~ ell:rim i{'P l'J~"i Si ~~n Sm;~ i?uvir.~ sex vii her. She tr~~ ~ push hun            t-S6T1YR7f4Ev:                                     i no-_-es:ec in rake. not consensual                .
                                                                                                                                                                                                                                  c al: mocir:on.rn coc~cisc f n
                   ~F.,, a^ci aveti ~n~ho[ iz wrs da;ng. Smi±r (.pfd Arr ir. just relax. becane I.e ~nvs ohost             b'Y tiY ~3U HE DO €T.'                            ser.T:ierc ire no co~nc:'ences in                    c~c ;amt o~e~dcr. for ccamp!e,a
                   dare. Roe repf svu~'dr;~,!Mn ;taped ma~~g and s!aned !o cry when 3mit6 graced                           I1 X7'1-S~(-!IP~~ SP.XJ.l13S52:1,C~.. ~. 1:CG'S   the chases m _c'e 5y sexua                           crimin~,;:ndsoci,-:I person alse may
                   her neck -   und squ:ezed GgiCy to rcG he!from res~~5ng.,4her rflF:r~ her, Smith esl:ed Roe            often s[ru~gle :o unCcrs:zap :he                   u=~e~ders.                                           b_- SC}Ld'~`;/ d'OJ~CC L"i 2 Y'. C.I T:S
                  ..Whets y'ur prop<mi"ftoe teM him co lecce, war[; he ~~C ale:Jrening_                                   e~enccr~ moovauon.Te dearest                            SecondY,ran o6enCer cozy aosscss                Idea or, or inai ; c/ .o. comer.tti hen
                       Rce cai7:d in sick ~ waek tl+e .~ez2 d ry,and cold cfnerd ;al;m had ho~end!ThP                     znswer m the Gues:ion,"~'~`hv cad he               ccrczii characce- a'aics whit                        bo.h pathways eats^ c~c oF'cnder is
                  ( riera ranar    :ea Rte to go ti t+~x dos(:rtaL Rre ermeri heTetf{cr L'~e nssairC, end                 d:: ;:!" _ -~a~ iEXJai 2553_~C ~U~IIi~             m ocrva:e has ~~cnses.W'~en a~                       even more danc~=ro~~. Dc:crmldmg
                  therejare t~Id n:e hesCNa! nurse dtct sre dd nx warrc ro wort ~'.landator~ reDa tag ty                   ncees fur the offender.`he offs.^.tiers           n !eride;~ has z cr:m:!nai. na:~dssis tic.           the ozcnway :s nc[ as cr Utz ce
                   the neirse .resuhed v: ~x en~orcemert rnvch~emen±'                                                     !If CCS, Y:hl(~ TOCIV3CP h~T i.~ f.:l:l`:T:~'_     or o:e~vvse in_cr:crsonal,-and
                                                                                ! yr enfccement int=rreM.•ec Roe                                                                                                                  prosec~cion as cc[crmong ;c
                  6ne~~~ ~r ~F hes~:tci; Ree =_ ~p~ir_c h,^.t she ca'rr'y rape:e ~~use ~~e didn% tirirdc ~x               scx;~zl assail[.can be Girdce love                 soezl~+-com~romsed personancy.                       :  •~`ender'~ c~-re~: behavior pacce~n. Ic
                   would be heGe:2d.                                                                                      ,wo ma n cacegc~ lest s~xua! devi;:ice             ne can be mec:raccc ce ercnd !or                     may necessic~:e tie use of an experc
                       Sm2^.~vh~~ gcn~ a v~urtory rtctement !u irnr enfo~cynert,soiti Hmi Rte gyros                       zni ctiaraccer era: n+cdva:ion.                    a var'-~:y o!reasons. He may Izc4                    wane« (cr nre_:r lal ronsal,x[ion.
                     iers!ed in hlm ~cn~rse he ws an oresfiaes:feels! c:,d ;r~ich~•. Rce asked h;m For e                      Sexua cevance mot~,vaces araulc                cn= ncerna hurrays th~a: prcren:                          Prosenr~'s wit ant=_-s:.a~~ char.
                  ride I;a~ne, fmicri h~ i,~, aid he cgrer_' ftx ~~uced h rr., and mvrted hrm to Jec-~ ever.              chrou3h a des?an; sex~a! ar~usz!                   offending. i:ke PJ; L. fET:O rSC,fT,~2T't y.         ^ender be~iv o~ c _n ^_ ~x~!a'~ner.
                   SmiN; sL~rt~ ti-,at cA thx~r sex!:e! occYiry w~ ccnsersud, u~d that Rc= N~ i~irg ^butt tFe              pattern. Sex~zl ee.lance o~:cu-s                  o- campurc n. Ho cozy mantz'n a                      in :e-=.,s c':he o='er:cF~~n_ r..(~finenr,
                   mgr tiecQ~rz y:e wus c~.y. Srinn said he tmen `t.^ ;arx..i;sicr; or tre ~rJe o~AtNrrr'                 w::̀en zn o~ende~ sex~z'~aes :ypicaCy              leii=f srsem w~lc~ dev=_toes [he                     or his ne=_ds s~oul~, is corn, esp'z~~n
                   he fc.~rd in, ~2~'s bcthr;~rn .nedz;ne ab~;,:: ~rhF~ she vr.R rc?r_~g ~ Gee utchen.                    ❑o~-sexua uheas.dynam'~cs.                         r~:gh;; of ethers aid ovcrvz~ucs hfs                 ells conce ..e the jw'y-Semecimes
                   Snit^~ ci;o srid Rce rtriw6(y fe°. gi'ty~ chae2 hc~'inE a x~t-nom! s:ord. Smith ;rsis:ed               e mucians. o~ con:ex:z.An o-4~end-:.                    :5. He ~ra c ~n ~, ~e. -r. co. or               u~<nGe~s ~+~.i= c a m .ha: the o:"rnse
                  that me ~ners;'er :vo~fd say ti:~ Rc~ hod 6=e~ C~ro~~.ing hFrse;(~ h,~r al. ni~~c Lrnv                  n-ay he s-ou_eC hi ..F. Ncc and:or                 i ou=,er. 5y. hv . :in. s~ e. .g.!n;ury.             w as a corseq uvncr. n:" a c -r~Ts:ance
                  en(or:en^nt nlerv~wed the Eur:endzr, hd:a said that =mdh a ~ !requert c4s;orrt:r rnd u                  p Sy'[7c~c~_C3 '.:l'nci'2 bi i::[S ~ .^,s          or ~umi i :on of Doors The oFen _:cr                 e- accident For insance.cn oFenc e.
                   v=ry poa~ n~N%ec 71;e a~rzender ~Kn sic:r.! tter. women were ahv~T trrcmag thems.ires                  ~I CCi:TiS, w!IC,11 C~ :'1~'Y fCSJ~: s'O'1',       a so may feel that chc ru'~.e=_ o` so,-iey           w[~.I ciain'~. :hat ne "accidenca!!r'
                  a[ ~m,;th, end he was a`wcyy buying warren drink.                                                       i ncoxca~en o~' pys~ca c' ment~i                   da not app y cn him.


                                                                                                       cnnrim;~v: ~—
                                                                                                                                                                                                                                                                                    Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 54 of 94 Page ID #:54
       misunder~[a~ding nr, resistao'-e or             rape.' 04en, vitci~as c` ^or.-screeger                  report ou: o= concern for the rc,i m.       or i.s a4trmar.h.T~e non-s;rangFr               racner cyan consensazi sex. Bzsed on
       cha: she said "na" He mi~nc cry to             rape arc confused or unclear about                                                                                                                                                                        can poin[ ou: al :h~ o~nseq~ences
                                                                                                               Tvc r_.;sdu;ure o~av aso he hindered        racis[ may :a-'k to h's `~iends abc~ac          r.s ps~:hei~gica! c o=:~. C~: S--~icF. ;             chat a victim would `:ace if sne wcre
        O'L'1~ d 'd 0 2S a rensensua as               vv'nether they are truly rcirna"                         6y the vice, m's =eel:ngs ahcuc :he         h.w: a. victim has been":.om;rtg                not exc-.ed ~y women who are. his                    flOi 'l1i.E !1 rE_J(!1. ~~~.SE f, ll ~l0~ :~iP.
       Chi; OCCJ'ff~ vr:'1C~ :'1~5 fIJ.~TGfIC         The;; cend :o blam^_ :hemscives.                         of^_~dcr and the 'cla;~onsh-p.             on ;o n;n~" He may ;rear z! of ~hc               equals. and ccnsc.^.sual sex does rot               fact; of the prosecu:o ~'s case-
       w'3S IT ~1~'CC ~v aiCO!l Oi_ ~l [~~[~~CC       fecu=_ on :ha "lineable" aspe~u of                       T'IC YI C:I'1' T:dr ICJ   ~!dCK O!1 hCf    vicclm's :`riends and family sr, pol ~~=ly       ful=fill his n^eds                                      In :ne scenario. Gr. Smi:n deary
       G~ SJC~'1 dC ~:e~i. PfG~^_CIJ.G'~ Cc7 1^.,^,   :hz cf?ender. gv~ chc e`fendc- :he                      re.xciorsh~p wi[h :h^_ oende~ and           that they never would helie~e he                     A ny:her pownifu o~; cel~n~anc~                 cYh ol-s a paacrn ~f co~_-zs:'ng pis
       expesc = r^_fcnca~~s true ~rre~c by            b~~e:i. of the doubt e~ `ecr rr•e                       con+'n ce hersc':f c~zt she [~e5erved :o    "cculd do a [hing IiKe [ha[:' He m~~ghc          u~c :u groom or n~,anip~'a~ the
       re~aea m~ the cno'ces ,he oFende.-                                                                                                                                                                                                                      "gaod" 6ehav-cr zoa mss: the +~alm'e
                                                      e`fender mcc Gecause et ha arc^_ss                      be assau~ced.5hc may ~eei ccn~uscc.         ge::he victim re,~y d~ vnk z[ a pa!q~.           aad:cnc~ :s co be n:ce.?."nlce~'                    .`dad"behavior Dc Sm. mxn;rWat^_s
       n•~ade rc f-1"i,: tau oee~s. ?:~o,ec utors     [J L'IC~:. .~
                                                                  iCCd JSC :!l^_ Vl Cil!1' l2i b~C!1          bec~ayed, or distrustful o! her own         enc chcn ca re that she .vas so c+runk          ....ender co<s .^ot Ti: secia[~'s                     cne tai;ender by being"nice" and
       CS!1 CG~S:'JCC C'O_5-c'X~TI~i::IGI             invc h:ec •.vi_o the offender. she ma;+                 jucoment about others. She may              see ;annot remember the truth- He                 rt:,3bE O~ a ~S]IS:. $~til?iy rt1:1:5 S~
      q uescio~s :?.a. csposc .he eYcncers            feel es amcG ant blame hcrsc!'`cr                                                                                                                                                                        cipplrg well, so ihzc .he ba tender
                                                                                                              Fcc! resLons6'.e for am, negaore            may ncc nlrrs~if cu: as a :erson o`              sex~zl o^enders co aaocar a; chcy                   vouch=_s 'or ns trus:wor;hv
      heh,vc as p:fir,:ose'u: and need-               cuirc~i:w ":Ieviing~ hr~assa;ilr_Her                    tonsecuences :o ehr. offcnde—i.e.,          S:][J      f'G ~lit.'1L~'~iV wll~] fOCS ~0:.     Ca 7t1 rEY15:011—SCf'1'7            !l ~:i.         chararer. Gc S.rich cl!s Pls. Rce
      drive~. Fo exsmp'=. the prasecucor              thcugh:s a, ;! ~znge from "I nwer                       tn~: ~e ~__ go~,ng :o iail beca~=z she     "ne=C' co rp~ anyone, ant porvzy                and gzunc. Sxiety a~so wanes them
      cap counter the o!'en;er's d.   :
                                      - ms            should have. bone or with him;' ;:~                                                                                                                                                                      crzzy .~e sines:= her `~~:;' ahou~
                                                                                                              eel,'., hoe because he need her.           :F:e accuse- as crazy, vind'aive,cr             :o be scrargers to the r:ctim.?he
      of a_c:dcnc by :mac ::sing all d:e signs                                                                                                                                                                                                                 a `one nigh: sand" ti,t nniy does
                                                      cumpi~ ~ecing, 21=:e~= :e any lo.e.                     The v a n-: n;ay 6e convinces chat         j~s[ plain wrong.                               fay Is: n-os::. ^_ roc. Most sexua                    cFis rcer ads :he +icd. m,`v[ ~:. .v.-als
      of pla~^ning in his behavioc:~s a                y Y Cathy, d=oend en cy, or concern                    she "~~ed him c,;' or chat any peer             Genet iy. Lhe 9e'1-s:range' -ac's:         o'`e~de~s aye peo;,'= 11'E2v~.y I(~Oh"1
      r csuic,jutvrs may n+orrc eas y adept                                                                                                                                                                                                                    chic ;ter. .....:rh e;-t-ca'Iv i„e:i €ec
                                                      S hC   A5 f0' !I:f O~~f'.CG'.                           corensual a~^•:iry.rich chc oaender         h?s local skills and unucrs:_aGs               L'.l .1f v~RIR;.~~ Most non•stran~er
      cha; ;fie de`endz~z has =ormired                                                                                                                                                                                                                         and is willing co use Ms. Roe's Esc o`
                                                         Re~rs crop the Vic: oa'tcrn, it                      means [ha: lie mu'-d no: have bee❑          pr~5odz! beharory :hercfore, ii:               rapists us.-:[he r loci siills :e gait..              a ~egi2ira:e prc;cr;puoo rr~dia:ion
      a.~s .F:a~ city fii•i abh~~rr~ni zr,d           is dea- Cr Smc cos^ Ms. Roc                             35 SSJ!i~d (~:~5 CFTC-plc' G~f nGCf         oehavior doff ng ;fie invest Baron             conerol of and ccopenci~n `rem eF.e                   I Ativa n) ap !~s: hei: Dr.Smicn puxhes
      an;co:iaL ~achcr :an ~ofe~c in                  b^_cause he pc-ccved c- as                              sera; his victim hop~ng chi: zL these       or in:ervicw may appear m h~ vc-y              v ictim wi-F: I~cdc effort OKeode-s                   Ms Rat:o hr,.n z!mnol,:neo plays
       v i Z~'n CaIr iF1K.~                           v ~l-erabL. .J' Sn- :h .~ t:~:es Ms.                    pons bi ;i~_i w'~,I, o~me Cue,crc :~[[      cruchf~l and coopers:ivz. He .v~ l             . ~~:-~ yew m exh t~:. me ,-a:'ce                      llrOl ,'IC ~_C S'iC w'2; .^
                                                                                                                                                                                                                                                                                         .R T~.~I C2C:7'l.
                                                      R.ne's jet as i'~OJII:~~P h~f 'v0 3.f O~J               ~5f Y'.0 :.!il Wi g f10: fC^,O':3=2'.i.     ,:ccemac ~o conrace :n~ pol~:ce ch;a-          th _c a':osc ?eople use ce de:c rn!ae                  G;: Ssnich i; se 53•G :!1'd; :ItE SGCUS
                                                      [~ au~h;:r •y fg,;~es. R.•e ~J ank                         I~ _nc 'ar[ s ~naiiq llc. kcu~'s         'Ie'12~ ^.C[n w:'Of1~Y dC~:15^_,,, ;'~C        r cn sorncone Is sa c to c :round.                     w-il e ti n M;. Rec's hehay.oi rz:hcr
     ~ ~LiaTiL~ti§NIP                                 _:one ': n ~ gar afe' = sp=_eC-facing                   d T~~Y3'E I10E 3C0:1: 'EPO.^_':'1~Q S       may apt=ar fc' an interview, answer            N keness is a power."ul weapon.                       th_n on his bchavicr c [ nc ci:imp
     YS`ITi~ Ts-i~ ViC?i i::                          e:~c~ii_ O' S~~[i knows .nos port~eyai                  iyp c,:' wc:im 5ehev'or. Ms Roc Cris        questions cons rc~;.h•. and c^I a.                                                                    h^_ had consc~s~~l sex u•i; her
     Yn'H" ~"s 33 CIE PSC it                          v..fi con:^as: un~z.ora~ly—m ~~e                       [he ~_r>e ch a: she does not w::n,           _ +ry so dose .e c=e tt~:h :lac 'ic             to canfr~nc him, sc: l;miu on him.                   afro she ;hr~w up ;no- score:inn;
     T H€S Y'3CSi F~^: i                              co~rroom o~ a: the pe~~ce sa:ion—                       to re;.orc Sne fzus m? wilt hoc b>
f                                                                                                                                                         =ee era im,prohaS = ,hzc he rrouie be          '
                                                                                                                                                                                                         O .T ~: SL L'SC li T.~~'~Y1El C+"I c' "~~.IT          a `nice" guy doesi. Ms. Foe's belief
     Non _cangcr ra~~;~s b~:,_-a ny ~~ ~.,-           w:~ih n~,.= image. a hys r;an of srt.us                  Gel;eved, esoec ~y when rnmpa-ed
f~                                                                                                                                                        lying. He ma; as'v,,"~ti'hy wc~7d I need        min:rusts the o`tentic;: she feels bad               it D~. Smith's "niceness" is a critical
     :iccims wem chcy :_~ _~. e as                    w ~~c ~s ;in4kcly ;u be percc!vcd                       co D 5'r._ ,wham she r~c!+cs.               co rcpt her'., :i -c~Y nighCgac rig             abauc he-sel` fo:~ being s::spicious                 pa-t of her vicumiza~ion. Shea :o :cd
     par.~cu:,rly v~inc tile. Nan-stranger            as ":iezdin;' m rape anyone. Ps                          p=_chaps accu ~= y, as gore creel tie      his ov.^ sexua succ=ss, her                     ~'Nice~' co ~'es c~;~ugn co jug;es                   in.o ~~sdog h':m tecause he ~__' nice ..
     'SJI SLR 04:a "1 ~~CGSE Y ~:iTS tG~              Dr. Srrit~3 pert _-,ve_ jes .,,                             t- aw eo#ercemenc's e+es. Further.      p,rcewee oce~er ana w.:logncss.                 and jucges a~ wel as :c.:~e v~al~'-                  an'_ [here`ore accepts a r:tee from
      ;
      .her ahi :C/ .o tonneZ,cru=.,:iC i•             increases. Me.Fuei iz_          crcri6~!ity            s5- ra, ~:;v?g.•_ ~rv::i sha-~~: and         ch^ audience's b -ales, or .he gc~e-a           Offenders often p-educe cnaracter                    hl~r, ca ~:o' nc: br ap=.-c^ic~t. and
      prosoc!al.- In atld~Gon. non-stringer            rl _~E~Sc'S. ~': S. Rat :5 Vlli'lE!"tit ~ :O          Bolts ou, her sexuali-y. Remem^=r,           den zl .hat n=—z goon ~ersan—                   YI:L~25c P.c ;a :2~:IfY ;'i:: L`~o,Y 3fC             a"own hi.m ca sleep nn tie co:~h.
      yap ss a sc :nar• moose v aims who              s~c;cal ~...ses .hzc Izbel vromen as                     M~ Roe'«zs pressured ro ce~l and           wou:_ e.er e~~im:c z sexua ~ssaa:.              Boot c:~:'z=ns. tie-s.wo•Mc-s'                           I° G~c asendcr re'+catee hs a a~.
      app~a' `rice:' ::ccepc ng, or n nee'            ' go:c-dggc-s„ who il! pur~:ie a                        mig~_ re.er n~v.: ~eperec the rare.         He wi hate ^„:   epared his a~tlic~ce :o        chu^[ ircr~er<,-~e detert=an: is                     cnarz¢~c he ~w~,~'_~ nut cuccce~= in
      ~t compzn~~onshi p. Some •.I. ::ms meY          nea:[hy ~~a:~. as weG zs biases ages:~r.                if rc;?o~ her'-fiend's persus on ane       a nswe r,'You wo,~ dn': need a rzpc             .u~n__ir'ztin sot e~ :e :ei ~ec~a:c                   psi pecr:cng his essa.:[o` chc v:c, m.
      also simp'y be a ❑e~Cerr, ~,n ;he               women ~n~no Become cr~n k. Dr.$mi_n                    the ~~,,rac's mand:ory rcporc T~esc         zn~~_:' If al:owed, chc offcndcr wJi            [h~ bel~,c` c~xc nr~_nesc 3i~c: ca                    Eeirg cote i; :^is b<>c camouflage.
      open ec -es~ond ;n the o":er.der's              ~.so tests Ms. Rees compianc^. F{c.                     th.^. ughu ark their e~eca en Ms.          grcu~c tie p rcaecumr, r.he j ~dgc.a nd          exsc with roience, ev;;. ^r devi=nre:                Ir ordc:~ ro n=!p aTn a?ia<.e. I• s
      auc~n-~r., or      eicy ove :ne                 b~vs her c nks chz:she does r:o:                        R- e - :~~edibi~i'y here<.c Dr pmt:^. z;   :hc ,u•y in the sas•c wa;.                       caos~cjE ~cly,[he "~ice'~ guy n•usc net              OF~~fISCS, C11C :101-_<if3'I~C' 'd~~5:
      cSendcr in some cxpaciry.                       Y/.l ilC CO SF.P. I~ SIIE 'fit i- SJC~~IT tS CO 'l15   a n :~~?enre, and 'ne _ours on her              I n tie *ac, pate-n, Dc Smith               7e g~:pry o`:he zllegee oven=es.                      7!'.2l ;211f5 Jfi 5..[~2:::I G1525 3f1'J
         Tnc cuaP:ecs ~hz: tie o￼en2er                p~~a~~~re-TMs is a _~__~:?:c xcc rc r~sr                beha•:ior ~ offs plznn ng.                  i ~~2~~If:ES 2 ~^7.ftFnGF~ 'x ~':^'.y'~!          Fro<ecutur~ c_n consron?. ;,
      g ooks fc~ ~: n a p~esper~ivc vir.:m                                                                                                                                                                                                                     sc=rForyes ahc~c'~rap!sxs:' Ao
                                                      -~d :!~c~ sales: PIs.,Roe is n;s v ~; r+.
                                                                                                                                                                                                           ~:cr" oi`andcr by s. a_~g.[a:iy                     p:e .i,sl . cscutser. he will t-y to
      c l'~ Ch~~ S:: T.L'   J'~:iC Ci ':'1~[ :T 3~      Ic a no. J~COTTO't fOf Chf.                          .'Y. t~ E Tai fJ E R z #i 1 L L 5           re :nrcws zrcur~d mono;; aid ;:lac he           Gecon;Traci ng ~7e imag= of the                       Inek acd act diHerendy clan the
      prevea: ^_r kom core!n¢ fnrwxrc:                f i C~nS ~'C :l' 3 lQl-5-_'3l~f~f '.P 7                 H t3 sV DQES S-IE                          wee!; nevc "nc~d" to rape anycnc.               o`e~d~- and demer:zvacing chat each                   stereotypical perverted'~rxpisx:'
      a "nice:~ :ruscirg, ac:epcing victirr.~                                                                 M Ai31PU°_rS3E Tfi~                        ~V~,t essc; like the oar _^nc~ oocal z~.        act e* -tenons bone:red the o~zncer.
      will hoc r:ow hew ro rcac: co being                                                                                                                                                                                                                      F:.: K~ : '~C:il: OIJL ; o.:hf'r WLS r:c
                                                      an injury, a friend, or z secondary                    ,^t IIIScTiLF•                              z c=_~=_ndan,~s ~etense for hn-:"Wn=n
      szz~ally assn ~l[ed by someoce > z                                                                                                                                                                 When ao o`rencer ~w~ i vac: m a                          ezl" io rCe.'ike z wea:gin ar e ~ert
                                                      net_, w e fc~~ ~o- ~h-!dren, yea                       Toe ucicnce" in a scxuz assau:              he Cep h:fin ~iS C ~J CC O~ wJ.T:~~.            .r n<, is i it:.airing h -.When ne
      Of'CC t'I1S:E'd. ~_!ivc'Y. J~~C S:i f+C                                                                                                                                                                                                                  p n;rsica e -olence.~h'en pc-~e~ac.~e
                                                         N rcg~a~cy, cr fees for ocncra. For                 czse ~c secs w _hellos co cn~               rrGf .v~ol~ he •=hoe<_c rape."' A. good         ;on-al:ten:s ch_ v:c-~• arc ~`=e~-s                   one a=_s z:i:, the effcnder's a .s ~+il~
                                                      F.Y~: TiIE :~ ~.i: T TI~'1' r:SCO~2 C:`~F              C`e~~cr v;¢rr rc ::iOnih.p. the             pros..cuce r, new. v._ r, w 1 ansr.=.~          co `sip nFc'~e s gar-e•i~g crust.                     he su`:e ~.r:i -hde~ r,~um v ew ry
      :he me -z the r,c; v, is In~eestec in           o ~~sc ,e _ ~r~eoc 'e tic pr.os~~ o`                    po'~_~.:he prosec~:o~~.:nA ~~,~aec. _nc    C h~'a   JrS::OI CY F'.bl I~'t:i'lY Cif         Pro=_ec~cort musts ow :sac al the
      hC     :. =L'.O'ISF:F W'C'1 ~~C' ;~i~E'CE::     c z•iry:rg _~e of=c~se `e- ~ersc-~, h~;                jury. and anyo❑e else w•ho is a v.~~nesx    d esenr_,ncs purposeful tcaons c%c               r te a.^~~~   ~ "~CP ~ .^
                                                                                                                                                                                                                                 .E'3 ~',_   .c^C-.f.'i ~w(.   need for h~m. co sc =ny~.c! fo~cc
      C f:C ~_-SS ,.~C:l' Sl= ~.i :C Q S_iOSC 1       i-F., h~- - n. .~io;: natez ..",:ia:.
                                                                                                                                                                                                          p Cl~G' f ash ~_l'(?.i1 .~-'CSv nil;.~i 3'.50        Fo z,_a~.p~.c. Lit ~h~~.;~a~ ~•ay c: a.
                                                                                                                                                                                                                                                                                                                  Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 55 of 94 Page ID #:55
      custody ba..'c, cr:w. sexua~ censien.            In ccs ng argument. is is highly            bu, t »~ou,c hzr~= been good znd
      c- ir5de!in in jes-roi^g [h= vi:cim            e$ecuve .o deary ccscribe :he                 nghc :v lead her m chc couc . make               FOOTNOTES
      to exp;ni:.h=_ mych rha."r+nmen                SP.x Jdi a3s211'i. 2s 3 ^y'Ofe55, <ia'rin~    sure sne •w•zs site ane well.:ire leave               ' r:,Yi~~c s: p.v:}~legs~ n pnr:rc Fr.n~c~: n., FR:i~.-rll:~ a~-1 ~JI_r_wn.iir_nY;~~.              e R-.- .I E.I~w~ '. L1~.-_r Ju      ~H'n.e A~: n. ~~e :e~n~c J~clf rR~D~~nS.cr
     cry ~ep~=' ce re:a -acc aga.ns, men."                                                                                                               u U'.alL~r.p                 ...od....n~n.e F......e.-ny.:~...~.r.-~n<                               l p_.oalF 1. <fi.~a:.
                                                     zs dose ce ,he 6e~iinng o`:~                  wi:hcuc sexually assaulcing her.?he                  '~c~l~n br ~.~omr_v.^n ani-~~men~i hJih z-i_;.s_rm~.•1,elrm..]:W__~nc.
     Th.~ ~~uenecr will sa; c!~ar nc C:~ na:         u enc+er's prcparacoiv p-o==ss                                                                          ul r an, il~.. . .,.d x ~~. .a..           ., r...ierl~r a~v~,
                                                                                                                                                                                                                        ,   r ex.s r,. yH~.,n.              ~ T- ~-m-e+r.~itl~ ~~.M iurv~r .: she Ho ii -1P...leac~c ~ih !aVE` i.-~n~ J~_
                                                                                                   oi'ender'z beha+a:s cia:n::!, and
                                                                                                                                                                                                                                                              .., .-n~:-.1 J            V p--            g-     wl .- 3~. .1      - ay+-
     :
     :now [nom r -=t;ir rte_:',y wanted :o           as cossib~e P•esccu:o~s shau:c                Cflf 7~~'JS~CUiO~ S~I~~C :!dCK :.`12i                                                                                                                                            ~e_F._. .. ~r..~~.x~~ air .a~~~nY ~.., i~~d_:n. ~,_,:~
                                                                                                                                                    -                       -a              -~n           vim, q i. u                        u~:::.......           >rsfv:^fl ~      ~dr.lrter    eln ~Jaras-gnr:{~u 1,•fiur_x ~• u
     seep or d'd no. <now chat she hac               ceo-ens*-ace :hat p-epa^a_~on `:or the
                                                                                                                                                                                                                                                             k::u.: ivi~. ~'ct r¢` a-lesual ss~~~ cs rr-.cep N a ~:.~ wvigv'x.s.~ysrr~rJ
      P155CC~ OJL FI[ W II SS:  ne ..!~~': nr.~F     rape Ccgns tong tr~!e~c pc~ecrac!on              All serial assz.i:[ is ncer. dri~e~,                                         .altar!         .~         ~          ,ry .: dry                          ro ~x_c:~._        I -.     t-13, .j ~.i~1.:rFm Ka ~!_~An ..-          n.r_~d
                                                                                                                                                                                                                                       uvl~ r...-1;~~.
                                                                                                                                                                c.                                                                                           h             r   1 .1'       mCF1 ~..i~c _...iFU -~o~~I~L.in~ mn C.....~
      co iapc, whzc ha,.rcnec was heyend                                                           in~en:ional behavior. Prosecutors                                                                                          r.
                                                                                                                                                                                    . h. :l-       rl k. l-                           _ "?      ... ~La..
      h is c.. n[ro~.The oH~enGer will m::ke                                                       rr.usc iL:ET ~i :7 Cer.:`o the ne=_mss                                                                                                                                                       mad _-,.t~~n; ~_ _,~~i~~d -y.~ n_~a e~.
      thc_a s.scemen.e :e rc-n'orce :he                                                            of t`ic o endc- fcr [he jury, or' a:
                                                                                                                                                                                                                                                                       ~,ce ry dF_~e,~a ui.a~,n~.~.                 .. ...,;           _.._
      p ug:ac's (inm-reui :.henry cf~a;. ra e                                                       rxSt fx,f.'1':~ [ht]::'.!It` O"e!1Ner haS
                                                                                                                                                              Iku LM       1 11                                   y; -                   -
      is no: ~=ed c-i.^n.                                                                          3 '1f2d 20 O'fF IC.Th2 .~GSPCJ[G',                                                                                                                       - ~ d:yr^rt "bf jl .         .I -               c         ~-Mel_ a      -u _i
                                                                                                  r her=fore, shoe d try ro cece-nine                      .z... e..?~ .~,^                                                                                   h                         -.e ..,m.no n             ae .. r,.w, ,,.,v-.~t,
                                                                                                                                                    6 ~i..~.~n~~e. ik~: ~.-f~e r.:.l~r.re. n i.~i .,.n.r-.F~: a._..~~.le ~n.i ~~mrai in......n.,~.
                                                                                                  why and how the of`ende~ selected                    fr ..T.pnr..  ,                                                                                             2.M    c141F                                                     [_.
                                                                                                                                                                      ....w. c.b~nef=l,w !- Ean a.-.~-~ p-ten..,~M.AImfT.~FrJ.
      f'n iaiC C CS s'tiC L'.JSI(v`<J                                                             his v[ctim so chat the ~rosecucor                        h _'sra._ry~.        _ ~, p.~.~:   .. ~ .  F i.~   -qt e.Y.av v~~~~.c~M:uls~t.
                                                                                                                                                                                                                                                              w.-..3~s :±onn.
      On C:rem =xzm'.~arion, the                                                                  nzy cnen explain ch>_; proccs5 co chc                        r:.I+~. rvv fi•~! ;'ur ..aiin-.:hm~.elre: er~y:~,_ ei Nc.im.H.n~;'u:aF. ~n~-
      ~ilJSff JiO~ Shbtl~~ h:1 T:~'ll]f L'IC                                                                                                                     .+i~l.w..r.>n..uF.i„n.:.:'~c.a.:_:.e,te.w a. ~n;zAr~.M o.. F.-1G ~i~~.n~.
                                                                                                  jury.A -a7,=c makes a rcaciuns5p                   .1_.,~h ai-lyT ncnm~~Gri             a:Jes.
      ~ia~~m aid proride a ron:ezc fog ier                                                        a ~aagerous plzce: the exis[eece of
      be zviur.-ne mes: m or;an: goal                                                             [ e relxcionshp canfuset c^:e vic~im,
      is to sow ;ac :h<_.••w.kne•se;" ~.                                                          provides cove^ for the per~euator.
      the cas=_~ cens:iw:e nc.n;a~ human                                                          and [on;~licaces ehc ~~cs=c~cien.-he
      6ehavor ^,n [}z ~::r; c'.na_ v;aim.                                                          p r'otec~cor s cull Ix~k for vrays in
      Saecfcay ;. wzs "ncr n:a .~ (v.                                                              w n~ch the offender is aS e co ere the
      M s. Ree.:o d-ink ac~~o!, ge :o a                                                            concert of :hc refz,iooship co h de
      ~pecd ezcing event zod .o .rust Dr.                                                          h is crime `rom and avoid jucgr~nt by
      ~T'Lh. ~C Wd5 3!S.^.~ ~O'lll2i 'O' '1~!                                                      h iS dJ~I E'10E—:lf C~~iCE. .
                                                                                                                               ~^ JSEf112:0!1,
_1
      co fee: ~sha.red zn~ 6c seluccan;                                                            ju^_.Fe aid !urv- Oi=n?~rs hive be ~,nd
      co re~e~ :a4.~r d~c scxua assay!:.                                                           chc cenccxt of choir rc!aciunshi~s            National District Attorneys Association
      -hc d~rea exam~na,:on cf Ms. Hoc                                                             with their v ~~!ms.T:^ey mask                 Arr:er<ar ?.-osac!:,rs Resear<ii rs :~~z
      s~nu~:'d co:r.n?uoice[e .nls ro r.he ud~e                                                    c emselves as "nice gws"They play             National Center for the Prosecution                                                                                                                                      _    Non-prfr..
      r_nr jury ev r-amirg thn_'n~~mz'..                                                                                                         of Violence Against Women                                                                                                                                                     US ?oscx-e
                                                                                                   upon society's biaszs ant ste-eorypes.
                                                                                                                                                                                                                                                                                                                                  ~AIG ',
      5E h3Y[G ~5 ,: f1 3'OT ~SCh ELC ~T!d'1iiC'.                                                  They use p-osocial lulls, so: al biases.      59 C:r.al Ceere-?a~x, Su~;s Si0
                                                                                                                                                                                                                                                                                                                              N.arrf:e11VP.
        The ?rosecucor a'so =_ nru€d p•=o~,•e        J =_!1f3. Gf O~C~=JiO ~S TVS: C~SJ~C          xnd scereorypes chat s::rround rape           A!e~andr;a. VA 223.4                                                                                                                                                         _~.i: tic 79S
     ne d~aim fc~~ _ro::-c:<anr.nzcon               [ a::h._~r cosing arguments escab~izh          ro make sexuzl oNenses covert.
     :n;ough a Roo= d`rec. Her ~ccions              chi :urpo.e`:~!~css of tie eff~rcers           Proset~cors ~=an SJC[^_SS'Jily crposc
     ::r:t iu,tif;car;~n; r:~a~ be char [~ :^.e      cond~cc z[:n~ umc of :h~ rape zs              rap~scs 6y comm~r.ica:ing a~! of these
      prosewcor. 7u[ s cu e bFl ~~-x latoe=          wel l a: ii the evcr:;s cadine uo .o          ic~,s .o chc jury ~tnd C^r:r.y:ne .tie
     directy ro tie ury. Fo- example.                IL ~:'IC F:'O SfCJ['Jf SlO tl~~ JSr C3::'1    so-ca'ed "ncc' eYence~ as :ne rapist
     give [he vic!m ~hA opForumcy :o                 and every P =_ce of evidem-= and              chi; ne rs.
     expla n:"Tnerc ~s n~ way I -wools lave          act o%the o=enecr ,o ronvx;; his
     scrcart+.eu—I •xas a'~aid eC c~K~ke me         ..n[C~~~ b'ndver y~i;71 wh3C is   really
     :e cea:h:" Lie ~chq~e p aces ~7e               gone z n_ right. For eta m p l e, i s w33
      fcas back ~.~•nere it beongs,an :he           "n:cr." of Dc $m;ch cu dree M;. Roe
      eFendcrs bahsoc                               hole'«h -n sse drenS ;coo muc~,                              __/




        Editor's Na[e: ~I;u article :.az wrrzten co as=is: prasecut~rs who ,mev rcpt typrce9y b,nole roan-st:^~gP; rubes wilt the r_uzs          :
                                                                                                                                                 ~ ens .,.o:i:..-:~n:~p~ ~y.;,,~.i,;o ..cam•;:~-_•~-r c.: .,.:a r:..r.
        e(p;ych~L_e'xu~ mu~rve;ion nrd sfrctzgy rr '~~N j;ar[ cf t6e raG~sL Tr,;s .^.ruee a not prmonly ~nten~rd tc prorrCz co;~rtronm           nM~•. .             .3~e.~::.~.:.: w .:
                                                                                                                                                                                      , I .. R.k.::~,... ...,~c.
        L'ps, J;lease c~mor. the hbtron~f Cen es. ~u the Fras=_rutbr c.':~clence nga{nst Wor:rn jv~ rese!!rres re~c'~rg to tr~uf prectice.
                                                                                                                                                 _..,_.~~..~~n~            -        ~. .ta~ai.:iii:~r.:i .~        ... al S: ~i•:.-r.~~l

                                                                                                                                                                                                                         .,
                                                                                                                                                 .s.7...a. y~' le.4i-en:.n        ~,_,~~.r. ke..,:-.F...:s'.ri.-~
                                                                                                                                                                                                                                                                                                                                              Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 56 of 94 Page ID #:56
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 57 of 94 Page ID #:57




                          i

                              ~ I~ ~ ~3




                                     ~~
      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 58 of 94 Page ID #:58
1/9/2020                                                           Gmail -Meeting follow-up




               ~"`~"   ~                                                                                 `~~               _tea gmail.com>



  Meeting follow-up
'~                  ~e~a gmail.com>                                                                        Thu, Oct 10, 2019 at 9:23 PM
 To: Peter Cagney <pcagney@da.lacounty.gov>
 Cc: Elyse Alvarez <Elyse@peaceoverviolence.org>

    Dear Head Deputy Cagney,

     really appreciate you taking the time to hear me out. I understand from a prosecutor's standpoint you
    wanted to prove beyond a reasonable doubt, but I also understand that the duty of the prosecutor is to
    seek justice, not merely to convict. In cases which involve a serious threat to the community, the prosecutor
    should not be deterred from prosecution by the fact that in the jurisdiction juries have tended to acquit
    persons accused of the particular kind of criminal actin question. I believe you will make the right decision
    and do the right thing for our community safety. I'm sure you understand when prosecutors take a strong
    stand against sexual assault, they can slowly change social perceptions, attitudes, and behaviors.

    Although this case is challenging, I believe you will utilize traditionally "negative" facts in a positive manner
    assisting the jury to understand that these very factors are what make the victim a good victim choice for a
    predatory offender. In addition, I'm sure you remember expert witness is your powerful tool to convince the
    jury. It really doesn't matter what defense the offender would bring up if the prosecutor can prove the
    theme and context, then the jury will figure out what really happened that night(a classic date rape).

     understand you probably don't have time to go through every page of the documents that I sent you so
    would like to highlight the following pages for your attention:

    How to unmask and expose a predator
    Page 1— 6 of <Understanding the non-stranger rapist>
    Page 69 — 84 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>
    Page 142 —145 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>
    Page 212 — 216 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>
    Page 11-12 of <Prosecuting_alcohol_facilitated_sexual_assault>
    Page 18 of <Prosecuting_alcohol_facilitated_sexual_assault>
    Page 3 — 4 of <AEquitas_EducatingJuriesln5exualAssaultCasesPartl_7-2010>

    How to turn weakness/bad facts into good facts and a strong case
    Page 300 — 301 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>

    Offender-focused prosecution
    Page 21= 23 of <Prosecuting_alcohol_facilitated_sexual_assault>

    OvercominE ra e myths
    Page 53 — 57 of <Prosecuting_alcohol_facilitated_sexual_assault>
    Page 37 — 50 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>
    Page 1— 21 <Barriers_to_Credibility>

    Common defenses
    Page 20 — 24 of <National sexual assault investigation and prosecution guide>
    Page 289 — 305 of <SEXUAL ASSAULT POLICY &PROCEDURE MANUAL>
                                                                              msg-a%3Ar5145914377486579641 &si   mpl=msg-a%3Ar514591437...   1/2
htlps:/(mail.google.com/mail/u/0?ik=f9901131 b68view=pt8search=all&permmsgid=


                                                                   ~0
      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 59 of 94 Page ID #:59
1/9/2020                                                         Gmail -Meeting follow-up

    Page 35 — 40 of <Prosecuting_alcohol_facilitated_sexual_assault>

    Framing the case / pav attention to the language of consent
    Page 15 —16 of <National sexual assault investigation and prosecution guide>

    The offender might exploit the mistaken view that delaying reporting of a crime increases the likelihood of
    fabrication. However, most rape
    victims do not report the crime at all, SHANNON M. CATALANO, U.S. DEPT OF JUSTICE, CRIMINAL
    VICTIMIZATION, 200410(2005), and studies show that reporting rates are affected by victim demographics
    and assault characteristics, as well as victims' fear, shame, confusion, and self-blame. Can you imagine how
    hard it is to come forward fora 100 Ib Asian woman who lives in a foreign country? I wanted to take this
    secret to my grave but I realized I had to do the right thing. Attached please find my statements for your
    reference.

    Not sure if you have noticed but I would like to bring this to your attention that Aequitas provides technical
    assistance incorporating customized strategies (https://aequitasresource.org/consultations/) at no cost to
    you.

    Thank you again for the opportunity to speak with you.


                        __
     3 attachments
           12. NDAA_UnderstandingNonstrangerRapist_TheVoice_vol_1_no_11_2007.pdf
           195K
           complaint - updated.pdf
           284K
           Victim statement.pdf
           235K




                                                                                                           ~simpl=msg-a%3Ar514591437...   2/2
hops://mail.google.com/mail/u/0?ik=(9901131 b6&view=pt&search=all8permmsgid=msg-a%3Ar5145914377486579641
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 60 of 94 Page ID #:60




                        i


                        ~ ?~ I-!
                               1 (~!I           ~
      may result in suppression of the call15e p victim should never he compelled to participate in a                       worked the way it was supposed to, and that there is other evidence to corroborate what they're
                                                                                                                                                                     saying.ls9
      prete~ call, and an advocate should 6e present to provide support during and after the call.
                                                                                                                        Corroboratlon is valuable, but usually no[ legally required, either for charging a case or for
                                    A Note on Prosecutorial Immunity                                                    establishing the defendant's guilt at trial?~ Investigators should, however,always strive to
Typically, prosecutors enjoy absolute immunity in their actions to prosecute a ese,as opposed to the                    corroborate as many aspects of the rase as posslUle. Corroborative evidence strengthens a case by
q uallfled immunity under which Investigators operate. Absolute immunity attaches for activities
                                                                                                                        providing additional evidence of the crimes charged and by supporting the credibility of
"Intimately assodated with the Judicial phase of the criminal process," e.,q., initiating a prosecution,
determining probable causefor charging purposes, making charging decisions, draking legal documents,                    witnesses. Victims will 6e gratified 6y the thoroughness of the investigation and relieved that the
litigating the casein the courtroom. However,to the extent prosecutors provide advice to law
                                                                                                                        trial's outcome will not rest solely on their testimony. Corrnhorating evidence—especially
enforcement on their activities, or engage In law-enforcement type activities themselves, e.g., acting as an
Investigator, attesting to the truth in support o(an arrest warrant, or signing a search warrant affidavit,             Important for a crime that happens In private and for which scientific evidence most often will be
they are covered by the same qualified immunity that law enforcement officers have.
                                                                                                                        inconclusive on critical issues such as consent—can be found In a variety of sources:
QuallFled Immunity provides significant protection against dvillia6ility for actions taken In the course of
one's oHlclal duties. The prosecutor is immune from suit for discretionary actions so long as that conduct                     Witnesses
"does not violate clearly esta611shed statutory or conseitutionalrights of which a reasonable person                               o There may be witnesses who did not actually observe the assault but nevertheless
would have known.`
                                                                                                                                      can testify about events or conditions they have seen or heard. A witness may be
   There Is nothing Inherently "wrong" in a prosecutors stepping outside the cloak of absolute Immunity m                             able to testify to the victim's behavior, demeanor, or physical condition immediately
   perform activities protected by qualified immunity. However, whether the prosecutor does so depends
   upon office policy and,In the absence of policy, an informed decision. Some offires may require -                                   before or after the assault or may be able to testify to the victim's scatemen[ to the
   prosecutors, as part of their Jobs, to provide legal advice to ofFlcers In the performance of their dutles.                         witness about the assault. Witnesses may be able to testlfy to their observations of
   Some offices may limit or prohibit prosecutors from engaging In activitlesbeyond those covered by
   absolute immunity. In the absence of a policy prohibiting it, a prosecutor may choose to give up absolute                           the victlm's Intoxication, the deFendanPs providingalcohol ofdugs to the victim,
   Immunity for the purpose ofsupporting their law enforcement partners and obtaining better                                          [he defendant's acts to Isolate the victim, or other evidence of predatory behavior.
', Investigations with fewer legal problems arising later.
                                                                                                                                       Bartender, cab drivers or other ride-hailing services, building security guards,and
 Guidance for making this determination include:                                                                                      store clerks often can provide evidence relevant to the charges.
       Be aware of the difference between absolute and quallFled Immunity.
                                                                                                                                   o Video surveillance cameras, or video recorded by others before or aker the assault,
     • Check with your office to see if there is a policy in place.
       Inform your supervisor of your desire to work closely with police on these cases and why.                                       can help establish a timeline and document both the victim's and the offender's
     • Seek guidance from your ~urlsdictlon's legal representative(whichever entity represents your                                    actions. Such evidence should be viewed with caution, as it may provide only a brief
       ofOce and Its employees in the event of a lawsuit—typically,the Ciry or County Attorney)
       Look for other examples of police/prosecutor collaboration in your jurisdiction or others, e.g.,                                snapshot of what occurred; what appears to be a consensual social encounter may
       other specialized units, any co-located police/prosecutor teams.                                                                have been,in fact, coerced or may have later progressed from a consensual
                                                                                                                                       encounter m a forcible or coerced act of penetration.
                                                                                                                                   o Witnesses may also be able to testify to the Fong-term evidence of trauma following
      4.1-G1. Corroboration Is Valuable but Usually not a Legal RequiremenC
                                                                                                                                       the assault [eg.,friends or family that can say,"before the assault, vlctlm was
            Corroborating victims helps victims. Any evidence that we canfind thatcorroborates thefact that
                 a rape occurred, that it was nonconsensual, that it wasforcible, that there were injuhes,                             outgoing and involved in school clubs and after victim would not go nu[ and stopped
              whatever evidence there is -crime scene evidence, photos, witness interviews -that also helps                            returning phone calls from her closest friends." Please note, not all victims will
             vicrims. Again, it helps ourcases as well, but ifyou can send a victim lnm court knowing that the
                entlre case doesn't rest on the victim's shoulders, but that the police and prosecutors did a                          exhibit Indicators of trauma.
            thorough job investigating every aspect ofthese cases, it really is helpful knowing that the system                 Physical evidence that corroborates any details of[he allegations. This can include
                                                                                                                              seemingly ancillary details that in and of themselves do not establish that a sexual assault
 RESPONSE TO SEXUAL VIOLENCE FOR PROSECUTORS                                                    PAGE SS OF Z3S    RESPONSE TO SIXUAL VIOLENCE FOR PROSECUPORS                                                 Pace 56 of 235
 Chapter 4: Case-Level Leadership                                                                                 Chapter4:Case-Level Leadership
                                                                                                                                                                                                                                Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 61 of 94 Page ID #:61
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 62 of 94 Page ID #:62




                             ~~ ~~ ~ ~~




                                     ~~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 63 of 94 Page ID #:63
                                               EI Monte Police Department
                                                           POLICIES


   Standards of Conduct


   The person countermandin the original order shall notify, in writing, the person issuing the original
   order, indicating the action taken and the reason.

   319.3.2 SUPERVISOR R SPONSIBILITIES
   Supervisors and managers are required to follow all policies and procedures and may be subject
   to discipline for:
          (a)       Failure to be re sonably aware of the performance of their subordinates or to provide
                    appropriate gui ance and control.
          (b)       Failure to pro ptly and fully report any known misconduct of a member to his/her
                    immediate sup rvisor or to document such misconduct appropriately or as required
                    by policy.
          (c)       Directing a sub rdinate to violate a policy or directive, acquiesce to such a violation,
                    or are indiffere t to any such violation by a subordinate.
          (d)       The unequal or disparate exercise of authority on the part of a supervisor toward any
                    member for ma icious or other improper purpose.

  319.4 GENERAL STAND RDS
  Members shall conduct the selves, whether on- or off-duty, in accordance with the United States
  and California Constitution and all applicable laws, ordinances and rules enacted or established
  pursuant to legal authority.
  Members shall familiarize themselves with, policies and procedures and are responsible for
  compliance with each. Me tiers should seek clarification and guidance from supervisors in the
  event of any perceived am iguity or uncertainty.
  Discipline may be initiated or any good cause. It is not mandatory that a specific policy or rule
  violation be cited to sustain discipline. This policy is not intended to cover every possible type of
  misconduct.

  319.5 CAUSES FOR DIS IPLINE
  The following are illustrative of causes for disciplinary action. This list is not intended to cover every
  possible type of miscondu t and does not preclude the recommendation of disciplinary action
  for violation of other rules, tandards, ethics and specific action or inaction that is detrimental to
  efficient department servic

  319.5.1 LAWS, RULES A~JD ORDERS
         (a)        Violation of, o ordering or instructing a subordinate to violate any policy,
                    procedure, rule, order, directive, requirement or failure to follow instructions contained
                    in department o City manuals.
         (b)        Disobedience o any legal directive or order issued by any department member of a
                    higher rank.
         (c)       Violation of federal, state, local or administrative laws, rules or regulations.


  Copyright Lexipol, LLC 2018/05/30, All Right Reserved.                             Standards of Conduct - 164
  Published with permission by EI Monte Polic Department




                                                              ~3
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 64 of 94 Page ID #:64
                                                EI Monte Police Department
                                                            POLICIES


   Standards of Conduct


   319.5.2 ETHICS
           (a)       Using or disclosing one's status as a member of the EI Monte Police Department in any
                     way that could easonably be perceived as an attempt to gain influence or authority
                     for non-depart ent business or ac#ivity.
           (b)       The wrongful or unlawful exercise of authority on the part of any member for malicious
                     purpose, perso al gain, willful deceit or any other improper purpose.
           (c)       The receipt or cceptance of a reward,fee or gift from any person for service incident
                     to the performs ce of the member's duties (lawful subpoena fees and authorized work
                     permits except d).
           (d)       Acceptance of f es, gifts or money contrary to the rules of this department and/or laws
                     of the state.
           (e)       Offeror accept nce of a bribe or gratuity.
          (f)        Misappropriatio or misuse of public funds, property, personnel or services.
          (g)        Any other failur to abide by the standards of ethical conduct.

  319.5.3 DISCRIMINATIO ,OPPRESSION OR FAVORITISM
  Discriminating against, op ressing or providing favoritism to any person because of age, race,
  color, creed, religion, sex, sexual orientation, gender identity or expression, national origin,
  ancestry, marital status, p ysical or mental disability, medical condition or other classification
  protected by law, or intentio ally denying or impeding another in the exercise or enjoyment of any
  right, privilege, power or im unity, knowing the conduct is unlawful.

  319.5.4 RELATIONSHI
          (a)       Unwelcome soli~Citation of a personal or sexual relationship while on-duty or through
                    the use of one's official capacity.
          (b)       Engaging in on duty sexual activity including, but not limited to, sexual intercourse,
                    excessive displ ys of public affection or other sexual contact.
          (c)       Establishing or aintaining an inappropriate personal or financial relationship, as a
                    result of an investigation, with a known victim, witness, suspect or defendant while a
                    case is being in estigated or prosecuted, or as a direct result of any official contact.
          (d)       Associating with or joining a criminal gang, organized crime and/or criminal syndicate
                    when the mem er knows or reasonably should know of the criminal nature of the
                    organization. Th~s includes any organization involved in a definable criminal activity or
                    enterprise, exce t as specifically directed and authorized by this department.
          (e)       Associating on personal, rather than official basis with persons who demonstrate
                    recurring involy ment in serious violations of state or federal laws after the member
                    knows, or reas nably should know of such criminal activities, except as specifically
                    directed and au horized by this department.




  Copyright Lexipol, LLC 2018105/30, All Righl ReSeNed.                             Standards of Conduct - 165
  Published with permission by EI Monte Police Department



                                                              C~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 65 of 94 Page ID #:65
                                               EI Monte Police Department
                                                             POLICIES


   Standards of Conduct


   319.5.5 ATTENDANCE
           (a)       Leaving the job to which the member is assigned during duty hours without reasonable
                     excuse and pr per permission and approval.
           (b)       Unexcused or nauthorized absence or tardiness.
          (c)        Excessive abs nteeism or abuse of leave privileges.
           (d)       Failure to repo to work or to place of assignment at time specified and fully prepared
                     to perform duti s without reasonable excuse.

   319.5.6 UNAUTHORIZEC ACCESS, DISCLOSURE OR USE
          (a)       Unauthorized nd inappropriate intentional release of confidential or protected
                    information, m~ serials, data, forms or reports obtained as a result of the member's
                    position with thi department.
                    1.       Members ~f this department shall not disclose the name, address or image of
                             any victirr of human trafficking except as authorized by law (Penal Code § 293).
          (b)       Disclosing to            ~ unauthorized person any active investigation information.
          (c)       The use of any i formation, photograph, video or other recording obtained or accessed
                    as a result of e ployment or appointment to this department for personal or financial
                    gain or without the express authorization of the Chief of Police or the authorized
                    designee.
          (d)       Loaning, sellin ,allowing unauthorized use, giving away or appropriating any EI
                    Monte Police D partment badge, uniform, identification card or department property
                    for personal us ,personal gain or any other improper or unauthorized use or purpose.
          (e)       Using departm nt resources in association with any portion of an independent civil
                    action. These r sources include, but are not limited to, personnel, vehicles, equipment
                    and non-subpo naed records.

  319.5.7 EFFICIENCY
          (a)       Neglect of duty.
         (b)        Unsatisfactory ork performance including, but not limited to, failure, incompetence,
                    inefficiency or d lay in performing and/or carrying out proper orders, work assignments
                    or the instructio s of supervisors without a reasonable and bona fide excuse.
         (c)        Concealing, att mpting to conceal, removing or destroying defective or incompetent
                    work.
         (d)        Unauthorized sl            ping during on-duty time or assignments.
         (e)       Failure to notify e Department within 24 hours of any change in residence address,
                   contact telephoi numbers or marital status.




  Copyright Lexipol, LLC 2018105/30, All Right Reserved.                                  Standards of Conduct - 166
  Published with permission by EI Monte Polic Department



                                                                lo~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 66 of 94 Page ID #:66
                                                 EI Monte Police Department
                                                           POLICIES

    Standards of Conduct


    319.5.8 PERFORMANC
            (a)       Failure to discl e or misrepresenting material facts, or making any false or misleading
                      statement on a y application, examination form, or other official document, report or
                      form, or during he course of any work-related investigation.
           (b)        The falsificatio of any work-related records, making misleading entries or statements
                      with the inten to deceive or the willful and unauthorized removal, alteration,
                      destruction and or mutilation of any department record, public record, book, paper or
                      document.
           (c)        Failure to partic pate in, or giving false or misleading statements, or misrepresenting or
                      omitting materi I information to a supervisor or other person in a position of authority,
                      in connection ith any investigation or in the reporting of any department -related
                      business.
           (d)       Being untruthfu or knowingly making false, misleading or malicious statements that
                     are reasonably calculated to harm the reputation, authority or official standing of
                     this department or its members.
          (e)        Disparaging re arks or conduct concerning duly constituted authority to the extent
                     that such condu t disrupts the efficiency of this department or subverts the good order,
                     efficiency and discipline of this department or that would tend to discredit any of its
                     members.
          (f)        Unlawful gambl ng or unlawful betting at any time or any place. Legal gambling or
                     betting under a y of the following conditions:
                     1.       While on epartment premises.
                    2.        At any wo k site, while on-duty or while in uniform, or while using any department
                              equipme t or system.
                    3.        Gambling activity undertaken as part of an officer official duties and with the
                              express k owledge and permission of a direct supervisor is exempt from this
                              prohibition
          (g)       Improper political activity including:
                    1.        Unauthorised attendance while on-duty at official legislative or political sessions.
                    2.       Solicitatio s, speeches or distribution of campaign literature for or against any
                             political ca didate or position while on-duty or, on department property except
                             as expres ly authorized by City policy, the memorandum of understanding, or
                             the Chief f Police.
         (h)        Engaging in pol tical activities during assigned working hours except as expressly
                    authorized by Ci y policy, the memorandum of understanding, or the Chief of Police.
         (i)        Any act on- or o -duty that brings discredit to this department.

 319.5.9 CONDUCT
         (a)        Failure of any ember to promptly and filly report activities on his/her part or the
                    part of any other member where such activities resulted in contact with any other law


 Copyright Lexipol, LLC 2018/05/30, All Rights
 Published with permission by EI Monte Police                                           Standards of Conduct - 167

                                                               bh
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 67 of 94 Page ID #:67
                                               EI Monte Police Department
                                                           POLICIES


   Standards of Conduct


                     enforcement a ency or that may result in criminal prosecution or discipline under this
                     policy.
           (b)       Unreasonable nd unwarranted force to a person encountered or a person under
                     arrest.
           (c)      Exceeding la             ul peace officer powers by unreasonable, unlawful or excessive
                    conduct.
          (d)       Unauthorized or unlawful fighting, threatening or attempting to inflict unlawful bodily
                    harm on anoth r.
          (e)       Engaging in ho seplay that reasonably could result in injury or property damage.
          (f)       Discourteous, isrespectful or discriminatory treatment of any member of the public
                    or any member of this department or the City.
          (g)       Use of obscene indecent, profane or derogatory language while on-duty or in uniform.
          (h)       Criminal, disho est, or disgraceful conduct, whether on- or off-duty, that adversely
                    affects the me tier's relationship with this department.
          (i)       Unauthorized p ssession of, loss of, or damage to department property or the property
                    of others, or en angering it through carelessness or maliciousness.
          (j)      Attempted or ac ual theft of department property; misappropriation or misuse of public
                   funds, property, personnel or the services or property of others; unauthorized removal
                   or possession o department property or the property of another person.
          (k)      Activity that is in ompatible with a member's conditions of employment or appointment
                   as established law or that violates a provision of any memorandum of understanding
                   or contract to in Jude fraud in securing the appointment or hire.
         (I)       Initiating any civ I action for recovery of any damages or injuries incurred in the course
                   and scope of e ployment or appointment without first notifying the Chief of Police of
                   such action.
         (m) Any other on- r off-duty conduct which any member knows or reasonably should
             know is unbeco ing a member of this department, is contrary to good order, efficiency
             or morale, or to ds to reflect unfavorably upon this department or its members.

  319.5.10 SAFETY
         (a)       Failure to obse e or violating department safety standards or safe working practices.
         (b)       Failure to maint in current licenses or certifications required for the assignment or
                   position (e.g., dr ver license, first aid).
         (c)       Failure to maint in good physical condition sufficient to adequately and safely perform
                   law enforcemen duties.
        (d)       Unsafe firearm r other dangerous weapon handling to include loading or unloading
                  firearms in an u safe manner, either on- or off- duty.
         (e)      Carrying, while n the premises of the work place, any firearm or other lethal weapon
                  that is not autho ized by the member's appointing authority.


 Copyright Lexipol, LLC 2018/05/30, All Rights eserved.
 Published with permission by EI Monte Police apartment
                                                                                    Standards of Conduct - 168



                                                              b~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 68 of 94 Page ID #:68

                                                           EI Monte Police Department
                                                                       POLICIES




   Sexual Assau t Investigations
   601.1 PURPOSE ANDS OPE
   The purpose of this policy i to establish guidelines for the investigation of sexual assaults. These
   guidelines will address some of the unique aspects of such cases and the effects that these crimes
   have on the victims.
   Mandatory notifications requirements are addressed in the Child Abuse and Adult Abuse policies

   601.1.1 DEFINITIONS
   Definitions related to this p licy include:
   Sexual assault -Any crim or attempted crime of a sexual nature, to include, but not limited to,
   offenses defined in Penal ode § 243.4, Penal Code § 261 et seq., and Penal Code § 285 et seq.
  Sexual Assault Respons Team (BART) - A multidisciplinary team generally comprised of
  advocates; law enforcem nt officers; forensic medical examiners, including sexual assault
  forensic examiners (SAFE) or sexual assault nurse examiners (SAN Es) if possible; forensic
  laboratory personnel; and rosecutors. The team is designed to coordinate a broad response to
  sexual assault victims.

  601.2 POLICY
  It is the policy of the EI Mon e Police Department that its members, when responding to reports of
  sexual assaults, will strive t minimize the trauma experienced by the victims, and will aggressively
  investigate sexual assaults, pursue expeditious apprehension and conviction of perpetrators, and
  protect the safety of the vic ims and the community.

  601.3 REPORTING
  In all reported or suspecte cases of sexual assault, a report should be written and assigned
  for follow-up investigation. his includes incidents in which the allegations appear unfounded or
  unsubstantiated.

  601.4 QUALIFIED INVES IGATORS
  Qualified investigators sho Id be available for assignment of sexual assault investigations. These
  investigators should:
         (a)       Have specialize training in, and be familiar with, interview techniques and the medical
                   and legal issue that are specific to sexual assault investigations.
         (b)        Conduct follow-gyp interviews and investigation.
         (c)       Present approp late cases of alleged sexual assault to the prosecutor for review.
         (d)       Coordinate with other enforcement agencies, social service agencies and medical
                   personnel as n eded.
         (e)       Provide referral$ to therapy services, victim advocates and support for the victim.


  Copyright Lexipol, LLC 2018/05/30, All Right Reserved.                          Sexual Assault Investigations - 402
  Published with permission by EI Monte Polic Department



                                                                   1
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 69 of 94 Page ID #:69
                                               EI Monte Police Department
                                                            POLICIES


   Sexual Assault Investigations


          (f)        Participate in or coordinate with SART.

   601.5 TRAINING
   Subject to available resources, periodic training will be provided to:
          (a)        Members who are first responders. Training should include:
                     1.       Initial response to sexual assaults.
                    2.        Legal issues.
                    3.       Victim advocacy.
                    4.       Victim's response to trauma.
          (b)       Qualified investigators who should receive advanced training on additional topics.
                    Advanced training should include:
                    1.       Interviewing sexual assault victims.
                    2.       SART.
                    3.       Medical and legal aspects of sexual assault investigations.
                    4.       Serial crimes investigations.
                    5.       Use of community and other federal and state investigative resources, such as
                             the Violent Criminal Apprehension Program (ViCAP).
                    6.       Techniques for communicating with victims to minimize trauma.

   601.6 RELEASING INFORMATION TO THE PUBLIC
   In cases where the perpetrator is not known to the victim, and especially if there are multiple
   crimes where more than one appear to be related, consideration should be given to releasing
   information to the public whenever there is a reasonable likelFhood that doing so may result in
   developing helpful investigative leads. The Detective Bureau supervisor should weigh the risk of
   alerting the suspect to the investigation with the need to protect the victim and the public, and to
   prevent more crimes.

  601.7 VICTIM INTERVIEWS
  The primary considerations in sexual assault investigations, which begin with the initial call
  to Dispatch, should be the health and safety of the victim, the preservation of evidence, and
  preliminary interviews to determine if a crime has been committed and to attempt to identify the
  suspect.
  Whenever possible, a member of SART should be included in the initial victim interviews.
  An in-depth follow-up interview should not be conducted until after the medical and forensic
  examinations are completed and the personal needs of the victim have been met (e.g., change
  of clothes, bathing). The follow-up interview may be delayed to the following day based upon the
  circumstances. Whenever practicable, the follow-up interview should be conducted by a qualified
  investigator.

  Copyright Lexipol, LLC 2018/05/30, All Rights Reserved.                     Sexual Assault Investigations - 403
  Published with permission by EI Monte Police Department



                                                              bc~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 70 of 94 Page ID #:70
                                                EI Monte Police Department
                                                            POLICIES


   Sexual Assault Investigations


   No opinion of whether the case is unfounded shall be included in the report.
   Victims shall not be asked or required to take a polygraph examination (34 USC § 10451; Penal
   Code § 637.4).
   Victims should be apprised of applicable victim's rights provisions, as outlined in the Victim and
   Witness Assistance Policy.

   601.7.1 VICTIM RIGHTS
   Whenever there is an alleged sexual assault, the assigned officer shall accomplish the following:
          (a)       Advise the victim in writing of the right to have a victim advocate and a support person
                    of the victim's choosing present at any interview or contact by law enforcement, any
                    other rights of a sexual assault victim pursuant to Penal Code § 680.2 and the right to
                    have a person of the same or opposite gender present in the room during any interview
                    with a law enforcement official unless no such person is reasonably available (Penal
                    Code § 679.04).
          (b)       If the victim is transported to a hospital for any medical evidentiary or physical
                    examination, the officer shall immediately cause the local rape victim counseling.
                    center to be notified (Penal Code § 264.2).
                    1.       The officer shall not discourage a victim from receiving a medical evidentiary or
                             physical examination (Penal Code § 697.04).
                    2.       A support person may be excluded from the examination by the officer or the
                             medical provider if his/her presence would be detrimental to the purpose of the
                             examination (Penal Code § 264.2).

  601.7.2 VICTIM CONFIDENTIALITY
   Officers investigating or receiving a report of an alleged sex offense shall inform the victim, or the
   victim's parent or guardian if the victim is a minor, that his/her name will become a matter of public
   record unless the victim requests that his/her name not be made public. The reporting officer shall
   document in his/her report that the victim was properly informed and shall include any related
   response made by the victim, or if a minor, any response made by the victim's parent or guardian
  (Penal Code § 293).
  Except as authorized by law, members of this department shall not publicly disclose the name of
  any victim of a sex crime who has exercised his/her right to confidentiality (Penal Code § 293).

  601.8 COLLECTION AND TESTING OF BIOLOGICAL EVIDENCE
  Whenever possible, a SART member should be involved in the collection of forensic evidence
  from the victim.
  When the facts of the case indicate that collection of biological evidence is warranted, it should
  be collected regardless of how much time has elapsed since the reported assault.
  If adrug-facilitated sexual assault is suspected, urine and blood samples should be collected from
  the victim as soon as practicable.


  Copyright Lexipol, LLC 2018/05/30, All Rights Reserved.                      Sexual Assault Investigations - 404
  Published with permission by EI Monte Police Department



                                                              1~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 71 of 94 Page ID #:71




                         f


                       ;
                       C X i~ ~- 3 ~ I            ~7




                                     -~~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 72 of 94 Page ID #:72




               CODE O F ETHICS

            s a Lazu Enforcement Officer, m~ fundamental duty is to serve mankind; to safeguard
            lives and property; to protect tl~e innocent against deception, the zneak against
            oppression or intimidation, and tl~e peaceful against violence or disorder; and to respect
            the Constitutional rights ofall men to liberty, equality and justice.




         will keep m~ private life unsullied as ,an example to all; maintain courageous calm in the
        face of danger, scorn or riaicuie; der>eIo~ self-restraint; and be constantly mindful of the
        welfare ofothers. Honest in thought and deed irT both m~ personal and official life, I will be
        exemplary in obeying the lrrzi~s of tl~e land and tl~e regltlations`of my department. Whatever
        I see or hear of a confidetltial nature or that is confided to me in my official capacity will be
        kept ever secret unless revelation is necessary in the performance of my duty.




        will never act officiously or permit personalfeelings, prejudices, animosities, orfriendships
        to influence my decisions. With no compromisefor crime and zi~ith relentless prosecution of
        criminals, I z~~ill enforce tl~e lazy courteously and appropriately withoutfear orfavor, malice
        or ill will, never employing unnecessaryforce or violence and never accepting gratuities.




        recognize the badge of my office as a symbol of public faith, and I accept it as a public trust
        to be held so long as I ani true to the ethics of the police sen~ice. I will constantly strive to
        achieve these objectives and ideals, dedicating myself before God to my chosen profession -
        Lazv Enforcement.




                                                   ~~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 73 of 94 Page ID #:73




                       C~x~~~~~~~               ~




                                      ,~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 74 of 94 Page ID #:74




                           A. AGAINST ADULT OR MINOR

                                              (i) Rape
            1000. Rape or Spousal Rape by Force, Fear, or Threats (Pen.
                            Code,§ 261(a)(2),(6J & (7))


         The defendant is charged [in Count          ]with rape [of leis wife] by
         force [in violation of Penal Code section 261(x)].
        ln prove that the defendant is guilty of this crime, tl~e People must
        '
        prove that:
            1. 1he defendant had sexual intercourse with a woman;
            2. He and the woman were (not married married) to each other at
               the time of the intercourse;
            3. 1'he woman did not consent to the intercourse;
            ANll
            4. The defendant accomplished the intercourse by
            <Altc~~natii~c:
                          -1A force or.fear>
           [force, violence, duress, menace, or tear of immediate and unlawful
            bodily injury to the woman or to someone else.]
            <Altenaative -~B—future tla~ecrt,s of budil~- lia~'m>
           [threatening to retaliate in the future abainst the woman or someone
           else when there was a reasonable possibility that the defendant
            would carry out the threat. A threat to retaliate is a threat to kidnap,
           falsely imprison, or inflict extreme pain, serious bodily injury, or
           death.]
            <Alic~r~rntivc~ -~C—threat n/~ nfJicial uction>
           [threatening to use the authority of a public office to incarcerate,
           arrest, or deport someone. A public official is a person employed by
           federal, state, or local government wl~o leas authority to incarcerate,
           arrest, or deport. The woman must have reasonably believed that the
           defendant was a public official even if he was not.]
        Sexual intercvrrrse means any penetratiio~~, no matter how slight, of tl~e
        vagina or genitalia by the penis. [Ejaculation is not required.]
        (To co~tsent, a woman must act freely and voluntarily end know the
         nature of the act.]
                                                    715

                                  Copyright Judicial Council of California


                                                       y.
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 75 of 94 Page ID #:75




         CALCRI:M No. 1000                                                   SI?X OFNF.NSI?S


        [A woman who initially consents to an act of intercourse may change
         her mind during the act. If she does so, under the law, the act of
        intercourse is then committed without leer consent if:
             1. She communicated through words or acts to the defe~~dant that
                she no longer consented to the act of intercourse;
            2. A reasonable person would have understood that her words or
               acts expressed her lack of consent;
            AND
            3. The defendant forcibly continued the act of intercourse despite
               her objection.]
        [It is not required that she physically resist or fight back in order to
        communicate her lack of consent.]
        [Evidence that the defendant and the woman (dated/were married had
         been married) is not enough by itself to constitute consent.]
        [Evidence that the woman (requested/suggested/co►mnunicated) that tl~e
        defendant use a condom or other birth control device is not enough by
        itself to constitute consent.]
         [intercourse is accomplished by force if a person uses enough physical
         force to overcome tl~e woman's will.]
         [Duress means a direct. or implied threat of force, violence, danger, or
         retriUution that would cause a reasonable person to do [or submit to]
         something that she would not do [or submit to] otherwise. When
         decidiu~ whether the act was accomplished by duress, consider all the
         circumstances, including; the w~~man's ale and her relationship to tl~e
         defendant.]
         [Retribution is a form of payback or revenge.]
         [Me~aace means a threat, statement, or act showiii~ air intent t~~ injure
         someone.]
         [Intercourse is accomplished by fear if the woman is actually and
         reasonably afraid [or sloe is actually but unreasonably afraid and the
         defendant knows ~~f her fear and takes advantage of it J.]
         [A woman must he alive at the time of the sexual intercourse for the
         crime of rape to occur.]
         <Uefe~~,se: Reasonable Belief lid   COi1SP11I~

         [The defendant is not guilty of rape if he actually and reasonably
         believed that the woman consented to the intercourse [and actually and
         reasonably believed that sloe consented throughout the act of
         intercourse]. The People have the burden of proving beyond a
                                                   7 16

                                  Copyright Judicial Council of California



                                                       S
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 76 of 94 Page ID #:76




         s~.x orrLrrsrs                                                           CALCRLM Nu. 1000

         reasonable doubt that the defendant did not actually a~~d reasonably
         Uelieve that the woman consented. if the People have not met this
         burden, you must find tl~e defendant not guilty.]


         Nc~a~ Ja7uun~ ?006; l~evisecl l~i~bn~nr~~ 2013, Fcbructry 2014

                                               BENCH NOTES
         Instructional Duty
         `1'he cotn~t has a sua spc►nte duty to give an insU~uction defining the elements of
         rape or spousal rape. If spousal rape is dixrged, the court must include the
         appr~~pria~e bracketed language throughout die instr~irtion c~i indicate chat the
         parties were married.
         The court should select the appropriate alternative in element 4 describing how the
         sexual intercourse was allegedly accomplished.
         Rape requires LI78[ fllC V1C[Illl he alive A[ CI](; ll1011lttl[ Of IIILCI'COUI'Sl'. (PL'(7r)IC v.
         Rnrnirez (1990) 50 Cal.3d 1158, 1175-1177 X270 Cal.Rptr. 286, 791 P.2~i 9651;
         Pcuplc >>. Crnr~ente►• (1997) 15 Cal.4th 312, 391 [63 Ca1.Kptr.2d 1, 935 P.2d 70g~.)
         Intercourse with a deceased. victim may constitute attempted rape if the defendant
         intended to rape a live victim. (Pen~~le i~. Kcllv (1992) 1 Cal.4th 495, 524-52fi [ 3
         Ca1.Rptr.2d 677, K22 P?d 385].) If this is an issue in the case, give d1e bracketed
         sentence that begins with "A woman must be alive . .''
         The defendant must continue to actu~illy and reasonably believe in the victim's
         cunsenl throughout the act. If the act of intercourse begins consensually and fhe
         victim lien changes her mind, the victim must clearly and uneyuivocally
         ccimmunicale to the defendant her withdrawal of cc.rosent Iv the act. II~, however, the
         dcfcndanc initiates the use of nonconsensual duress, mcnacc, or t'orcc during chc
         act, the victim's subseyuenl withdrawal of consent to the act may he inferred from
         the circumstances and need not be. expressed. (People v. Ireland (2010) 1.38
         Ca1.App.4th 328, 338 [114 Ca1.Rptr.3d 91.5J). If there is aii issue reg~ircling the
         defendant's cominue~l belief in the victim's consent, give the second optional first
         sen[cnce in the definition of "Dcfcrt~•e: Reusoncrb/e Belief~ira Cori,scrrl.~'
         llefenses—Instructional Duty
         'I~he court has a sua sponte Flury tc> instruct ~m the clelense of reasonable belief in
         consent if there is "substantial evidence of cyuivocal conduct that would have le~l a
         ~e(endant to reasonably and in g~~oci faith believe consent existed where it did not."
         (Ste People >>. 4Villrar~rs (1992) 4 Cal.4th 3.54]; !'eoplEr v. Mcrti~be-r~.~~ (1975) IS
         Ca1.3d 143, 153-158 (125 Cal.Rptr. 745, 542 P.2c1 1337.)
         Related Instructions
         CALCRIM Nn. 1001, Rope or .Spou,sc~l Knpe in Conce~~~l, may he biven in
         conjunction with this instruction, if appropriate.

                                                         717


                                       Copyright Judicial Council of California



                                                           7b
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 77 of 94 Page ID #:77




             1003. Rape of Unconscious Woman or Spouse (Pen. Code,
                              §§ 261(a)(4), 262(a)(3))


         The defendant is charged [in Count        ]with raping (a woman his
         wife) who was unconscious of the nature of the act [in violation of
                         <insert appro~~riate code sectiai(s]>].
         Tv prove that the defendant is guilty of this crime, the People must
         prove that:
             1. The defendant had sexual intercourse with a woman;
             2. He and the woman were (not married married) to each other at
                 the time of tl~e intercourse;
             3. The woman was unable to resist because she was unconscious of
                the nature of the act;
            AND
             4. The defendant knew that tl~e woman was unable to resist
                 because she was unconscious of the nature of the act.
         Sexual intercourse means any penetration, no matter how slight, of the
         vagina or genitalia by the penis. [Ejaculation is not required.]
         A woman is unconscious of the nature of the uct if she is (unconscious or
         asleep/ [or] not aware that the act is occurring/ [orJ not aware of the
         essential characteristics of the act because the perpetrator tricked, lied
         to, or concealed information from her/ [or] not aware of the essential
         characteristics of the act because the perpetrator fraudulently
         represented that the sexual penetration served a professional purpose
         when it served no professional purpose).


         New Jariiu~ry 2006; Revised August 2012, August 2013
                                          BENCH NOTES
         Instructional Duty
         The court has a sua sponte duty to give an instruction defining the elements of the
         crime.
         If spousal rape is charged, include the appropriate language throughout the
         instruction to indicate that the parties were ma~Yied.
         Select the appropriate language defining `'unconscious of the nature of the act"
         based on the facts of the case.
         Related I~istructrons
         CAI.CRIM No. 1001, Rape or Spousal Rape in Concert, may be given in
         conjunction with this instruction, if appropriate.
                                                     728

                                    Copyright Judicial Council of California


                                                      7~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 78 of 94 Page ID #:78




          SEX OFFENSES                                                          CALCRIM Nu. 1003

                                                AUTHORITY
          • Elements. Pen. Code, ~§ 261(a)(4), 262(a)(3).
          • Penetration Defined. Pen. Code, § 263; People a Karsai (1982) 131
            Cal.App.3d 224, 233-234 [182 Ca1.Rptr. 406], disapproved on other grounds by
            People v. Jones (1988) 46 Cal.3d 585, 600 [250 Cal.Rptr. 63.5, 758 P.~ 1165].
          • Unconscious of Nature of Act. People v. Howa~zt (1.981 j 1.17 Ca1.App.3d 53,
            55 [172 Ca1.Kptr. 539] [total unconsciousness is not required]; see Boro v.
            Superior Court (1985) 163 Ca1.App.3d 1224, 1239-1231 [210 Ca1.Rptr. 1?2]
            [rape vicCim not u~~coiiscious of nature of acr, fraud in the inducement].
          •    Assault. Pen. Code, § 240.
          •    Battery. Pen. Code, 5 2~2; People is Geriterrez (1991) 232 Cal.App.3d 1624,
               1636 [284 Ca1.Rptr. 2301, disapproved nn other grounds in Peo~~le v. Cromer
              (2(.101.) 24 Cal.4th 889, )U 1, fn. 3[103 Cal.Rptr.2~1 ?3, 15 P.3d 243J; but see
              People r. Marshall(1997) 15 CaL4th 1, 38-39 [bl Ca1.Rptr.2d 84, 931 P.2d
              262] [battery not a lesser included offense of attempted rape].
         • Perpetrator Must Impersonate Spouse of Married Woman Under Current
           Statute. People v. Morales (2013) 212 Ca1.App.4th 583, 594-595 ~ 150
           Ca1.Rptr.3d 920].
          Secondary ,Sources
          2 Witkin &Epstein, California Criminal Law (4th ed. 201?) Sex Offenses and
          Crimes Against Decency, §§ 1-8, 178.
         6 Millman, Sevilla & 7'arlow, California Crirninal Defense Practice, Ch. 142,
         Crimes Against the Person, ~ 142.20[1][a], [5](Matthew Bender).
          Couzens &Bigelow, Sex Crimes: California Law and Vrocedure §§ 12:16. 12:17
         (The Rutter Group).
                                             COMMENTARY
          The statutory lang~iage describing unconsciousness includes "was not aware,
          knowing, perceiving, or cognizant that the act occurred." (:See Pen. Code,
          §~ 261(a)(4)(B)—(D), 262(a)(3)(B), (C).) The committee did not discern any
          difference among the statutory terns and therefore used "aware" in tl~e instruction.
          If there is an issue over a particular term, that term should be inserted in the
          instruction.
          Gender-specific language is used because rape usually occurs between a man and a
          wou~an. Iu keeping with plain English principles, the committee used those terms
          to make the instruction clear and concrete.
                                 LESSER INCLUDED OFFENSES
         •    Attempted Rape of Unconscious Woman. Pen. Code, §~ 663, 261(a)(4).
         •    Attempted Rape of lJnconscious Spouse. Pen. Code, §§ 663, 262(x)(3).
                                                       729

                                     Copyright Judicial Council of California


                                                        ~~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 79 of 94 Page ID #:79




         CALCRIM No. 1003                                                     SEX OFFENSES


                                        RELATED ISSUES
         Advance Consent
         Neither a woman's actual "advance consent" nor a man's belief in "advance
         consent' eliminates the wrongfulness of a man's conduct in knowingly depriving an
         unconscious woman of her freedom of choice both at the initiation of and during
         sexual intercourse. A person who commits the prohibited acc necessarily acts with a
         wrongful intent. (People v. Duncy (?002) 102 Ca1.App.4lh 21, 37 [1?4 Ca1.Rptr.2ci
         898].)
         See the Related Issues section in CALCRIM Nn. 1000, Rape or Spoiesal Rape: h~-
         Force, Fear, or Threats.




                                                    730

                                   Copyright Judicial Council of California


                                                       ~ cl
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 80 of 94 Page ID #:80




                       - ~I~ L ~ ~ I




                                       ~,
      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 81 of 94 Page ID #:81
10/15!2019                                                  Gmail - Why I was told it was not a rape?




             ~~1 B              I
                                                                                                    ~~@gmail.com>



  Why I was told it was not a rape?
                                                                            _ _
  Cramer, Ernie <ecramer@elmontepd.org>                                                                    Fri, Jun 7, 2019 at 1023 AM
  To:~~@gmail.com>
  Cc: "Cramer, Ernie" <ecramer@elmontepd.org>




    We have taken a report. Due to the confidential nature of what you have reported and the
    fact our emails can be viewed as public information I can't specifically comment on your
    case. You can come in and talk about your report. Although we are not defining at as a 261
    at this time, that does not mean that circumstances will not change the coding of the report
    i n the future. This will be forwarded to the detective bureau and they will have to conduct
    further follow up investigation. It would then be forwarded to the DA's office for filing
    consideration. As a department we tale any victim reported crime seriously especially those
    i nvolving a crime against a person. Please understand that these investigations are time
    consuming and detail oriented.



    Your report number is #19-024117.


    Ernie



    Ernie Cromer x#500

    Lieutenant

    EI Monte Po(ice Department

    17333 Va!!ey 81vd.,

    EI Monte, Ca. 97 731

    Office:(626J 580-2109

    Ema;l: ecramer@elmontepd.org



           tit er q~~
      ~~                            t:10Y01
                        ~~,n;
    ~: ~
        ~~~1~4
             0 ~~T,


https://mail.google.com/mail/u/0?ik=f9901131 b6&view=pt8search=all8permmsgid=msg-f963A16357032549614072838dsgt=l8simpl=msg-f°,63A16357   112

                                                                      Y
        Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 82 of 94 Page ID #:82
10/15/2019                                                    Gmail - Why I was told it was not a rape




     From:~[mailto:~gmail.com]
     Sent: Friday, June 07, 2019 9:52 AM
     To: Watch Commanders
     Subject: Why I was told it was not a rape?


     Hi,

     went to the station today and told the police someone I just met a few hours ago had sex with me when I passed out.
    After the interview I was told that it was not being considered a rape. Could you explain to me why it was not a rape when
    someone had sex with me when I was unable to know what I was doing? Is it DA's job to determine whether or not it was
    a rape?
    I n California a drunk night that ends in a sexual encounter can very well turn into lifetime sex offender registration and up
    to 8 years in prison. Many Californians are unaware of California Penal Code section 261 (a)(3), which reads:
    Rape is an act ofsexual intercourse accomplished with a person not the spouse of fhe perpefrator where a person is
    prevented from resisting by any intoxicating or anesthetic substance, or any controlled substance, and this condition was
    known, or reasonably should have been known by the accused.
    "Date rape" is a term commonly used to describe nonconsensual sexual intercourse that takes place between people
    who (1) are or were dating, or (2) are voluntarily spending time together. While date rape sounds more casual than a
    typical California rape charge, the two are, in fact, one and the same. Both are prosecuted and punished under Penal
    Code 261 PC, California's rape law.

    Thanks.




https://mail.google.com/mail/u/0?ik=(9901131 b6&view=pt&search=all&permmsgid=msg-f°,G3A16357032549614072838dsgt=l 8simpl=msg-f°,63A16357... 2/2

                                                                             ~-
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 83 of 94 Page ID #:83




                                         ~'~
       Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 84 of 94 Page ID #:84

626'3097664                                ~1          - V 1                  ~ ~ ✓ 12y:3v 06-14-2019                   7/12
                                                   ~           !7 ~'1 \   - LJ            1




              ON1cer Report!or!ncldent f9-024117
                                                                                                       Page 3 of 4


              Narrativc
              Officer M Tate 9578



              investigative Narrative

                                                                             to tha front lobby
              On E'r7.day 06-7-19 at approximately 0825 hau=s I was assigned
                            officer. A female who identifi ed herself ash            walked in
              as the desk
              to make a rape report.

                                                                                my
              I activated my depaztment issued PUMA audio recorder and recorded
              conversation with ~►   She told me her J~nerican name is


                                                                                 04 01 19. "We
              ~ told me she met a man named "Charlie Suarez~~ on "We Chat" on
                                                                                    out on a
              Chat~~ is a messaging and social media application. Sha agreed to go
                                        04-05-19 at 1800 hours they  met for dinner at  Ocean Ho
              date with him. On  Mbnddy
                                                     drove themselv es to the reetaura rtt and
              located at 3944 Peck Rd. Each of them
              after dinner they went their own ways.
                                                                                    2027 hours
              She said she went. home and had a sip oP wins and at approximately
                                                                                      e to qo and
              they texted each other again. She agreed to meet him at her resideao
                                                                                        wine. She
              have drinks. She said ha told her he had Japanese whiskey and Spanish
                              him her address and he met her at  her  residenc e. She said she met
              ai.11ingly gave
                                                                                      Erom a
              him outside and she left with him in his vehicle to go sight seeing
                                                                           with him She said she
              hilltop in Montebello. There she wLllingly drank whiskey
              was not forced  to drink the alcohol and she did  not  observe  anything out of the
                                                                            her.
              Hormel as he poured her drinks. Ne also drank whiskey with
                                                                           her back to her
              At approximately 2300 hours on that game night, he drove
                                                                               St. and Dee Ave.
              residence and parked hie vehicle on the street at l~gnolia
                     taoth were seated inside  the vehf.cle they drank Mine.   She wanted water ao
              iThile
                                                                         e and retrieved a bottle
              she got out of the vehicle and walked into her residenc
                                                                                       back out of
              of wator while be remained inside the vehicle. She said she walked
                            e and continue d to drink wine  with Charlie aiii.le inside his vahfcle.
              hec re8ldanC
                                                                    not remember what occurred
              ~ 8dld she must have passed out because she does
                                                                                       ately 0800
              after that. She said she Wofce up the next day 04-02-14 at approxim
                             in  bed inside of an unknown motel room  with  Cha~clie  lying down
              hours and was
                                                                               and she felt
              next to her. Sha said she was naked and her ~vagina burned°
                                                                          up at the same time she
              confused ao she assumed she was raped. Charlie also poke
                                                                                   rse with Charlie
              did. ~ told me she then had consentual vaginal sexual intercou
                               up.  She said she geve consent and  willingl y  had sexual
              after they woke
                                                                              told me is was
              intercourse with him because she wanted to do so, She also
                                                                                       sex with him
              ~~pointleae" to say no to him since she assumed she had already had
                           ~    said Charlie then dropped her off  at home.   Later  on that day at
              o ver night.
              approximately 1011 hours they sent texts to each other.
                                                                           d to have a
              ~ and Charlie conti.nuad to text on "We Chat" and continue
                elations hip. She said they went out to dinner again on 05-03-19 and were
              r
                                                                              changed her mind
              supposed to meet at a motel in Los Angelos aftervarde but she
                                                                               talking to
              and did not meet with him at the motel. T.uo stated she atoppod
                       on  "We Chat" on 05-30-19 and agreed they both ended their relationship
              Charlie
               mutually.



                                                                                                             aG114/19




                                                                  ~"
      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 85 of 94 Page ID #:85

626 309 7664                                                                          12:07:05     06-14-2019              9/12




               0/~lcer Report for Jnc►dent 18.024177                                                     Page 4 of 4


               ~ showed me some texts on her cell phone between Charlie and her. i read a
               text in which he told hex, "your pussy was so tight" and ahe replied "you
               haven't been with Asian". She then text him, "I haven'C bean with someone far 9
               years". He then told her, "maybe we can do anal next time to give your pussy a
               break" and she replied ~'ok". She then messaged him "I can't wail• Co kiss you."

               T Baked ~ carat made her think she was a victim of rape. She scaled it was not
               typical of her to sleep with someone on her first date, so when she woke up in
               the morning and was naked at a motel she thought that• she was raped. If she did
               not remember what happened then she was unable to give consent. She oleo stated
               no one threatened her or forced her to drink whiakay or wine or to see Charlie.
               She never saw     Charlie or anyone else puC anythlnq into her drinks or into her
               Pood.

               ~ told mc~ all she knows about Charlie is that he is a Riapani.c male,
               approximately 33 years old who works at GSG Amament in South E1 Monte.

               I ended my interview with ~ and subsequently doHn }.oaded the recording onto
               PUMA as evidence at the E1 Nonte Police Department. I explained to 3~i that a
               miscellaneous report of the incident was taken.


               END




                                                                                                                UG/14/19




                                                                ~G~i
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 86 of 94 Page ID #:86




                         ~X ~~~13~ j I I




                                    ~~
       The Prnsecutnrs' Newsletter nn                                        Violence Against Women                                 Further, prosecutors who truly understand secual violence         each side questions potential ~umrs and strikes Jurors that
                                                                                                                                   can better identify jurors who might harbor mistaken               appear to be biased against them, a fair jury emerges. to
                                                                                                                                   beliefs and accept False mythology about sexual assault            sexual assault cases, however, there are additioeal goals.
                                                                                                                                   and poison the rest of the jury with roisin(orteation. When        For example, jurors do not ha~or "robbery myths" that
                                                                                                                                   [he prosecution selects jurors who have a more realistic           stand in [he way ofjustice for robbery victims. In a sexual
                                                                                                                                   understanding of the dynaznics of sexual assault, they are         assault case, another goal of jury selection is to delve into
                                                                                                                                   more likely [o be fair and perhaps even help educate other         juror rape myth acceptance and beoo to redefine these
                                                                                                                                   jump during deliberatlon.
                                                                                                                                                                                                      problematk beliefs into Juror competence. Jury selection
                                                                                                                                    VOIR DIRE PRACi'ICE                                               should also begin to prepare the Jury for the evidence,
                                                                                                                                    AND LEGALAUTHORIT!'                                               touch on difficult facts, and prepare the Jury (or the use
                                                                                                                                                                                                      of graphic terminology and evidence. Another goal, when
                                                                                                                                     Voir dire practice can diger depending on what state,county,     possible, is to use a jurors' life experiences to educate the
                                                                                                                                    and Judge has jurisdiction over the case. Most jurlsdicrions      other jurors about h-iends or family members who have
                                                                                                                                    have appellace case law addressing the defendant's right          bcen victims ofsexual assault a~ dLscuss their reacrions to
                                                                                                                                    to conduct votr dire of Jurors cega~ding their abUiry to be       being victimized This can se[ the stage for later evidence
                                                                                                                                    fair and follow [he law. Appellate courts, however, have          and argumenu about vicrim bebavioc
                                                                                                                                    few opportunities to address the prosecutors right to
                                                                                                                                    question jurors about the mistaken beliefs about rape they        SUGGESTIONS FOR VOIR DIRE
                                                                                                                                    possess that would interfere with their ability to follow the     IN SEXUAL ASSAULT CASES
                                                                                                                                   law.` Prosecutors can make a persuasive a~gnment that              A victim is more likely to be sexually assaulted by
                                                                                                                                   jurors with firmly held but mistaken beliefs about tape are        someone s/he knows -friend, date, intlmate partner,
C~                                                                                                                                  unlikely to be able to follow the coon's instructio¢s in the      classmate, neighbor, or relative - than by a stranger."
—J                            Educating Juries in Sexual Assault Cases                                                             ]aw' and [hat specific gnestionlng in this area is the only        Sexual violence can occur at any time and there is no
                                   Part I: Using Voir Dire to Eliminate Jury Bias                                                  way to determine the prevalence of rape myths in the jury          way to adequately predict who might be a perpetrator.
                                 By Christopher biallios, JD and Toolsi Meisner, JD'                                               panel.° "Despite considerable research and pabdca[ions in          Unfortunately, non-strangers and familiar places are often
                                                                                                                                   professional and popular joumak concerning rape,[rape]            the most dangerous to victims. According to a large study
     C rimes ofsexual violence continue to be misunderstood even     based on research, journal articles, and aathori[ative         myths contlnue to persist in common law reasoning.'"             of women who were raped or sexually assaulted during
     though there has been significant research surrounding the      publicarions, phis arricle wiD suggests ideas to Improve
     dynamics ofsexual assault and its impact on victims during                                                                    Traditional voir dire questtons regarding jurors' abilities       2002, sixty-seven percent idenrified the perpetrator as a
                                                                     jury selection techniques. Future articles In thts series
     the lass three decades.' We now n¢derstand much more                                                                          to follow [he law, assess witness credibility, understand         non-stranger." Another study found[hat 8 out of 10 victims
                                                                     will provide addiriona] material to provide prosecutors
     about these crimes, the people who commit them, and the                                                                       the burden of proof, and other common areaz of inquiry            ]mow the people who raped them." Another study found
                                                                     with inforreation and strategies[o educate, dispel common
     way vicrims respond to trauma. Unfortunately, we cannot                                                                       might not sufficiently address potentia] jurors' emotional        that nearly 6 out of 10 sexual assault incidents occurred
                                                                     misconceptlons, and convey the trvth to fact finders
     assume that the results of this reseatrh Lave infiltrated the                                                                 reactions to sexual assault cases. An increasing number           in the victim's home or at the home of a frtend relative, or
                                                                     through other aspects of trial practice, including opening
     minds of the average layperson,juror,or judge.                                                                                of jurisdictions are curtailing the ability of prosecutors        neighbor." These studies, which are all based on staristics
                                                                     statements, dimct examinarion, calllry expert witresses,
                                                                                                                                                                                                     compiled by the U.S. Deparnnent of Jusrice, conclusively
                                                                     and closing arguments'                                        and defense attorneys to conduct meaningful voir dire of
     Too many people still believe the outdated and disp~ved                                                                                                                                         support the fact that most rapists are non-strangers.
                                                                                                                                   jurors in the name of "judicial economy." The prevalence
     m}nhology tLat surrounds sexualviolence.' Rape myths shin       To be effective in prosecuting crimes of sexual violence,     of rape myths, however, weighs in favor of judges creating        There is no racial, socio-economk, professional, or other
     the blame for the crime from [be rapist to the victim.' When    prosecutors must understand the reseazch and statistics       exceptions to the general rule of strictly Gmidng juror voir      demographic profile that typifies a rapist. This type of
     a fact-Roder in a sexual assault case accepts a rape myth as    about sexual assault in order to educate judges and           dice in sexual assault cases.10                                   criminal is not physically identifiable and open appears
     true,the prosecutor faces tremendous barriers[o achieving       juries about sexual assault dynamics and common victim
     justice for victims and holding offenders accountable for                                                                     GOA[S OF VO1R DIRE IN                                             fiiendiy and non-threatening." Researchers and sexual
                                                                     responses. Although much of the data in [his area is not
     their crimes.                                                                                                                 SEXl1AL ASSAULT CASES                                             violence experts spend considerable tune attempting
                                                                     generally admissible in a crlmioal case, prosecutors can
                                                                                                                                                                                                     to educate the public about the danger of stereotyping
                                                                     benefi~ from a thorough understanding of the dynamics of
     This article is the first in a series that will explain                                                                       In the general sense, the goal of voir dire is to select a jury   rapists, but their messages are ohen undermined by the
                                                                     sexual assault because it will aid them when devising trial
     strategies to educate juries about sexual violence facts                                                                      that ca¢ be fi'v to both sides and render a verdict based o0      Images perpetuated by popular media coverage of sexual
                                                                     strategies, anriciparing defenses, preparing victims, and
     and overcome common misconceptions. In addition to                                                                            an applicarion of the facts as the jury finds them and the        assault cases. It is understandable, therefore, that furors
                                                                     developing effective cross-examinations and atguroents.
     providing data-liven tnformatio¢ about sexual assault                                                                         law as the Judge instructs them. Through a process where          are commonly reluctant to convict a[rcazRve and sociable
                                                                                                                                                                                                     sexual assault defendants who are(mown ro their victims.
                                                                                                                                                                                                                                                                      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 87 of 94 Page ID #:87
Sacual assault deferdaots commonly appear in court well          themselves from the victim and the crime [hereby                   legal and common sense distinction between rape and sez         Although [here is no typical sexual assault victim, studies
gmoroed and well dressed. They might also be married             preserving the perception that they are safe If they do not
and have children. Jurors ronfronted with thts image may                                                                                                                                            indicate [hat certain groups are Wctimized at higher rates
                                                                 make the same choices as the victim.                               There is no situation in which an individual cannot control
be reluctant ro convrt without a coastant reminder that                                                                                                                                             than others. One s[ady found that people with disabilitles
                                                                                                                                    his sacual urges.1B Samal excitement does not justify
the defendant is purposeful and dangerous. When the              When allowed Prosecutors may consider azldng quesrions                                                                             have anage-adjusted ra[e of rape or sexual assault that was
                                                                                                                                    forced sex and a victim who engages in kissing, hugging or
defendant is also a friend or family member ofthe victim and     to de[ermroe whether potential jurors understand tLe                                                                               more than twice the rate for people without disabilitles.'=
                                                                                                                                    other sexual touching maintains [be right to refuse sexual
uses that relationship to gain, and then betray the victim's     importance of holding the offender and not the victim                                                                              For individuak with prychiatric disabiliries, the rate of
                                                                                                                                    intercourse. Rapists do no[ rape because they want to
trust,f urors may need to be infortoed in order to recognize     accountable for crimes of sexual violence. For e~ampk,                                                                             violent criminal vicrimizarion including sexual assault
                                                                                                                                    have sex and many rapists ako may have partners with
and understand the defendant's predatory behavior.1B             prosecutors could ask Jurors whether they believe that a                                                                           waz two times grrarer than in the general popularion.='
                                                                                                                                    whom they engage in co¢sensual sex. Sexual deviance and
                                                                 vicrim can be raped even if that victim consented to some                                                                          American Indian and Alaska Native women and girls are
                                                                                                                                    character traits form the motives for rapists' behaviors.i9
to jurtsdictions where prosecutors ate permitted to ask          other measure ofintimate contact before the rape occurred                                                                          v ictlms ofrape or sexual assault at a tale that is double that
                                                                                                                                    Their sexual deviance may cause [hem [o be aroused by
questions of potential jurors during unit dire, tt might be                                                                                                                                         of other racial groups?'
                                                                                                                                    exploiting the physical and/or prychological vulnerabilities
apptopria[e to azk whether a potential jutvr would be less       In some cases it may be important to gauge whether Jurors
                                                                                                                                    in their victims, whether they result from intoxication or      The elderly, boys and men, sexually exploited women, or
likely to comic[ a defendant of rape if tLat defenda¢t were      will stlll follow the lawwhen the Facts do not present th e most
                                                                                                                                    physical or mental disabiliries. Rapists aze also morivated     persons with disabilities challenge many Jurors' beliefs
a parmer,fi-iend,oracquaintanceofthevicrim. The answer           rympa[hetic vicrim. Pmsecutois may need to azkquesdons
                                                                                                                                    by character traits common to many criminals.                   about rape. Questioning potential jurors about their
to this question provides insight into whether the juror         to determine whether juroa believe that a delendant can
lmows that the majority of rapists are non-strangers and         commit the crime of rape even if the victim was drinking,                                                                          expectations of rape victlms and whether they would be
                                                                                                                                           When an otTender has a criminal, natcis-
whether they view noo-manger rapes as seriously as those         using drugs, dressed in a way [hat the jurors perceive as                                                                          able follow the law and render a verdict of guilty, even if the
                                                                                                                                           sistic, or otherwise interpersonally and
                                                                 provocative, being prostlmted, or engaged in any other                                                                             vicrim does not fit their idea of what a "typical" rape victim
committed by strangers. A juror who understands the                                                                                        wcially compromised personality, he can be
prevalence ofnon-stranger sexual assaults can also educate       behavior that may inappropriately cause victim blaming.                                                                            should be, will help ldenrify misinformed jurors who may
                                                                                                                                           motivated to offend for a vanery of reasons.
                                                                 Prosecutors should directly address victim behavior that                                                                           seed to be eliminated or educated
ill-informed ju~vrs on the panel                                                                                                          He may lack the internal barriers that prevent
                                                                 Jurors might consider problematic by prepartog them for                  offendfig, like guilt, remove, empathy, or                 Most victims do not incur physical injuries from seaval
Another question to pose to jurors deals with their abilities    such behavior during the wit dire process. Through certain               compassion. He toay main[ai¢a beliefrystem,                assaults. Maey of the unwanted anti forced acts that
to follow [he judge's instructions regarding the definitlon of   unit dire questions, prosecutors can also inforto Jurors that            which devalues the rights of others and over-              lake place during a sexual assault do not result in visible
rape regardless of their personal beliefs. If the vicrim and     they will hear evidence regarding the victim's behavior                  values his rights. He may be indifferent to,               non-genital injuries. Most adult rape vicrims do not have
defendant were in a relationship prior to or during the rape,    before or after the assault that might cause Jurors concern.             or aroused by, the pain, suffering, injury, or             any non-genital injuries horn sexual assaults. According
tell prospective jump that they will hear evidence about         For example, prosecutors may consider asldng whether                     humiliation of others. The offender also may               to a study examining the pre~aleoce of injuries from rape,
that relationship and ask whether the existence of a prior       certain behaviors would cause the Jurors unease anti                     feel that the rules of wciety do not apply to             only 5 percent of forcible rape victims had serious physical
relationship would concern them when deciding the case.          interfere with their ability to fo~ow the court's instrucrioos           him'o                                                      injuries and only 33 percent had minor injuries.='This study
As always,follow-up questions regarding whether the juror        and render a lair verdict.
                                                                                                                                                                                                    also showed [hat most victims of rape, attempted rape,and
expects rapists to be strangers and whether they can follow                                                                         When conducring unit dire, prosecutors should look out
                                                                 Prosecutors can counter victw-blaming myths throughout                                                                             sexual assault do ¢ot receive medical treatment for [heir
the law in this area would be useful to' probe the beliefs                                                                          for any answers [bat indicate that a potential Juror might
                                                                 the Mal by stressing that without consent,"No"means"No,"                                                                           injuries. Furthermore,[he presence or absence of ge¢ital
behind the jurors'answers.                                                                                                          confitse sex with sexual violence and aggression If a juror
                                                                 no matter what the situation or cireumstaoces. It doesut                                                                           injuries following a tape is ¢ot necessarily slgniNcant when
                                                                                                                                    harbors attitudes [hat excuse sexual violence as something
Sexual violenceisneverthevictim'sFault Noothercrime              matter ifthe victim was dri nking or using drags,out a t night                                                                     evaluating a case. Early studies ofrape examinatlons found
                                                                                                                                    tLat me¢ "simply can't control" they will not be able to
vicrim is looked upon with the degree of blamewonhioess,         alone, gay or lesbian, sexually eacplolted, on a date with the                                                                     that most rape v"rums did not have any genital t¢juries:'
                                                                                                                                    deliberate fairly.
snspicioA and doubt as a npe vicrim. Victim blaming is           perpehator, or if the jurors believe the victim was dressed                                                                        Those initial studies, which relied on direct visualizarion
unfortunately common and is one of the most significant          seductively. No one asks to be raped. The responsibility           There is no "typical" sexual assault victim. Sexual             without any magnification or staining techniques, found
barriers to Jusrice anti offender accountability.                andblame lie with the perpetrator who tookadvautage ofa            violence can happen to anyone, regardless of sex, race, age,    genital injury rates between 5 and 40 percent?° In
                                                                 vulnerable victim or violated tLe victim's trust to commit a       sexual orients don,socio-economic status,ability,or religion.   jurisdicrions where forensic se~coal assault e~miners use
Victim blaming can be expressed in several themes: vicrim                                                                                                                                           only direct visualization techniques without magnificatlon
                                                                 crime of sexual violence.                                          Prosecutors might come across jurors who think that "real"
mazochism (e.g., she enjoyed it or wanted it), victim                                                                               sexual assault victims aze a[hactive, young or sexually         or staining, injury rates would be expected to fall within the
precipitarion (e.g.,she asked for it orbrought it on herself,    Rape is an act of violence and aggression in which the                                                                             range ofthose studies.
                                                                                                                                    inexperienced. This particular stereotype of sexual assault
or vicrim fabricarion (e.g, she lied or exaggerated)." In a      perpetrator uses sex as a weapon to gain power and                 vicrims is often related to the mistaken belief that rape is
criminal trial, the defense might appeal [o some or all of       control over the victim 1[ is a common defense tactic in                                                                           Using the latest examinarioo techniques, including direct
                                                                                                                                    about sex, rather than violence, and that the attractiveness
these common victim-blaming biases to help the defendant         rape triaLt to redefice the rape as sex and try to capitalize                                                                      visualization, colposcopy, staining techniques, and digital
                                                                                                                                    of the victim is one of the "causes" of the assault.
avoid accountability. Further, it can translate into jurors      on the mistaken belief that rape is an act of passion that Is                                                                      imaging, studies i~icate the occurrence of genital injury
blaming victims for their choices in an attempt to distance      primarily sexually motivated. It is important to draw the                                                                          after npe to be between 50 and 90 percent"These newer
                                                                                                                                                                                                    examination techniques allow examiners to document
                                                                                                                                                                                                                                                                      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 88 of 94 Page ID #:88
many more minor injuries; however, more research is               experience that the"CSI Effect'is one ofthe most significant      Victim credibility is often the primary issue in sexual assault     evidence, application of solid hial advocacy skills, and the
necessary to determine the pmvalence of genital inJuries          barriers to justice in sexual azsaul[cases." to Gazes in which    prosecudo¢s and this is especially so i¢ non-stranger               use of expert witnesses, when appropriate, to ma~dmize
aker consensual sexual activity and the relevance,if any, of      jurors might have heightened acpectarions regarding the          cases. Some people are so skeptical of sexual assault                offender accountability, and achieve Justice.
injury patterns in sexual assault eximinatlons.                   availability of scie¢tific evidence, it might be app[opriate     allegations that they assume that most victans are lying
                                                                  during voir dire to inquire into those expectarions and begin    when they report their victimizarion to law enforcement.             Forthcoming articles In this series will further discuss
Jurors most understand [bat rape is alife-threatening
                                                                  to educate the jurors about why such evidence might not be       The mistaken belief that mos[ sexual assault allegations             the topic ofjuror educatloa In the meantime, please visit
event and vicrims make split-second decisions about
                                                                  available orpmbative based on[Ae lads ofthecase.                 are false is unfortu¢ately common. Significantly, me~h-              w wwaequitasrewurce.org for additional information and
how to react to sacua] violence in order [o survive. Some
                                                                                                                                   odologically reliable research indicates that only 2 to 8            resources related to the prosecurion of sexual assault and
victlms respond to the swere trauma of sexual violence            Most rape victims delay reporting their viaimiza[ion to
                                                                                                                                    percent of sexual assault cases involve false reporting'°           other violence against women related cases9
t6mugh the prychological phenomenon of dissociarion,              law enforcement or never report at all. Victims of se~cual
which is sometimes described as "leaving one's body,"                                                                              This reseazch conclusively disproves a commo¢ myth tLa[
                                                                  assaults respond in various ways, includsng [he manner in
while some others describe a state of "frozen fright," in                                                                          most rape victims lie about being raped; nevertheless,
                                                                  which they report incidents, if at all. Many victims choose
which they become powerless and completely passive.                                                                                defense attorneys may design a defense strategy to appeal
                                                                  not to report their victimizagon because they believe that
Physical resistance is unlikely in victims who experie¢ce                                                                          to jurors who believe the ofr-repeated myth that most
                                                                  it is a private or perwnal matter, fear the defendant, or
dissociarion or fraten fright or among victirus who were                                                                           rape victims lie. Expert testlmony about the ciedibiliry of
                                                                  believe the police are biased against them?0 $orue victims
drinking or using drugs before being assaulted.'B To a rape                                                                        a witeess is inadmissible and prosecutors will unlikely be
                                                                  may be embamdssed or distrust ]aw enfomemen[ or the
victim,a[h reat of violence or death is immediate regandless                                                                       allowed to ask potential jurors about their pm-conceived
                                                                  court process. The same reasons cause many victims who
of whether therapist uses a deadly weapon. The absence of                                                                          ideas about the credibility ofawitness. Nevertheless,to the
                                                                  do file police reports to do so after some rime has passed.
injuries might suggest ro some juror [bat the victim failed                                                                        extent that the court will perrvit the prvsecvtion to explore
to resist aed,themfore, must have consented. The fact that        Studies show that sexual assault is one of the most              whether potential furors harbor a general belief that most
a victim ceased resistance m the assault for fear of greater      underreported crimes, with 60 percent stW being                  rape allegarions are false, some quesrioning in this area
                                                                  unreported." 7'he closer the relationship between the            could reveal anti-victim blazes that could interfere with the
harm or chose not to resist at all does not mean that the
victim gave consent. Each rape victim does whatever is            victim and tLe perpetrator, the less lik¢ly the victim was       juror's ability to be fait Questions about whether a juror
necessary to do at the tlme io order to survive. The ~~ictiru's   to mport the crime to the police.'= When the perpetrator         will wait untl] hearing all of the evidence -including expert
                                                                  is a current or former husband or boyfiiend, that rate of        testimo~ regaling common vicrim reacrions to sexual
decisions about whether to resist during a sexual assault
can lead to jurors vYctim-blaming or perceivi¢g the victlm        reporring drops to approximately 25 percent?' Males are          assault - to decide the credibility o(a witness can help
as less credible and roust therefore be directly addressed by     the least likely to report a sexual assault, though males        reveal biased potential jurors and identify those who may
prosecurors.                                                      make up approximately 10 percent ofall victims'•                 be able to educate other members of the fury.

                                                                  Victims may exhibit a rage of emotional responses [o             CONCLUSION
to conducring wir dve, prosecutors may be able ~o ask
questlons to probepotendal jurors'expectations that sexual        assaule calm, hysteria, laughter, anger, apatLy, or shock
                                                                                                                                   The fury selection process is the first opportunity for a
assault victims must have suffered serious injuries. Io cases     E ach victim copes with the trauma ofthe assaultin a different
                                                                                                                                   prose~vmr to begin educating jurors in a sexual violence Gaze
involving a victim who has minor or no injuries, prosecutors      way. Vicrims of sexual assault are three times more likely
                                                                                                                                   and allows prosecumrs tD identlfy and s¢-ike jurors whose
may consider asking potential Jurors whether they would           than the rest of the populatlon to suffer from depression,
                                                                                                                                   biases will interfere with their ability to follow the law and
not believe that a victim had been raped if the rapist did        six times more likely to suffer from post-traumatic stress
                                                                                                                                   renderafairverdict Usingdeliberateandthoughtfiillanguage
not use a deadly weapon or inflict serious injuries. To min       disorder, thirteen times more likely w .abuse alcohol,
                                                                                                                                   when explaining tl~e facts of the case, providing murex[ for
addiriona]insights Into[he beliefs of potentialjurors in this     twenty-snc times more likely to abuse drugs,and four times
                                                                                                                                   victim behavior, and inquiring about jurors' life experiences
area, prosecutors may even consider asking whether jurors         more likely to contemplate suicide.'=
                                                                                                                                   can help prosecutors dispel myths and counter the defense
believe that a certain level of resistance Is necessary for                                                                        strategies than seek to euploit them.
                                                                  Depending on the facts of the Gaze and how the victim acted
the crime of rape to occur. Furthermore,if the prosecution
                                                                  aker the assault,prosecutors may need[o question )urvrs to
intends to call an expert to explain the lack of injuries, it                                                                      Successful juror educaRo¢ begins with unit dire, conti¢ues                  ~ ~ ~,          ~~      i          I
                                                                  ascertain whether specific victim behaviors would concern
may be important to askwhe[her potential jurors might be                                                                           throughout the entire trial, and culminates with a strong                     ~
                                                                  them and cause [hem to make adverse prejudgments about
inherently distrustful ofexpert testimony.                                                                                         closing argument An appreciation ofthe facts abou[sexual
                                                                  victim credibility. Addiriooal questions about whether
                                                                                                                                   violence is key to that success. A s1dIl(ul jury selection is only
A related issue pertains to jurors unrealistic expectations       jurors could fairly consider expert testlmony regarding
                                                                                                                                   the initial step to an effective prosecurion strategy that will
anti demands for other types of forensic evidence such as         victim behavior might be appropriate in cases io wh~h the
                                                                                                                                   yield the best possible result in prosecuring these difficult
fingerprints and scientific testlng such as criminalistics and    prosecution will introduce expert restlmony.
                                                                                                                                   cases. Ao effective strategy in these cases mast continue
DNA tests. Marry pmsetutors believe based on first-hand                                                                            with [he collet[ion and presentation of all corroboratlng
                                                                                                                                                                                                                                                                       Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 89 of 94 Page ID #:89
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 90 of 94 Page ID #:90




                           (; X ~~-~ ~ t3 ►I~ 2




                                       ~~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 91 of 94 Page ID #:91




 ,~
            Sure


      December 02,2019


   1 1 I51 Valley Blvd., #4886
   El Monte, CA 91731

   Reference:      Principal:               City of El Monte
                   Loss Date:               06/07/2019
                   Claims) Made:            12/03/2019
                   Claimant(s):
                   Our File Number:         19-145601

   Dear Ms_~

   We are the Third Party Administrators handling the liability claims for the City of EI Monte.

  This is an acknowledgment of the claim you presented to the City of EI Monte on 12/03`2019. In the
  future, you should address all information and inquiries to my attention.

  Our investigation has begun and. we will be communicating with you in the near future in regard to this
  matter.

  Should you have any questions or wish to discuss this matter, please do not hesitate to contact the
  undersigned.

  Sincerely,
      _....~ '


  David Trautz
  Liability Administrator
 (909)978-1124
  dtrautz@adm insure.com

  cc:      City of EI Monte
      Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 92 of 94 Page ID #:92
1 /22/2020                                                          Gmail -File #19-145601




                                                                                                      ~             ~      ~@9mail.com>
              ~. ~~~'~~ ~~


  File #19-145601
                                                                            __
               r     ,spa gmail.com>                                                                      Wed, Jan 22, 2020 at 11:05 AM
  To: David Trautz <DTrautz@adminsure.com>

    Since 45 days have been passed I'm not going to wait for your investigation result. I will take my legal action pretty soon.

    On Wed, Jan 22, 2020, 10:03 AM David Trautz <DTr~utz a c3dminsure.c:oiYi> wrote:
       Good morning


        hope you received our claim acknowledgement letter sent by mail on 12/02/19. Our investigation is still ongoing, and
       we will let you know once our investigation is complete.



       Thank you for your patience,
       David Trautz, AIC, ARM-P, SIA, WCCP, WCCA
       Liability Supervisor
       /~dmie~~dmre Inc.

       3380 Shelby Street

       Ontario, CA 91764-5566

       Phone 909-978-1124 ~ Fax 909-860-3995

       dtrautz@adminsure.com
       www.adminsure.com




       From:      _—~Taagrnail.corn~
       Sent: Tuesday, January 21, 2020 9:30 PM
       To: David Trautz <DTrautz@adminsure.corn>
       Subject: File #19-145601




             CAUTION: This message originated from outside AdminSure's email system. If you don't recognize the sender's
             name AND email address, DO NOT reply to or forward the email or click on any links or attachments.




       Hi David,



        have filed a gov claim against Ciry of EI Monte on December 3, 2019. It has been over 45 days but I have not received
       any notice regarding your action. Looking forward to hearing from you.

https://mail.google.com/mail/u/0?ik=(9901131 b68view=pt&search=all8permmsgid=msg-a%3Ar8549401831 9058810408dsgt=l &simpl=msg-a°,U3Ar85...   1 /2

                                                                       IZ
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 93 of 94 Page ID #:93




                         ~C;~ r-I ~ ~~ ~ j ~ ~




                                         ,~
Case 2:20-cv-00797-RGK-JDE Document 1 Filed 01/27/20 Page 94 of 94 Page ID #:94



                           COUNTY OF LOS ANGELES
            ^ ~' G         OFFICE OF THE COUNTY COUNSE
                                                       L
     ~       ~~ ~               648 KENNETH FIAIiN HALL OF ADMINI
                 a                                                STRATION
              .~                         S00 WEST TEMPLE STREET
          off'                     LOS ANGELES, CALIFORNIA 90012-2717
                                                                                     TELEPHONE
                                                                                    (213)974-1917
  M ARY C. WICKNAM                                                                  FACSIMILE
   County Counsel
                                            January 13,2020                        (213)687-8822
                                                                                    TDD
                                                                                   (213)633-0901




         P.U. dox 4ts86
         El Monte, California 91731

                     Re:   Claim Presented:                    December 5,2019
                           ale Number:                         XX-XXXXXXX*001
         Dear Claimant:

              Notice is hereby given that the claim that you presented to the
        County of Los Angeles, Board ofSupervisors on December 5,2019,
                                                                              was rejected
        on December 24,2019.

               An investigation ofthis matter fails to indicate any liability on the part
                                                                                          of
        the County of Los Angeles, its officers, agents, or employees. Accord
                                                                                ingly, your
        claim was rejected on that basis. No further action will be taken on
                                                                              this matter.
                                              WARNING
               Subject to certain exceptions, you have only six(6)months from the date
       this notice was personally delivered or deposited in the mail to file a
                                                                               court action
       on this claim. (See Government Code section 945.6.)

               This time limitation applies only to causes of action for which
       Government Code Sections 900 - 915.4 require you to present a claim. Other
       causes ofaction, including those arising under federal law, may have different
       time limitations.




       HOA.IQZ759891.1




                                                       1 ~'
